Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69537 Filed 11/10/21 Page 1 of 178




                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


   In re Flint Water Cases.               Judith E. Levy
                                          United States District Judge
   ________________________________/

   This Order Relates To:

   ALL CASES

   ________________________________/

    OPINION AND ORDER GRANTING FINAL APPROVAL OF A
    PARTIAL SETTLEMENT, GRANTING CERTIFICATION OF A
      SETTLEMENT CLASS, GRANTING APPOINTMENT OF
        SETTLEMENT CLASS COUNSEL [1794], DENYING
       OBJECTIONS, AND ADOPTING THE REPORT AND
                 RECOMMENDATION [2006]

        Before the Court is a motion for final approval of a partial

  settlement that provides compensation to tens of thousands of people who

  were impacted by exposure to lead, legionella, and other contaminants

  from the City of Flint’s municipal water supply system during the events

  now known as the Flint Water Crisis. The settlement resolves thousands

  of claims pending in this Court, the Genesee County Circuit Court, and

  the State of Michigan Court of Claims. The settlement involves both class

  action and non-class action lawsuits. The portion of the $626.25 million
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69538 Filed 11/10/21 Page 2 of 178




  settlement to be paid by the State of Michigan is one of the largest

  settlements in the State’s history.1

        The settlement reached here is a remarkable achievement for many

  reasons, not the least of which is that it sets forth a comprehensive

  compensation program and timeline that is consistent for every

  qualifying participant, regardless of whether they are members of a class

  or are non-class individuals represented by their own counsel. For the

  reasons set forth below, the objections to the settlement are denied, and

  final approval of the settlement is granted. Plaintiffs’ motion for attorney

  fees will be addressed in a separate opinion and order.




        1  See, e.g., Michigan S. Fiscal Agency, FY 2018-19 Status of Lawsuits Involving
  the State of Michigan, 4 (July 2020),
  https://www.senate.michigan.gov/sfa/publications/lawsuit/lawsuit_mostrecent.pdf
  [https://perma.cc/W3ZQ-X7RK] (showing, at Table 3, that the maximum settlement
  amount for all combined lawsuits against the State over a ten-year period did not
  exceed $76,308,820).

                                            2
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69539 Filed 11/10/21 Page 3 of 178




                                            Table of Contents

  I. BACKGROUND ................................................................................... 6
    A.        The Negotiation Process ............................................................... 10
    B.        The Amended Settlement Agreement (“ASA”)............................. 16
    C. Registration Forms and Objections Received by the March 29,
    2021 Deadline ....................................................................................... 27
    D.        Fairness Hearing .......................................................................... 32
    E.        Other Matters Post-Fairness Hearing ......................................... 36
  II.         LEGAL STANDARD..................................................................... 37
  III.        DISCUSSION ............................................................................... 44
    A.        Non-Class Portion of the Settlement ........................................... 44
    B.        Class Plaintiffs’ Portion of the Settlement................................... 59
         1.     Likelihood of Success on the Merits .......................................... 60
         2.     Class Representatives and Class Counsel Representation ...... 64
         3.  Arm’s Length Negotiations and No Evidence of Collusion or
         Fraud .................................................................................................. 65
         4.     Adequate Relief ......................................................................... 66
         5.  Whether Class Members Are Treated Equitably Relative to
         Each Other ......................................................................................... 70
         6.     The Amount of Discovery Conducted ........................................ 72
         7.  Opinions of Class Counsel and Class Representatives and
         Reaction of Absent Class Members ................................................... 73
         8.     Public Interest ........................................................................... 76
         9.     Incentive Awards ....................................................................... 76
    C.        Notice to the Class and Due Process ............................................ 78
    D.        Certification of the Settlement Class ........................................... 81
    E. Appointment of Co-Lead Class Counsel and the Executive
    Committee as Class Counsel for Settlement Purposes ....................... 95

                                                           3
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69540 Filed 11/10/21 Page 4 of 178




    F.       Report and Recommendation on Late Registrants ...................... 96
  IV.        OBJECTIONS ............................................................................... 96
    A.       Objections Based On Compensation Grid .................................... 98
        1.     Objections Related to Bone Lead Level Testing ....................... 98
             a. Objections to the Use of the Thermo Fisher Manufactured
             Hand-Held XRF Device on Humans .......................................... 101
             b. Objections Regarding The Napoli Program’s Regulatory
             Compliance and Legality ............................................................ 119
             c. Objections to XRF Bone Lead Level Testing Because It Has
             No Medical Purpose .................................................................... 124
             d. Objections Arguing that the Napoli Program Constitutes an
             Undisclosed Research Project ..................................................... 127
             e. Objections Claiming that Bone Lead Level Testing is the
             “Main Method” of Recovery Under the ASA .............................. 130
             f. Objections Asserting That Bone Lead Level Testing At Mt.
             Sinai and Purdue University Were Unavailable to Objectors... 133
             g. Objections Related to the Unavailability for Non-Client Bone
             Lead Level Test Appointments with the Napoli Program ......... 138
             h. Objections Related to the Napoli Program’s Requirement that
             Participants Sign a Liability Release......................................... 143
             i. Objections Related to the $500 Cost of a Bone Lead Level Test
             with the Napoli Program ............................................................ 145
             j. Arguments Related to Bone Lead Level Testing Submitted
             After the March 29, 2021 Deadline for Filing Objections .......... 146
        2.     Objection Related to Blood Lead Level Test Results.............. 148
        3.  Objections to Cognitive Deficit Testing Settlement Category
        Requirements ................................................................................... 149
        4.  Objection Related to the Miscarriages and Fetal Blood Lead
        Level Test Results Settlement Category ......................................... 154
        5.  Objections to the Compensation Grid’s Requirements of Proof of
        Galvanized Steel Service Lines ....................................................... 155
                                        4
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69541 Filed 11/10/21 Page 5 of 178




       6.   Objections Related to the Compensation Grid’s Failure to
       Include Additional or Different Categories ..................................... 158
       7.  Objections Related to the Overall Allocation of Funds for
       Minors Versus Adults ...................................................................... 160
       8.   Objections Related to the $1,000 “Cap” in the Compensation
       Grid for Property Owners and Renters ........................................... 162
       9.  Objections Arguing that the Overall Settlement is Unfair,
       Unreasonable, and Inadequate to Homeowners ............................. 163
    B. Objections Related to the ASA’s Requirements for Registration
    and Objections .................................................................................... 165
       1.     Arguments that Registration Deadline Was Too Short ......... 165
       2.   Objection to Providing the Claims Administrator With PII for
       Registration Purposes...................................................................... 166
       3.   Objection Arguing that, at the Time of Registration,
       Participants Did Not Know the Final Amount of their Monetary
       Award ............................................................................................... 167
       4.   Objections that Individual and Class Counsel Who Are Listed
       in Exhibit 17 of the ASA Did Not Represent Individual Objectors At
       the Fairness Hearing ....................................................................... 169
       5.   Objections related to Using Zoom to Communicate With their
       Attorneys .......................................................................................... 171
    C.      Objections Related to COVID-19 ................................................ 172
    D.      Objections to the Notice’s Content ............................................. 173
    E.      Objections to Class Representative Payment ............................ 174
  V.        CONCLUSION ........................................................................... 175




                                                        5
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69542 Filed 11/10/21 Page 6 of 178




   I.    BACKGROUND

        Plaintiffs are tens of thousands of Minors,2 Adults, individuals and

  entities who owned or leased residential property, and individuals and

  entities who owned or operated a business, all of whom allege that they

  suffered losses and damages resulting from Defendants’ roles in the Flint

  Water Crisis. The Defendants participating in the settlement (the

  “Settling Defendants”) are not all of the Defendants involved in the Flint

  Water litigation, and accordingly, this settlement is only a partial

  settlement of the Flint Water cases.3

        The Settling Defendants include: the State of Michigan and its

  individual officials, which are collectively referred to as the “State




        2 Unless otherwise defined, capitalized terms in this Opinion and Order, such
  as “Minor,” have the same meaning as defined in the Amended Settlement
  Agreement. For reference, Minor is defined in the Amended Settlement Agreement
  as “any Claimant participating in the Settlement program that will be less than
  eighteen (18) years of age at the time an election is made by a Next Friend from the
  options on how a Monetary Award should be distributed as set forth in Paragraph
  21.28 [of the Amended Settlement Agreement].” (ECF No. 1394-2, PageID.54132.)
        3 The remaining non-settling Defendants are engineering firms that provided
  services to the City during the Flint Water Crisis. Plaintiffs and these remaining
  Defendants continue to actively litigate, and the first bellwether trial is scheduled to
  begin in February 2022.

                                             6
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69543 Filed 11/10/21 Page 7 of 178




  Defendants”;4 the City of Flint, its City Emergency Managers, and

  several City employees, collectively referred to as the City Defendants;5

  McLaren Health Care Corporation, McLaren Regional Medical Center,

  and McLaren Flint Hospital, collectively referred to as the McLaren

  Defendants; and Rowe Professional Services Company, referred to as

  Rowe.

        The settlement reached between Plaintiffs and the Settling

  Defendants is in a document entitled the Amended Settlement

  Agreement (“ASA”). (ECF No. 1394-2.) The Court discussed the facts

  leading up to and resulting in the settlement in its January 21, 2021

  Opinion and Order Granting Plaintiffs’ Motion to Establish Settlement

  Claims Procedures and Allocation and for Preliminary Approval of Class

  Settlement Components. See In re Flint Water Cases, 499 F. Supp. 3d 399


        4 The State Defendants are: the State of Michigan, Michigan Department of
  Environmental Quality (now known as Michigan Department of Environment, Great
  Lakes, and Energy), Michigan Department of Health and Human Services, Michigan
  Department of Treasury, former Governor Richard D. Snyder, Governor Gretchen
  Whitmer, the Flint Receivership Transition Advisory Board, Lianne Shekter Smith,
  Daniel Wyant, Stephen Busch, Patrick Cook, Michael Prysby, Bradley Wurfel, Eden
  Wells, Nick Lyon, Nancy Peeler, Robert Scott, Adam Rosenthal, Dennis Muchmore,
  Kevin Clinton, Linda Dykema, and Andy Dillon.
        5The City Defendants are: The City of Flint, Howard Croft, Michael Glasgow,
  Dayne Walling, Daugherty Johnson, Gerald Ambrose, Edward Kurtz, Darnell Earley,
  and Michael Brown.
                                         7
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69544 Filed 11/10/21 Page 8 of 178




  (E.D. Mich. 2021) (the “Preliminary Approval Order”). The relevant facts

  from that Order are as follows:

        In January 2018, the Court appointed two mediators
        pursuant to E.D. Mich. Local Rule 16.4 – former United States
        Senator Carl Levin and former Wayne County Circuit Court
        Judge Pamela Harwood – to facilitate settlement discussions.
        (ECF No. 324, PageID.11687–11693.) In July 2018, under
        Federal Rule of Civil Procedure 53, the Court appointed
        Deborah E. Greenspan to serve as a Special Master to assist
        with certain pretrial matters and to manage aspects of the
        settlement process. (ECF No. 544, PageID.16581–16590.)
        Also, in September 2019, the Court appointed Subclass
        Settlement Counsel to represent six subclasses of Plaintiffs in
        settlement allocation discussions. (ECF No. 937,
        PageID.24430–24433.)

        Sen. Levin and Ret. Judge Harwood reported to the Court
        periodically regarding the status of settlement negotiations.
        Additionally, beginning in September 2018, Special Master
        Greenspan began collecting data regarding potential
        claimants across all Flint Water Cases. (ECF No. 519,
        PageID.15988; ECF No. 563, PageID.17097.) The primary
        purpose of the data collection was to understand the scope and
        nature of the claims, to facilitate and inform the parties’
        settlement discussions, and to develop a settlement structure.
        (ECF Nos. 614, 673.) Every forty-five days since December 28,
        2018, counsel provided Special Master Greenspan with the
        Court-ordered data. (ECF No. 673.) Special Master
        Greenspan has filed three interim reports to the Court
        regarding the data. (ECF Nos. 772, 949, 1105.) She also
        collected Time and Expense Common Benefit Data. Data


                                        8
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69545 Filed 11/10/21 Page 9 of 178




        collection is ongoing in light of the proposed settlement. (See
        ECF No. 1254.)

        The negotiations on behalf of the Plaintiffs were conducted by
        Co-Liaison Counsel and Co-Lead Class Counsel appointed by
        the Court for this purpose, among other responsibilities. The
        Subclass Settlement Counsel later appointed by the Court
        participated in negotiations along with Co-Liaison Counsel
        over how to allocate any settlement funds among the various
        categories of claimants. These negotiations occurred under
        the auspices of the Court and the supervision of the Court-
        appointed Special Master.

        In August of 2020, Plaintiffs and the State Defendants
        announced that they had reached an agreement to settle their
        claims for $600 million. In October of 2020, Plaintiffs and the
        City Defendants preliminarily agreed to a $20,000,000
        settlement, which required approval from the Flint City
        Council on or before December 31, 2020. The Flint City
        Council voted to join the settlement on December 21, 2020.
        (ECF No. 1357, PageID.42106.) Plaintiffs and the McLaren
        Defendants also agreed to settle for $20 million, and Plaintiffs
        and Rowe agreed to settle for $1.25 million.

  Id. at 411. Additional facts regarding the settlement are set forth below.

  These include details on the negotiation process, the terms of the ASA,

  the period after the Preliminary Approval Order was entered, the three-

  day final fairness hearing that began on July 12, 2021, and the

  registration and objections period.



                                        9
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69546 Filed 11/10/21 Page 10 of 178




                   A. The Negotiation Process

         Sen. Levin and Ret. Judge Harwood indicate in a declaration filed

   through Special Master Greenspan on July 11, 2021 that they devoted

   over 2,000 hours to mediating this case. (ECF No. 1885, PageID.66211–

   66213.) They conducted numerous telephonic and in-person meetings

   that were attended by up to fifty lawyers and client representatives.6 (Id.)

   Both Sen. Levin and Ret. Judge Harwood attest that the aggregate

   settlement amounts were achieved “through lengthy arms-length

   negotiations in which, in our view as mediators, the plaintiffs obtained

   the maximum amount of compensation that the settling defendants were

   able and willing to offer.” (Id. at PageID.66212.) The declaration

   concludes with Sen. Levin and Ret. Judge Harwood stating that “we

   support the settlement amount pending before the Court. We believe it is

   the product of informed, arms’ length negotiations by the parties,

   represented by experienced and competent counsel, with due recognition




         6  Sen. Levin, who was the longest-serving United States Senator in the State
   of Michigan, died on July 29, 2021. His contribution to this case and to the settlement
   cannot be overstated. A footnote in a judicial opinion hardly seems enough to
   acknowledge and honor the loss of someone who made such a meaningful contribution
   to our country, our state, and to the resolution of this case. May he rest in peace.
                                             10
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69547 Filed 11/10/21 Page 11 of 178




   of the complexity of the facts and legal issues in this litigation.” (Id. at

   PageID.66212–66213.)

         At the final approval and fairness hearing in July 2021, Special

   Master Greenspan provided an oral report to the Court detailing her

   involvement in over two years of vigorous settlement negotiations. (See

   ECF No. 1904, PageID.66658–66669.) She indicated that the mediators

   became involved in the negotiations in January 2018 and that the parties

   identified the types of claims and issues that they considered essential

   requirements for an eventual settlement. (Id. at PageID.66659.) This

   aspect of the negotiations lasted several months. It was not until October

   2018 that the parties were ready to begin developing the structural

   elements of the settlement with the assistance of the Special Master. (Id.)

   This part of the negotiation process took more than two years. (Id.)

   According to the Special Master, “the two-year period was not the result

   of taking a lot of breaks in the negotiation process. It was that hard. The

   negotiation was that complicated. There are many, many issues that had

   to be resolved.” (Id.)

         During her oral report at the hearing, Special Master Greenspan

   described thousands of hours, communications, meetings, drafts,


                                        11
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69548 Filed 11/10/21 Page 12 of 178




   proposals, counterproposals, and compromises that all of the parties

   made throughout the entire negotiation process. (Id. at PageID.66659–

   66660.) She indicated that over fifty lawyers participated in the

   settlement discussions, and that the parties had “widely different views

   about a multitude of issues.” (Id. at PageID.66660.) The Special Master

   stated that by April 2019, Plaintiffs and the State Defendants agreed to

   some basic settlement principles, but even then, both sides still had many

   more issues to resolve before reaching an agreement. (Id. at

   PageID.66662.)

         The Special Master reported that after the basic elements of the

   agreement were identified, the parties began negotiations on what would

   become Exhibit 8 to the ASA, which is entitled the “Flint Water Cases

   (FWC) Qualified Settlement Fund Categories, Monetary Awards, and

   Required Proofs Grid (11/11/20)” (the “Compensation Grid”). (Id. (see also

   ECF No. 1319-2, PageID.40789).) The Special Master described the

   Compensation Grid negotiations as “very lengthy, very arduous, [and]

   very substantive.” (Id. at PageID.66665.) For example, in late 2019, there

   were six subclass counsel negotiating the allocation and distribution of




                                        12
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69549 Filed 11/10/21 Page 13 of 178




   funds on the class side of the settlement. (Id. at PageID.66663.) The

   subclass allocation negotiations continued into 2020. (Id.)

         The settlement was announced to the public in August 2020, and,

   at that stage, the Compensation Grid was still not completely finalized.

   (Id.) The parties continued negotiating aspects of the Compensation Grid

   and other details between August and November 17, 2020, when the

   motion for preliminary approval was filed. (Id.) During those months,

   three additional Defendants (the City Defendants, the McLaren

   Defendants, and Rowe) joined the settlement.

         Special Master Greenspan emphasized in her report that the

   settlement negotiations and ultimate agreement were “not dictated by

   any one party. This was not the product of one side or another

   determining what they thought would be the best settlement. This

   reflects a compromise. It reflects dedication to the process. It reflects

   extensive research and analysis and discussion. It reflects engagement of

   the parties.” (Id. at PageID.66666.) She summed up the negotiations as

   follows:

         This may be one of the longest and most complicated
         settlement negotiations I’ve ever been involved in. It has been
         – and for several, several reasons including just the nature of
         the claims here and the nature of the parties involved. But I
                                        13
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69550 Filed 11/10/21 Page 14 of 178




         think that the process was one that reflects exactly what you
         want to have in a settlement negotiation. It was arm’s length.
         It was hard fought. And everyone made appropriate
         compromises in order to achieve what everyone believed was
         a correct, reasonable, and fair goal.
   (Id. at PageID.66668.)

         The Special Master also discussed the active role the State of

   Michigan played in the negotiations, which was echoed by Margaret

   Bettenhausen, counsel for the State Defendants, at the final fairness

   hearing. (ECF No. 1904, PageID.66543.) Bettenhausen stated that when

   negotiating settlements in large and complex litigation such as this,

   typically the Defendants’ sole focus is on how much money they will pay;

   the Defendants often believe that after that amount is determined, their

   role ends. But in this case, the State Defendants “negotiated with

   literally dozens of different plaintiffs’ attorneys for well over a year and

   many all day and late night face-to-face meetings . . . involve[ing]

   hundreds of hours and thousands of written, verbal follow-up . . .

   communications.” (Id. at PageID.66544–66545.) Bettenhausen also noted

   that the State Defendants’ “goal and interest in this settlement has never

   been just to pay money and walk away from the City of Flint. Very much

   the opposite.” (Id. at PageID.66545.)

                                        14
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69551 Filed 11/10/21 Page 15 of 178




         These sentiments are echoed by the sworn statements of appointed

   interim subclass settlement counsel. For example, Larry E. Coben,

   Interim Subclass Settlement Counsel for the Children’s Injury Subclass,

   was appointed by the Court in August 2019 to negotiate on behalf of

   Minors. (ECF No. 929.) Coben, through Co-Lead Class Counsel,

   submitted a declaration in support of final approval of the settlement

   indicating that the negotiations he engaged in “with respect to how an

   aggregate settlement amount paid by the Settling Defendants would be

   allocated” were conducted at arm’s length. (ECF No. 1319-5,

   PageID.41253–41254.) He states that in his independent determination,

   the ASA is “fair and in the best interests of the minors participating in

   the settlement.” (Id. at PageID.41254.) Reed Colfax, Interim Subclass

   Settlement Counsel for Older Children’s Injury (ages 7-17) Subclass,

   concurs. (ECF No. 1319-6.) As does Seth R. Lesser, Interim Subclass

   Settlement Counsel for a Future Manifesting Injury Subclass (ECF No.

   1319-7), Sarah R. London, Interim Subclass Settlement Counsel for a

   Property Damage Subclass (ECF No. 1319-8), Dennis C. Reich, Interim

   Subclass Settlement Counsel for a Business Economic Loss Subclass

   (ECF No. 1319-9), and Vincent J. Ward, Interim Subclass Settlement


                                        15
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69552 Filed 11/10/21 Page 16 of 178




   Counsel for an Adult Injury Subclass. (ECF No. 1319-10.) These

   individuals, representing separate subclass interests, all attest that the

   negotiations regarding the aggregate settlement amount and its

   allocation between the various proposed subclasses were vigorous, were

   conducted at arm’s length, and achieved a fair result. (See ECF Nos.

   1319-5, 1319-6, 1319-7, 1319-8, 1319-9, and 1319-10.)

                  B. The Amended Settlement Agreement (“ASA”)

         The ASA contains provisions that apply to Minors, Legally

   Incapacitated Individuals (“LIIs”), Future Minor Claimants, Adults,

   property owners and renters, and business owners and operators. (ECF

   No. 1394-2.) In addition, the ASA addresses funding for Programmatic

   Relief, which will provide special education services for qualifying

   individuals.7 (Id. at PageID.54149–54150.) The basic components of the

   ASA, as well as the processes and procedures that ensure multiple layers

   of oversight and integrity in the decisions made under the ASA, are

   discussed below.




         7 In its Preliminary Approval Order, the Court discussed in detail the ASA’s
   terms and the provisions that apply to Minors, LIIs, and Future Minor Claimants, as
   well as the provisions that relate to Programmatic Relief. See Preliminary Approval
   Order, 499 F. Supp. 3d at 412–19.
                                           16
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69553 Filed 11/10/21 Page 17 of 178




         The ASA provides that the Settling Defendants are to deposit their

   agreed-upon Settlement Amounts in the established FWC Qualified

   Settlement Fund. (Id. at PageID.54138–54140.) The State Defendants

   are obligated to pay $600,000,000; the Flint Defendants are obligated to

   pay $20,000,000; the McLaren Defendants are obligated to pay

   $5,000,000;8 and Rowe is obligated to pay $1,250,000. (Id. at

   PageID.40338.)

         The ASA appoints Archer Systems, LLC as the Claims

   Administrator. The Claims Administrator has many important roles,

   which include: (1) reviewing registration and claims submissions in a

   timely and accurate fashion; (2) setting up a secure database with

   claimant information; (3) coordinating and communicating with the

   parties; (4) providing monthly reports to counsel; and (5) establishing

   evidentiary review procedures to prevent fraud. (Id. at PageID.54160.)

   The   Court      oversees    and retains      jurisdiction   over the      Claims

   Administrator and may request reports or other information from the

   Claims Administrator at any time. (Id. at PageID.54163.)




         8   The McLaren Defendants’ payment obligations are discussed further below.
                                            17
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69554 Filed 11/10/21 Page 18 of 178




         The Special Master oversees various aspects of the settlement

   pursuant to the ASA. Her duties include: (1) consulting with the Claims

   Administrator and making decisions regarding registration and

   participation; (2) considering and deciding, in a timely fashion, any

   appeals taken by participants (which is discussed further below); and (3)

   handling any disputes that arise involving the ASA. (Id. at

   PageID.54163–54174.)

         In addition, the ASA provides for a Settlement Planning

   Administrator (“SPA”). (Id. at PageID.54164–54165.) The SPA’s role

   relates only to claims made by Minors. (Id.) The SPA is charged with

   ensuring the efficient and timely funding of Special Needs Trusts and

   Settlement     Preservation     Trusts     and    providing     appropriate

   documentation of Structured Settlements. (Id.) The SPA is overseen and

   supervised by both the Master Guardian Ad Litem (“Master GAL”)

   Miriam Wolock and the Special Master. (Id.) Accordingly, there are

   multiple levels of protection over the settlement funds and its

   administrators.

         The ASA establishes a registration process. It requires all members

   of the Settlement Class and all Individual Plaintiffs who wish to


                                        18
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69555 Filed 11/10/21 Page 19 of 178




   participate in the settlement to submit a Registration Form to the Claims

   Administrator no later than March 29, 2021. See Preliminary Approval

   Order, 499 F. Supp. 3d at 433 (indicating the deadline for registration).

   The ASA specifies a process and procedure for the Claims Administrator

   to follow after the registration period closes. The Claims Administrator

   must review the information and proofs provided on the Registration

   Forms and must consult with the Special Master on any discretionary

   decisions that need to be made during the review.9 (ECF No. 1394-2,

   PageID.54150–54151.) The ASA also allows individuals who failed to

   submit all required information upon their initial registration to re-

   submit their materials. (Id. at PageID.54142.) Therefore, no one is

   excluded from participating in the settlement merely because they

   initially submit an incomplete or incorrect Registration Form.

         The ASA provides that after the Claims Administrator has

   reviewed the Registration Forms, the Claims Administrator will post a




         9 Although the ASA states that the Claims Administrator must review every
   Registration Form within fourteen days of receipt (ECF No. 1394-2, PageID.54142),
   in practice, this process was much more complicated. The Special Master addressed
   this in a report regarding the status of registrations as of May 27, 2021 (ECF No.
   1790, PageID.64246–64250) and again on October 27, 2021. (ECF No. 2005,
   PageID.68708–68717.)
                                          19
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69556 Filed 11/10/21 Page 20 of 178




   list of “all persons and entities who have registered and been found

   eligible to participate as a Claimant in the Settlement Program.” (Id.)

   The posting of this list triggers two events: first, it triggers the start of

   the Claims Process, and second, it triggers the Settling Defendants’

   Walk-Away Rights under the ASA. (Id.)

         As to the Claims Process, eligible participants on the Claims

   Administrator’s list are required to submit their Claim Materials to the

   Claims Administrator within a specified time.10 (Id. at PageID.54141–

   54142.) The Claims Materials include the documents listed on the Claim

   Form (see ECF No. 1319-2, PageID.40740–40745), a fully executed

   Release (see id. at PageID.40784–40787, 41223–41227, 41248), and the

   applicable Lien Disclosure Form (see id. at PageID.40844–40846). (ECF

   No. 1394-2, PageID.54142–54143.) Claimants who deliver proper,

   complete, and fully executed Claim Materials by the deadline are eligible

   to receive a Monetary Award, as discussed further below. (Id.)

         Regarding the Walk-Away Rights triggered by the Claims

   Administrator’s posting of the eligible registrant list, each Settling



         10 Due to the delays reported by the Special Master, the deadline for submitting
   Claims Materials to the Claims Administrator set forth in the Preliminary Approval
   Order is inoperative.
                                            20
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69557 Filed 11/10/21 Page 21 of 178




   Defendant has the right to “walk away” from the ASA in its sole

   discretion, but only for the reasons specified in the ASA, as applicable to

   each Settling Defendant. (Id. at PageID.54181–54182.) Settling

   Defendants have thirty days after the receipt of the final registrant list

   to exercise their right to walk away from the ASA. (Id. at PageID.54182.)

         Once the Claims Process begins, the Claims Administrator’s focus

   shifts to determining Monetary Awards. (Id. at PageID.54143–54149.)

   On the Claim Form, a Claimant may select the Settlement Category that

   they believe is applicable. (Id. at PageID.54143.) The FWC Qualified

   Settlement Fund is divided into six Sub-Qualified Settlement Funds

   which are:

       Minors six years old or younger on the date the individual was first
        exposed to Flint Water;

       Minors age seven to eleven years old on the date the individual was
        first exposed to Flint Water;

       Minors age twelve to seventeen years old on the date the individual
        was first exposed to Flint Water;

       Adults age eighteen and over on the date the individual was first
        exposed to Flint Water;

       Residential Property Owners/Renters; and

       Businesses that experienced property and economic losses.

                                        21
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69558 Filed 11/10/21 Page 22 of 178




   (Id. at PageID.54146.)

           The net funds11 available from the FWC Qualified Settlement Fund

   for payments to Claimants are allocated into the Sub-Qualified

   Settlement Funds as follows:

       Minor children age six or younger (the “Minor Child Sub-Qualified
        Settlement Fund”) receive 64.5% of the net funds;

       Minor children age seven to eleven (the “Minor Adolescent Sub-
        Qualified Settlement Fund”) receive 10% of the net funds;

       Minor children age twelve to seventeen (the “Minor Teen Sub-
        Qualified Settlement Fund”) receive 5% of the net funds;

       $35,000,000 of the net funds are set aside for Future Minor
        Plaintiffs, as described in the Preliminary Approval Order, 499 F.
        Supp. 3d at 417;

       Adults receive 15% of the net funds;

       Property owners and renters receive 3% of the net funds;

       Business owners and operators receive 0.5% of the net funds; and

       2% of the net funds are set aside for the Programmatic Relief
        portion of the settlement, which was described in the Preliminary
        Approval Order, 499 F.Supp.3d at 417–18.

   (Id.)



           The net funds are calculated by subtracting the costs, attorney fees, and
           11

   expenses from the gross amount of money in the FWC Qualified Settlement Fund.
   (ECF No. 1394-2, PageID.54146.)
                                          22
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69559 Filed 11/10/21 Page 23 of 178




         Accordingly, those who qualify as a Minor Child, Minor Adolescent,

   and Minor Teen under the ASA receive the largest proportion, or 79.5%,

   of the net funds.

         There are thirty      Settlement Categories presented in the

   Compensation Grid, which is attached to the ASA as Exhibit 8. (ECF No.

   1319-2, PageID.40789–40831.) The Settlement Categories include:

   individuals of any age with lead levels in their blood or bone; Minor

   Children, Minor Adolescents, and Minor Teens with cognitive deficits;

   Minor Children who were born preterm or with a low birth weight; Minor

   Children who were formula fed; Minor Children, Minor Adolescents, and

   Minor Teens who lived in a residence with residential water with a

   specified level of lead or with lead or galvanized steel service lines; Minor

   Children, Minor Adolescents, and Minor Teens who were exposed to Flint

   Water during the Flint Water Crisis but have none of the proofs of

   exposure set forth above; Minor Children, Minor Adolescents, and Minor

   Teens who were exposed to Flint Water after July 31, 2016; Adults with

   serious personal injuries; Adults with physical injuries; Adults exposed

   to Flint Water after July 31, 2016 and with a lead level or physical injury;

   women who suffered from miscarriages; individuals who were diagnosed


                                        23
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69560 Filed 11/10/21 Page 24 of 178




   with legionnaires disease, resulting in illness or death; individuals who

   owned or rented residential property; and businesses that suffered from

   property damage or economic loss. (See ECF No. 1319-2, PageID.40789–

   40831.) These Settlement Categories are discussed further below. Each

   one provides for a different level of compensation; however, all Claimants

   who qualify for the same Settlement Category are compensated under

   the Compensation Grid equally. In other words, every Claimant in a

   certain   Settlement    Category    receives   an   identical   amount    of

   compensation as all other Claimants in that Category. But the actual

   compensation these Claimants receive may vary because each Claimant’s

   outstanding liens (if any) are deducted from the individual award. (ECF

   No. 1394-2, PageID.54146–54147.) Liens are addressed separately below.

         These Settlement Categories are the only distinction between

   Claimants’ Monetary Awards in the ASA. Accordingly, individuals are

   treated the same in terms of their eligibility to qualify for a Settlement

   Category, regardless of whether they are represented by their own

   counsel or whether they are members of the Settlement Class proceeding

   with or without the assistance of a lawyer. Individuals who might




                                        24
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69561 Filed 11/10/21 Page 25 of 178




   otherwise be barred from bringing a claim by the statute of limitations or

   statute of repose would not be barred from recovering under the ASA.

         With respect to Liens, the ASA provides that Claimants are

   responsible for informing the Claims Administrator and the Lien

   Resolution Administrator of all known Liens with claims against their

   monetary award. (Id. at PageID.54172.) The Claims Administrator is

   authorized under the ASA to establish procedures and protocols to

   resolve certain liens on behalf of Claimants.12 (Id.) In this way, the ASA

   streamlines the lien-satisfaction process and maximizes the possibility

   that Claimants’ liens could be satisfied at a discount, which has been

   achieved in other settlements nationwide. See, e.g., In re N.F.L. Players’

   Concussion Inj. Litig., 307 F.R.D. 351, 367 (E.D. Pa. 2015) (noting similar

   programs where a lien satisfaction discount was negotiated in “the Vioxx,

   Avandia, Zyprexa, and Deepwater Horizon settlements”).

         The ASA provides for a reconsideration process for Claimants to

   undertake if they disagree with a decision by the Claims Administrator




         12  The State of Michigan has agreed not to pursue certain Medicaid liens
   incurred as a result of injuries caused from ingestion of Flint water during the
   relevant time period. (ECF No. 1394-2, PageID.54171.) This is potentially a
   significant benefit to many Claimants.
                                         25
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69562 Filed 11/10/21 Page 26 of 178




   the Claims Administrator, such as the determination of their Settlement

   Category on the Compensation Grid. Participants in the reconsideration

   process may submit a Reconsideration Request and, if the dispute

   remains, they may submit an appeal to the Special Master. (ECF No.

   1394-2, PageID.54168–54170.) In addition, the ASA sets forth a thorough

   dispute resolution procedure for disputes involving “the meaning of,

   compliance with, and/or implementation of the Settlement Agreement.”

   (Id. at PageID.54170.) This dispute resolution procedure is the “exclusive

   mechanism to resolve disputes and disagreements arising under the

   Settlement Agreement.” (Id. at PageID.54170–54171.)

         In exchange for participating in the settlement, Claimants provide

   the Settling Defendants with Releases and Covenants Not to Sue

   (“Releases”). The Releases release the Settling Defendants from: (1) all

   claims, notices, demands, suits, and causes of action, known and

   unknown; (2) damages whenever incurred and liabilities of any nature,

   whatsoever; and (3) liability arising from the alleged acts or omissions of

   any of the Claimants plead in their complaints. (Id. at PageID.40384–

   40385.) Individuals who sign the Releases (“Releasors”) agree not to

   initiate, continue, or help with any proceeding against the Settling


                                        26
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69563 Filed 11/10/21 Page 27 of 178




   Defendants and agree not to challenge the validity of the Releases.

   Releasors acknowledge that they waive all future claims against the

   Settling Defendants. (Id. at PageID.54176–54177.) Further, the ASA

   separately provides that the Settling Defendants release one another

   from any claims they have now or in the future arising out of the Flint

   Water Crisis. (Id. at PageID.54177–54178.)

                  C. Registration Forms and Objections Received by
                     the March 29, 2021 Deadline

         The Court issued its Preliminary Approval Order on January 21,

   2021 and the Order took effect on January 27, 2021. Preliminary

   Approval Order, 499 F. Supp. 3d at 433. (See ECF No. 1399.) Since then,

   public response to the settlement has been overwhelmingly positive.

   Special Master Greenspan reported that over 85,000 Registration Forms

   were submitted to the Claims Administrator by the March 29, 2021

   registration deadline and that at least 50,614 of those registrations are

   unique claims.13 (ECF No. 1790, PageID.64248; see also ECF No. 1394-2,




         13 The Special Master is working with counsel to help to assure coordination
   among law firms that represent the same individual and to thereby avoid as much as
   possible duplicate claim submissions. The Claims Administrator will also be able to
   identify duplicate claimants once claim forms are submitted. It is likely that the
   number of unique registrants will exceed the previously reported number.
                                           27
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69564 Filed 11/10/21 Page 28 of 178




   PageID.54141 (establishing the registration deadline in ¶ 3.12).) This is

   particularly remarkable because the City of Flint’s population is

   estimated to be less than approximately 100,000, so this means that over

   half of the current population of Flint is participating in the settlement.

   See Quick Facts Flint City, Michigan, United States Census Bureau,

   https://www.census.gov/quickfacts/flintcitymichigan

   [https://perma.cc/6LQ6-4H76].

         Pursuant to the ASA, the March 29, 2021 registration deadline is

   also the deadline for filing objections. Preliminary Approval Order, 499

   F. Supp. 3d at 433. (See also ECF No. 1394-2, PageID.54184–54185.) As

   set forth in the ASA, a registered Claimant who does not submit a written

   request to be excluded from the Settlement Class is permitted to “present

   written objections, if any, explaining why he or she believes the

   Settlement Agreement should not be approved by the Federal Court as

   fair, reasonable, and adequate.” (Id. at PageID.54184.)

         The ASA imposes additional requirements for objections, including

   that objectors, whether represented by counsel or not: (1) file their

   written objection on the docket in this case no later than the March 29,

   2021 deadline; (2) include in the objection a “detailed written statement”


                                        28
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69565 Filed 11/10/21 Page 29 of 178




   explaining the basis of each objection, “as well as specific reasons, if any,

   for each such objection, including any evidence and legal authority the

   Claimant wishes to bring to the Federal Court’s attention” (id.); (3)

   include in the objection “the Claimant’s printed name, address, telephone

   number, and date of birth, [and] written evidence establishing that the

   objector is a Claimant” (id.); (4) submit any other supporting papers,

   materials, or briefs the Claimant wishes the Federal Court to consider

   when reviewing the objection” (id.); and (5) sign the objection themselves

   (not through their counsel). Under the ASA, individuals who fail to

   comply with these requirements waive and forfeit all rights to object to

   the settlement; however, it is up to the Court to determine whether any

   Claimants who fail to follow these procedures waive these rights. (Id. at

   PageID.54184–54185.)

         The Court received 106 timely objections from registered

   individuals who are unrepresented by counsel (“Unrepresented

   Objectors”).14 There are counselled objections from only one attorney on



         14 Unrepresented Objectors were required to mail their objections to the Clerk
   of the Court for docketing. Due to the COVID-19 pandemic and delays in the U.S.
   Postal Service, the Court accepted all objections, even those postmarked after the
   March 29, 2021 deadline. The Court received and docketed twenty-three objections
   from self-represented individuals who were later verified as non-registrants to the
                                           29
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69566 Filed 11/10/21 Page 30 of 178




   behalf of his clients.15 Attorney Mark Cuker, who represents just under

   1,000 participants in the settlement, filed twelve objections on behalf of



   settlement. (ECF Nos. 1561, 1566, 1567, 1602, 1617, 1626, 1627, 1640, 1648, 1654,
   1658, 1659, 1667, 1672, 1683, 1691, 1706, 1750, 1752, 1753, 1757, 1758, 1759.)
   Accordingly, these objections need not be considered because they fail to meet the
   requirements than an objector be a registered Claimant.

          The Court received and docketed thirteen objections that were later withdrawn
   by objectors’ counsel. (See ECF No. 1767 (withdrawn, ECF Nos. 1886, 1892); ECF No.
   1763 (withdrawn, ECF Nos. 1886, 1892); ECF No. 1748 (withdrawn, ECF Nos. 1886,
   1892); ECF No. 1639 (withdrawn, ECF No. 1805); ECF No. 1673 (withdrawn, ECF
   Nos. 1886, 1892); ECF No. 1661 (withdrawn, ECF No. 1803); ECF No. 1688
   (withdrawn, ECF Nos. 1886, 1892); ECF No. 1680 (withdrawn, ECF No. 1879); ECF
   No. 1629 (withdrawn, ECF Nos. 1886, 1892); ECF No. 1616 (withdrawn, ECF No.
   1804), ECF No. 1615 (withdrawn, ECF No. 1886); ECF No. 1560 (withdrawn, ECF
   No. 1882); ECF No. 1629 (withdrawn, ECF Nos. 1886, 1892).) Accordingly, these
   objections need not be considered.

          The Court also received two additional objections from self-represented but
   unregistered, individuals. Unlike the previous twenty-three, however, by the time the
   two objections were received, the Court was able to verify that the objectors were not
   registered Claimants before they were docketed. Accordingly, those two objections
   were not docketed and will not be considered.
         15 There were originally three attorneys who filed objections on behalf of their
   clients. Attorney for the Washington Plaintiffs, Stephen Monroe, filed, and later
   withdrew, ten objections on behalf of his clients. (See ECF No. 1855 (withdrawing
   ECF No. 1506); ECF No. 1856 (withdrawing ECF No. 1507); ECF No. 1866
   (withdrawing ECF No. 1508); ECF No. 1867 (amended notice withdrawing ECF No.
   1509); ECF No. 1875 (withdrawing ECF No. 1510); ECF No. 1858 (withdrawing ECF
   No. 1511); ECF No. 1863 (withdrawing ECF No. 1512); ECF No. 1862 (withdrawing
   ECF No. 1513); ECF No. 1859 (withdrawing ECF No. 1514); and ECF No. 1874
   (withdrawing ECF No. 1515).)

          Additionally, Valdemar Washington filed one objection on behalf of one of his
   clients, Dr. Lawrence Reynolds. (See ECF Nos. 1436 (Objection), 1437 (Notice), 1444
   (Notice), and 1445 (Certificate of Service).) Washington later withdrew from
                                            30
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69567 Filed 11/10/21 Page 31 of 178




   eighteen of his clients. (See ECF No. 1904, PageID.66627 (stating that

   Cuker has approximately 980 clients registered in the settlement).)

   These objectors are referred to as the “Chapman/Lowery Objectors.”16

   (See ECF Nos. 1463, 1471 (correcting ECF No. 1469), 1484, 1485, 1488,

   1489, 1492, 1493, 1534, 1436, 1537, and 1538.)

         Assuming that the final number of unique registrations is equal to

   or greater than the conservative estimate of 50,164, the total number of

   objectors represents approximately 0.002% of the unique registrants.

   Therefore, the total number of objectors to the ASA is exceedingly small

   in comparison to the overwhelming number of non-objecting participants.

   The substance of all objections will be discussed in Section IV below.

         The Court also received several objections related to Plaintiffs’

   motion for attorney fees. These will be discussed in a separate opinion

   and order.




   representing Dr. Reynolds, which is discussed further in footnote 17, below. (See ECF
   No. 1898 (Order granting ECF No. 1891).)
         16The Chapman/Lowery objections overlap almost verbatim, and, accordingly,
   the Court cites to only one representative objection when discussing them.

                                            31
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69568 Filed 11/10/21 Page 32 of 178




                 D. Fairness Hearing

         On July 12, 13, and 15, 2021, the Court held a fairness hearing on

   the final approval motion and Plaintiffs’ request for attorney fees and

   expenses. (ECF Nos. 1794, 1795, and ECF No. 1458 (as supplemented by

   ECF No. 1796).)

         The Court held the hearing for two reasons: first, because part of

   the settlement is class-based, and Federal Rule of Civil Procedure 23(e)

   requires a hearing before deciding whether to approve a class-based

   settlement; second, because the largest portion of settlement funds is

   allocated to persons who are Minors and settlements with Minors require

   supervision. The standard for approval of a settlement under Rule 23 is

   set forth in greater detail below. In general, the fairness hearing permits

   the parties to “proffer sufficient evidence to allow the district court to

   review the terms and legitimacy of the settlement.” Int’l Union, United

   Auto., Aerospace, & Agric. Implement Workers of Am. v. Gen. Motors

   Corp., 497 F.3d 615, 635 (6th Cir. 2007) (internal citations omitted). The

   hearing also permits the Court to hear from objectors to the settlement.

   See id.




                                        32
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69569 Filed 11/10/21 Page 33 of 178




         The Court has “wide latitude” in determining the procedural

   safeguards of the hearing. Id. The Court “may limit the fairness hearing

   to whatever is necessary to aid it in reaching an informed, just and

   reasonable decision and need not endow objecting class members with

   the entire panoply of protections afforded by a full-blown trial on the

   merits.” Id. (internal citations omitted). In this case, however, due to the

   complexity of the ASA and the objections, the Court did not limit the

   amount of time the parties had to make their presentations. The hearing

   lasted six hours and forty minutes on July 12, 2021, three hours and four

   minutes on July 13, 2021, and five hours and forty-four minutes on July

   15, 2021.

         On July 12, 2021, the Court heard arguments in support of final

   approval of the settlement from Co-Lead Class Counsel, Co-Liaison

   Counsel for Individual Plaintiffs, and counsel for the State Defendants.

   It received oral reports from Special Master Deborah Greenspan and the

   Master GAL Miriam Wolock. Master GAL Wolock also filed a written

   report. (ECF No. 1896.) Finally, the Court heard argument on counselled

   objections, which were presented by counsel for the Chapman/Lowery




                                        33
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69570 Filed 11/10/21 Page 34 of 178




   Objectors and by Dr. Lawrence Reynolds.17 The content of these

   objections and the Court’s rulings on them are discussed below.

         On July 13, 2021, the Court sat on the bench at the Genesee County

   Circuit Court in Flint, Michigan, along with Judge Joseph J. Farah of

   that court. Judge Farah presides over the Genesee County Circuit Court

   civil Flint Water Cases docket. Together, the Undersigned and Judge

   Farah heard from fifteen Unrepresented Objectors18 (ECF No. 1905

   (transcript)): (1) A.C. Dumas (ECF No. 1603 (written objection)); (2) Eric

   Mays (ECF No. 1686 (written objection)); (3) James Moore (ECF No. 1749

   (written objection)); (4) Diane Fletcher (ECF No. 1684 (written

   objection)); (5) Claire McClinton (ECF No. 1696 (written objection)); (6)

   Chris Del Morone (ECF No. 1627 (written objection)); (7) Autrice Young

   (ECF No. 1694 (written objection, docketed under the name Autrice



         17  Dr. Reynolds’ objection was originally filed through his then-counsel
   Valdemar Washington. As a result, argument on Dr. Reynolds’ objection was
   scheduled to be heard on July 12, 2021, the date set aside for hearing counselled
   objections. Washington later withdrew his representation of Dr. Reynolds, but Dr.
   Reynolds remained on the July 12, 2021 hearing schedule, as set forth in the Court’s
   hearing notice. (See ECF No. 1814, PageID.64773.)
         18 The Court served the hearing notice on all Unrepresented Objectors via U.S.
   Mail on June 4, 2021. (ECF No. 1814, PageID.64777.) The Notice contained specific
   instructions for Unrepresented Objectors who wished to speak at the hearing to sign
   up to be heard. (Id. at PageID.64774–64776.)
                                           34
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69571 Filed 11/10/21 Page 35 of 178




   Battiste)); (8) Audrey Young-Muhammed (ECF No. 1693 (written

   objection)); (9) Freelon Threlkeld (ECF No. 1699 (written objection)); (10)

   Anita Smylor (ECF No. 1741 (written objection)); (11) Karen Weaver

   (ECF No. 1656 (written objection)); (12) Claudia Perkins-Milton (ECF No.

   1604 (written objection)); (13) Deborah Holmes (ECF No. 1813 (written

   objection)); (14) Virginia Murphy (ECF No. 1766 (written objection)); and

   (15) Joelena Freeman (ECF No. 1652 (written objection)). The content of

   these objections (as well as the objections filed by the remaining

   Unrepresented Objectors who did not sign up to speak at the hearing)

   and the Court’s rulings on them are discussed below.

         At the end of the hearing on July 13, 2021, the Court heard from

   attorney Bettenhausen for the State Defendants. She briefly addressed

   the State of Michigan’s inspection of the bone lead level testing office,

   which was established in Flint, Michigan, by the Napoli Shkolnik law

   firm. The Napoli Shkolnik bone lead level testing program is addressed

   in detail below in Section IV.

         On July 15, 2021, the Court heard argument and objections

   regarding Plaintiffs’ motion for attorney fees and expenses. Special

   Master Greenspan provided an oral report on the work she performed


                                        35
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69572 Filed 11/10/21 Page 36 of 178




   pursuant to the Case Management Order Regarding Time and Expense

   Procedures. (See ECF No. 507.) Additionally, the Special Master

   submitted data obtained pursuant to that Order to the Court in camera

   in advance of the hearing and the Undersigned has spent a great many

   hours reviewing these submissions. The Court then heard a presentation

   from Co-Liaison Counsel regarding the motion for attorney fees, followed

   by presentations by counsel for the Hall Objectors, the Chapman/Lowery

   Objectors, the Anderson Plaintiffs, and Plaintiff Brown. (ECF No. 1814,

   PageID.64776–64777 (see also Text-Only Order (June 10, 2021)).) At the

   end of the hearing on July 15, 2021, the Court heard briefly from William

   Kim, counsel for the City Defendants. (ECF No. 1906, PageID.67101.)

   Kim reiterated to the Court that on Marcy 22, 2021 the City passed a

   Resolution Calling for Transparency in the Review of Attorney Fees and

   Reimbursement of Expenses for the Flint Water Litigation Settlement.

   (ECF No. 1555-1, PageID.60401.) The substance of the parties’ positions

   are set forth in a separate opinion and order.

                 E. Other Matters Post-Fairness Hearing

         On October 20, 2022, the Court issued a Stipulated Order amending

   the ASA to allow the McLaren Defendants to waive their Walk-Away


                                        36
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69573 Filed 11/10/21 Page 37 of 178




   Rights under Paragraph 18.2 in exchange for their continued

   participation as a Settling Party and allowing the McLaren Defendants’

   total contribution to the FWC Qualified Settlement Fund to be

   $5,000,000. The reasons for this amendment and for the stipulation are

   set forth in the Court’s Opinion and Order Granting Plaintiffs’, State

   Defendants’, Rowe’s and the McLaren Defendants’ Stipulation. (See ECF

   Nos. 1993, 1996.)

   II.   LEGAL STANDARD

         As noted, the ASA resolves claims in class action and non-class

   action lawsuits. And in the non-class actions, Minors and LIIs, as defined

   under Michigan law, are parties. The Court plays a different role when a

   settlement is reached in each of these kinds of cases. In non-class action

   cases, the parties may settle the case and stipulate to its dismissal

   without obtaining court approval. See Fed. R. Civ. P. 41(a)(1)(A)(ii). But

   if Minors and LIIs are parties to a non-class action, as they are here, the

   Court has a duty to evaluate whether there are adequate protective

   measures in the settlement that comply with Michigan law to protect

   these individuals’ rights. See, e.g., Mich. Ct. R. 2.201(E)(1)(6) (requiring

   that a “competent and reasonable person” be appointed as Next Friend


                                        37
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69574 Filed 11/10/21 Page 38 of 178




   for Minors and LIIs); Mich. Ct. R. 5.125 and 2.420 (setting forth the State

   of Michigan’s probate procedures applicable to Minors and LIIs).

   Meanwhile, claims in a class action “may be settled . . . or compromised

   only with the court’s approval.” Fed. R. Civ. P. 23(e).

         Rule 23, which applies to class actions, provides that if a proposed

   settlement or compromise:

         would bind class members, the court may approve it only after
         a hearing and only on finding that it is fair, reasonable, and
         adequate after considering whether:
              (A) the class representatives and class counsel have
              adequately represented the class;
              (B) the proposal was negotiated at arm’s length;
              (C) the relief provided for the class is adequate, taking
              into account:
                (i) the costs, risks, and delay of trial and appeal;
                (ii) the effectiveness of any proposed method of
                distributing relief to the class, including the
                method of processing class-member claims;
                (iii) the terms of any proposed award of attorney’s
                fees, including timing of payment; and
                (iv) any agreement required to be identified under
                Rule 23(e)(3);19 and

         19  Rule 23(e)(3) states that “[t]he parties seeking approval must file a
   statement identifying any agreement made in connection with the proposal.” Fed. R.
   Civ. P. 23(e)(3).

                                          38
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69575 Filed 11/10/21 Page 39 of 178




              (D) the proposal treats class members equitably relative
              to each other.

   Fed. R. Civ. P. 23(e)(2).

         The Sixth Circuit also lists factors to guide the Court’s inquiry into

   whether a proposed class action settlement is fair, reasonable, and

   adequate.20 They are:

         (1) the risk of fraud or collusion; (2) the complexity, expense,
         and likely duration of the litigation; (3) the amount of
         discovery engaged in by the parties; (4) the likelihood of
         success on the merits; (5) the opinions of class counsel and
         class representatives; (6) the reaction of absent class
         members; and (7) the public interest.


         20 The Sixth Circuit set forth these factors in International Union v. General
   Motors Corp., 497 F.3d 615 (6th Cir. 2007) before Rule 23(e) was amended in 2018 to
   codify many of the same factors. The Advisory Committee’s note to this amendment
   states that:

         The central concern in reviewing a proposed class-action settlement is
         that it be fair, reasonable, and adequate. Courts have generated lists of
         factors to shed light on this concern. Overall, these factors focus on
         comparable considerations, but each circuit has developed its own
         vocabulary for expressing these concerns. In some circuits, these lists
         have remained essentially unchanged for thirty or forty years. The goal
         of this amendment is not to displace any factor, but rather to focus the
         court and the lawyers on the core concerns of procedure and substance
         that should guide the decision whether to approve the proposal.

   Fed. R. Civ. P. 23(e)(2) Advisory Committee’s Note to 2018 Amendments. Judges in
   the Eastern District of Michigan consider the Sixth Circuit factors in addition to the
   Rule 23 factors. Therefore, the Court will do the same.



                                            39
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69576 Filed 11/10/21 Page 40 of 178




   Int’l Union, 497 F.3d at 631 (citations omitted). “Of the [International

   Union] factors, ‘[t]he most important of the factors to be considered in

   reviewing a settlement is the probability of success on the merits.’” Doe

   v. Déjà Vu Consulting, Inc., 925 F.3d 886, 894 (6th Cir. 2019) (quoting

   Poplar Creek Dev. Co. v. Chesapeake Appalachia, L.L.C., 636 F.3d 235,

   245 (6th Cir. 2011)).

         In addition to the seven International Union factors, “in evaluating

   the fairness of a settlement, [the Sixth Circuit has] also looked to whether

   the settlement gives preferential treatment to the named plaintiffs while

   only perfunctory relief to unnamed class members.” Vassalle v. Midland

   Funding LLC, 708 F.3d 747, 755 (6th Cir. 2013). Inequities in treatment

   may “make a settlement unfair.” Id.

         The Court must determine whether the notice to the class satisfies

   due process. Due process “does not require the notice to set forth every

   ground on which class members might object to the settlement;” rather,

   “[a]ll that the notice must do is ‘fairly apprise the prospective members

   of the class of the terms of the proposed settlement.’” Vassalle, 708 F.3d

   747, 759 (6th Cir. 2007).




                                        40
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69577 Filed 11/10/21 Page 41 of 178




         The Court must decide whether to certify the class for settlement

   purposes. To certify a class for settlement purposes, the Court must find

   that the class satisfies all of the requirements of Federal Rule of Civil

   Procedure 23(a) and one of the requirements of Rule 23(b). Rule 23(a)

   states:

         One or more members of a class may sue or be sued as
         representative parties on behalf of all members only if:
              (1) the class is so numerous that joinder of all
              members is impracticable;
              (2) there are questions of law or fact common to the
              class;
              (3) the claims or defenses of the representative
              parties are typical of the claims or defenses of the
              class; and
              (4) the representative parties will fairly and
              adequately protect the interests of the class.

   Fed. R. Civ. P. 23(a). And Rule 23(b) states:

         A class action may be maintained if Rule 23(a) is satisfied and
         if:
         (1) prosecuting separate actions by or against individual class
         members would create a risk of:
              (A) inconsistent or varying adjudications with
              respect to individual class members that would
              establish incompatible standards of conduct for
              the party opposing the class; or

                                        41
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69578 Filed 11/10/21 Page 42 of 178




              (B) adjudications with respect to individual class
              members that, as a practical matter, would be
              dispositive of the interests of the other members
              not parties to the individual adjudications or
              would substantially impair or impede their ability
              to protect their interests;
         (2) the party opposing the class has acted or refused to act on
         grounds that apply generally to the class, so that final
         injunctive relief or corresponding declaratory relief is
         appropriate respecting the class as a whole; or
         (3) the court finds that the questions of law or fact common to
         class members predominate over any questions affecting only
         individual members, and that a class action is superior to
         other available methods for fairly and efficiently adjudicating
         the controversy. The matters pertinent to these findings
         include:
              (A) the class members’ interests in individually
              controlling the prosecution or defense of separate
              actions;
              (B) the extent and nature of any litigation
              concerning the controversy already begun by or
              against class members;
              (C) the desirability or undesirability of
              concentrating the litigation of the claims in the
              particular forum; and
              (D) the likely difficulties in managing a class
              action.

   Fed. R. Civ. P. 23(b).



                                        42
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69579 Filed 11/10/21 Page 43 of 178




         Federal Rule of Civil Procedure 23(g) requires a court certifying a

   class to appoint class counsel. The Court may only appoint an applicant

   that is “adequate under Rule 23(g)(1) and (4). Fed. R. Civ. P. 23(g)(2).

   Rule 23(g)(1) requires that the Court:

         (A) must consider:
                (i) the work counsel has done in identifying or
                investigating potential claims in the action;
                (ii) counsel’s experience in handling class actions,
                other complex litigation, and the types of claims
                asserted in the action;
                (iii) counsel’s knowledge of the applicable law; and
                (iv) the resources that counsel will commit to
                representing the class;
         (B) may consider any other matter pertinent to counsel’s
         ability to fairly and adequately represent the interests of the
         class;
         (C) may order potential class counsel to provide information
         on any subject pertinent to the appointment and to propose
         terms for attorney’s fees and nontaxable costs;
         (D) may include in the appointing order provisions about the
         award of attorney's fees or nontaxable costs under Rule
         23(h);21 and



         21  Rule 23(h) states “[i]n a certified class action, the court may award
   reasonable attorney’s fees and nontaxable costs that are authorized by law or by the
   parties’ agreement.” Fed. R. Civ. P. 23(h). It then describes the procedures that apply
   to the claim for an award, objections by class members, that a hearing may be held,
                                             43
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69580 Filed 11/10/21 Page 44 of 178




         (E) may make further orders in connection with the
         appointment.
   Fed. R. Civ. P. 23(g)(1). Rule 23(g)(4) states that “[c]lass counsel must

   fairly and adequately represent the interests of the class.” Fed. R. Civ. P.

   23(g)(4).

         Finally, when evaluating a proposed class action settlement, the

   Court must bear in mind “the federal policy favoring settlement of class

   actions.” Int’l Union, 497 F.3d at 632; see also Albert Conte & Herbert

   Newberg, Newberg on Class Actions § 11.41 (4th ed. 2002) (“Newberg”)

   (“By their very nature, because of the uncertainties of outcome,

   difficulties of proof, length of litigation, class action suits lend themselves

   readily to compromise.”).

  III.   DISCUSSION

                   A. Non-Class Portion of the Settlement

         Co-Liaison Counsel for Individual Plaintiffs filed a Brief in Support

   of Final Approval of the Proposed Settlement, in which they address the

   non-class portions of the settlement and request that the Court grant




   and that the issues may be referred to a special master. See Fed. R. Civ. P. 23(h)(1)-
   (4).
                                            44
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69581 Filed 11/10/21 Page 45 of 178




   final approval to the non-class portions of the ASA.22 (ECF No. 1795.) As

   discussed, the ASA contains provisions related to Minors and LIIs, who

   are not part of a Settlement Class, and Michigan law requires the Court

   to evaluate those provisions. The non-class portion of the ASA also

   applies to represented adults. While the Court does not ordinarily need

   to review such settlements, the fact that all the represented adults are

   participating in the aggregate settlement is notable. The Court’s

   approval of the allocation and Compensation Grid satisfies any issues

   that may pertain to the non-class participants. Final approval as to the

   non-class portions of the ASA is granted.

         In the January 21, 2021 Preliminary Approval Order, the Court

   analyzed in detail the ASA’s provisions related to Minors and LIIs and it

   granted preliminary approval of the ASA as it relates to these

   individuals. See Preliminary Approval Order, 499 F. Supp. 3d at 412–18.

   The ASA has not been altered in the interim. The Court therefore adopts

   and incorporates the following language from the Preliminary Approval




         22 In their brief, Co-Liaison Counsel for Individual Plaintiffs also respond to
   objections to the ASA, which will be addressed in Section IV of this Opinion and
   Order. (See ECF No. 1795, PageID.64479.)
                                            45
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69582 Filed 11/10/21 Page 46 of 178




   Order granting preliminary approval to the portions of the ASA related

   to Minors and LIIs:

         A. Minors and LIIs

         At the preliminary approval stage, the Court must review the
         MSA23 to determine whether the processes and procedures
         related to Minors’ and LIIs’ claims are fair and in their best
         interests. As set forth above, Guardian Ad Litem Miriam Z.
         Wolock assisted in this review. Ms. Wolock provided an oral
         report to the Court and the parties at the hearing held on
         December 21, 2020. For the reasons set forth below, the Court
         concludes that the processes and procedures set forth in the
         MSA are fair and in the best interests of Minors and LIIs.

         The provisions of the MSA applicable to Minors and LIIs are
         the following: (1) Article XXI of the MSA (ECF No. 1319-1,
         PageID.40393–40400 (as amended, ECF No. 1394-2,
         PageID.54185–54192)); (2) the Registration Form (ECF No.
         1319-2, PageID.40757–40763 (as amended, ECF No. 1394-3,
         PageID.54214–54219)); (3) the Claim Form (ECF No. 1319-2,
         PageID.40740–40745 (as amended, ECF No. 1394-5,
         PageID.54231–54235)); (4) the monetary awards and proofs
         grid (ECF No. 1319-2, PageID.40789–40831); (5) the Case
         Management Order (ECF No. 1319-2, PageID.40848–40876
         (as amended, ECF No. 1394-9, PageID.54286–54294)); (6)
         Plaintiffs’ Fact Sheet (ECF No. 1319-2, PageID.40878–40897,
         40899); (7) the Release by the Next Friend (ECF No. 1319-2,
         PageID.41223–41227); and (8) the Non-Participation Notice
         by Minors or LIIs (ECF No. 1319-2, PageID.41246).

         1. Genesee County Circuit Court Assignment and
         Appointment of Next Friends


         23In the Preliminary Approval Order, the Court referred to the Amended
   Settlement Agreement as the Master Settlement Agreement, or “MSA.” They are the
   same document. (See ECF No. 1319-2, (as amended, ECF No. 1394-2).)
                                         46
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69583 Filed 11/10/21 Page 47 of 178




         First, the MSA provides that the parties will file motions to
         permit the Genesee County Circuit Court, specifically Judge
         Farah, to exercise the power and jurisdiction of the probate
         court for the purposes of: (1) approving the types of
         individuals who can act as Next Friends on behalf of Minors
         and LIIs under the MSA; and (2) appointing a Master
         Guardian Ad Litem (“Master GAL”) and two Panel Guardians
         Ad Litem (“Panel GAL”) to supervise submissions by Next
         Friends on behalf of Minors and LIIs. (ECF No. 1319-1,
         PageID.40393.) This appointment would provide for
         consistency in state-court rulings on settlement-related
         matters. Moreover, Judge Farah, as a result of managing the
         Genesee County Flint Water docket, is familiar with the
         unique nature of the claims and parties, including those of
         Minors and LIIs.

         The MSA provides parameters for those who may be
         authorized to act as Next Friends on behalf of Minors and
         LIIs. (Id.) The MSA defines both the qualifications and proofs
         required for this role. It incorporates Michigan Court Rule
         2.201(E), which sets forth the legal parameters applicable to
         proceedings involving a minor or incompetent person in
         Michigan, including that the person acting as Next Friend be
         “competent and responsible.” Mich. Ct. R. 2.201(E)(1)(b).

         The MSA contains a proposed Registration Form that
         participants in the settlement, including Minors and LIIs,
         must complete within sixty days of the entry of an order
         granting preliminary approval. [fn 10] (See ECF No. 1319-1,
         PageID.40348–40353 (as amended, ECF No.1394-2,
         PageID.54140–54145).) Section 3 of the Registration Form,
         which is applicable only to Minors and LIIs, identifies the
         person submitting the form on behalf of a Minor or LII, and
         requires that the individual provide documents proving their
         relationship to the claimant. (ECF No. 1319-2, PageID.40759–
         40761.) The information sought in Section 3 of the
         Registration Form mirrors the requirements set forth in
         Michigan Court Rule 2.201. Also, the Claim Form contains

                                        47
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69584 Filed 11/10/21 Page 48 of 178




         similar provisions and checkboxes to the Registration Form.
         (ECF No. 1319-2, PageID.40740–40745 (as amended, ECF No.
         1394-3, PageID.54214–54219).)

              [fn 10] As set forth further below, this Order will
              be effective on January 27, 2021, and, because
              Sunday March 28, 2021 falls on a weekend, the
              sixty-day deadline is Monday[,] March 29, 2021.

         Ms. Wolock concluded that the Registration Form has a “clear
         and understandable application to act as [N]ext [F]riend and
         defines a group of individuals who may serve in this capacity,”
         and it “tracks all the requirements under Michigan law.”
         (ECF No. 1363, PageID.42191.)

         After the Registration Form is submitted, the MSA provides
         that the Claims Administrator must review and approve the
         qualifications of the Next Friend, within a specified time
         frame. (ECF No. 1319-1, PageID.40395–40396 (as amended,
         ECF No. 1394-2, PageID.54187–54188).) If the Next Friend
         does not meet the qualifications or has not submitted the
         appropriate proofs, the MSA sets forth a reconsideration and
         appeals process, which ultimately involves the Special Master
         issuing a written decision. (ECF No. 1319-1, PageID.40396 (as
         amended, ECF No. 1394-2, PageID.54188); ECF No. 1391-1,
         PageID.40378 (as amended, ECF No. 1394-2, PageID.54170).)
         These protections ensure that only authorized individuals
         may register and submit claims for Minors and LIIs, and
         minimize the opportunity for fraudulent claims to be
         submitted.

         The MSA also provides for protections for Minors and LIIs
         who do not have a Next Friend. As Ms. Wolock explained,

              And why is this important? Because a particular
              minor or claimant might need a [N]ext [F]riend
              who doesn’t neatly fall into the categories
              [contained in the Registration Form]. The upshot
              is [ ] that no potential claimant is deprived of an
                                        48
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69585 Filed 11/10/21 Page 49 of 178




              appropriate representative in the course of this
              settlement.

         (ECF No. 1363, PageID.42192.)

         This protection for Minors and LIIs who do not have an
         appropriate representative also tracks Michigan Court Rule
         2.201(E)(1)(b), which states, “If a minor or incompetent person
         does not have a conservator to represent the person as
         plaintiff, the court shall appoint a competent and responsible
         person to appear as next friend on his or her behalf.”
         Accordingly, the MSA fairly protects Minors and LIIs who do
         not currently have a parent or court-appointed guardian at
         this time.

         The MSA also covers situations where there is a dispute over
         who will act as Next Friend for a Minor or LII. (ECF No. 1319-
         1, PageID.40396 (as amended, ECF No. 1394-2,
         PageID.54188).) If this occurs, the MSA provides a clear
         procedure, involving independent review and assistance by
         the Master GAL, and, if not resolved by the Master GAL, by
         the Special Master. (Id.)

         Ms. Wolock stated at the December 21, 2020 hearing that this
         process and the time frames for resolving such disputes
         constitute “a fair and efficient dispute resolution process.”
         (ECF No. 1363, PageID.42192.)

         Once an appropriate Next Friend is appointed for the Minor
         or LII, the Genesee County Circuit Court (or this Court) will
         supervise the Next Friend. (ECF No. 1319-1, PageID.40393–
         40394 (as amended, ECF No. [1394-2, PageID.]54185–
         54186).)

         The establishment of jurisdiction over probate proceedings
         with the Genesee County Circuit Court, the procedures for
         appointing a Next Friend, and the procedures for resolving
         any Next Friend-related disputes are all thorough, clear, and
         designed to promote consistency. As Ms. Wolock explained,
                                        49
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69586 Filed 11/10/21 Page 50 of 178




         the procedures set forth above for Next Friend appointments
         help facilitate “an appropriate financial recovery. [The plan
         is] prompt. It’s cost effective. It’s transparent and the
         administrative steps really help avoid a protracted and
         lengthy court proceeding. And so on this basis it’s fair and in
         the best interest of the minors and [LIIs].” (ECF No. 1363,
         PageID.42193.)

         2. Retention of Counsel

         Another provision in the MSA that protects Minors and LIIs
         relates to the retention of counsel. Although Minors and LIIs
         are not required to retain a lawyer to obtain a monetary
         award under the settlement, the MSA provides that counsel,
         including Co-Lead Class and Co-Liaison Counsel, are
         authorized to assist Minors and LIIs to advise them of their
         rights and options under the MSA. (ECF No. 1319-1,
         PageID.40394–40395 (as amended, ECF No. 1394-2,
         PageID.54186–54187).) These provisions provide an
         additional option for Minors and LIIs to have a lawyer to
         assist them in their claim submission and determination of
         payment distribution.

         3. Second Stage Approval Process

         The MSA contains provisions outlining what is called the
         “Second Stage Approval Process,” which includes added
         protections for Minors and LIIs. For example, the Claims
         Administrator must first certify that the Minor or LII is
         assigned the settlement category that will result in the
         highest monetary award possible for that individual. (ECF
         No. 1319-1, PageID.40396 (as amended, ECF No. 1394-2,
         PageID.54188).) Ms. Wolock indicated that this step “clearly
         benefits this population.” (ECF No. 1363, PageID.42193.)

          The possible settlement categories are set forth in a
         settlement grid, which contains twenty-one categories
         devoted to individuals who were minors at the point of first
         exposure. [fn 11] While there are different allocations for
                                        50
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69587 Filed 11/10/21 Page 51 of 178




         recovery in each of the twenty-one categories, the grid
         provides a settlement for all minors, regardless of whether
         they have any proof of an injury. (ECF No. 1319-2,
         PageID.40790–40818.) The grid provides for different
         settlement values based on objective factors such as the age
         of the child at first exposure, the evidence of lead exposure,
         and the evidence of cognitive impairment related to lead
         exposure.

              [fn 11] Seven of the twenty-one categories are
              devoted to Minors ages six and younger at the time
              of their first exposure, seven are devoted to Minors
              ages seven through eleven at the time of their first
              exposure, and the remaining seven apply to
              Minors ages twelve through seventeen at the time
              of their first exposure.

         As explained by Special Master Greenspan at the hearing, the
         grid is set up in a manner such that, “People who were
         similarly situated would be treated in a similar way.” (ECF
         No. 1363, PageID.42203.) This promotes fairness, particularly
         in litigation such as this where there are different levels of
         exposure and severity of injury. And Ms. Wolock succinctly
         stated,

              So the process set forth in the settlement grid or
              the required proof grid, I believe, promotes
              fairness in as much as it creates a very systematic
              approach for remedial relief based on objective
              criteria that are set forth in the grid. And each grid
              is accompanied by particular proofs that are
              required to be submitted. With the result that
              [M]inors and LIIs with comparable claims are
              intended to receive comparable awards. And I
              believe that this is a fair and consistent approach
              for similarly situated claimants.

         (ECF No. 1363, PageID.42195.)

                                        51
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69588 Filed 11/10/21 Page 52 of 178




         Another way in which the Second Stage Approval Process
         addresses Minors and LIIs is that it provides that the Claims
         Administrator must issue a second notice if a Next Friend
         rejects the settlement category or fails to respond within the
         prescribed deadlines. (ECF No. 1319-1, PageID.40397 (as
         amended, ECF No. 1394-2, PageID.54189).) This second-
         chance provision is an additional layer of fairness and
         protection for Minors and LIIs.

         4. Release by Next Friend

         Another key provision in the MSA related to Minors and LIIs
         is the Release by Next Friend. (ECF No. 1319-2,
         PageID.41223–41227.) Most importantly, the Release states
         that the Next Friend releases the Minor’s and LII’s Flint
         Water-related claims against the Settling Defendants only.
         (Id.) Agreement to a release of claims in exchange for a
         monetary award is at the core of any settlement. The release
         is clearly written and understandable, and is publicly
         available for Next Friends to review and to determine
         whether they wish to agree to its terms in exchange for a
         monetary award.

         5. Reconsideration and Appeal

         The MSA also provides a procedure if the Next Friend
         disagrees with the settlement category assigned by the
         Claims Administrator, or otherwise disagrees with an
         unfavorable notice. The MSA contains provisions for
         reconsideration, and if the issue is not resolved on
         reconsideration, the MSA provides for a process to submit an
         appeal to the Special Master. (ECF No. 1319-1, PageID.40398
         (as amended, ECF No. 1394-2, PageID.54190).)

         If a Minor or LII (1) is not represented by counsel, (2) receives
         an Adverse Notice, and (3) does not follow the processes and
         procedures set forth in the MSA for reconsideration and
         appeal, then there is an additional process for independent
         review of the settlement category assigned by the Claims
                                        52
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69589 Filed 11/10/21 Page 53 of 178




         Administrator. In these circumstances, the Master GAL
         reviews the Adverse Notice to determine whether it is fair and
         reasonable. (Id.) If the Master GAL determines it is not fair
         and reasonable, they will send the claim back to the Claims
         Administrator for reevaluation. (Id.) If the Master GAL
         determines that it is fair and reasonable, then the Master
         GAL will state their determination in writing and forward the
         determination and the Adverse Notice to the Genesee County
         Circuit Court for further review and a final determination.
         (Id.) All final determinations are made by the Genesee County
         Circuit Court.

         Ms. Wolock stated in regard to this process that “there are
         multiple layers of protection here for the minors and LIIs and
         I believe that these procedures provide multiple opportunities
         for a meaningful opportunity to be heard in a cost-effective,
         transparent and efficient manner.” (ECF No. 1363,
         PageID.42195.)

         6. Distribution of Monetary Award

         The MSA contemplates three options for Minors and LIIs to
         receive distribution of their monetary award, if the award
         exceeds $5,000: (1) a special needs trust, (2) a settlement
         preservation trust, or (3) a structured settlement. (ECF No.
         1319-1, PageID.40399–40400 (as amended, ECF No. 1394-2
         PageID.54191–54192).)

         Michigan Court Rule 2.420 governs the procedure to be
         followed for a settlement in a [N]ext [F]riend’s action brought
         for a minor or LII. The rule states:

              If the settlement or judgment requires payment of
              more than $5,000 to the minor either immediately,
              or if the settlement or judgment is payable in
              installments that exceed $5,000 in any single year
              during minority, a conservator must be appointed
              by the probate court before the entry of the
              judgment or dismissal. The judgment or dismissal
                                        53
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69590 Filed 11/10/21 Page 54 of 178




              must require that payment be made payable to the
              minor’s conservator on behalf of the minor. The
              court shall not enter the judgment or dismissal
              until it receives written verification, on a form
              substantially in the form approved by the state
              court administrator, that the probate court has
              passed on the sufficiency of the bond of the
              conservator.

         Mich. Ct. R. 2.420.

         As Ms. Wolock indicated, these three options in the MSA
         “protect and preserve” the funds on behalf of the Minor and
         LII. (ECF No. 1363, PageID.42196.)

         Relevant to this portion of the analysis is that, if a Minor or
         LII does not elect the structured settlement option for their
         distribution, then a Panel GAL, appointed by the Genesee
         County Circuit Court, is assigned to the Minor or LII. The
         Panel GAL’s duty is to evaluate whether the settlement
         category and monetary award assigned by the Claims
         Administrator, and the distribution option selected by the
         Next Friend, is fair, reasonable, adequate, and in the best
         interests of the particular Minor or LII. If the Panel GAL
         agrees with the Claims Administrator’s determination, then
         the Panel GAL presents their evaluation to the Genesee
         County Circuit Court for approval. (ECF No. 1319-1,
         PageID.40399 (as amended, ECF No. 1394-2, PageID.54191).)

         If the Panel GAL or Genesee County Circuit Court determines
         that the settlement category, monetary award, or elected
         option to receive a monetary award is not fair, reasonable,
         adequate, or in the Minor or LII’s best interests, the claim will
         be sent back for reevaluation to the Claims Administrator or
         Next Friend, and the process will repeat until the monetary
         award is approved by the Panel GAL and the Genesee County
         Circuit Court. (Id.) For these reasons, the process and
         procedure is fair and thorough.

                                        54
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69591 Filed 11/10/21 Page 55 of 178




         The Court concludes that the MSA’s three options for Minors
         and LIIs to receive monetary awards, as well as the multi-
         layered review processes, are fair and in the best interests of
         Minors and LIIs.

         7. Future Minor Claimants

         Another way in which the MSA is fair and in the best interests
         of Minors is that it does not compel Minors to submit claims
         immediately. While it may be in the best interests of most or
         all Minors to submit their claims at the earliest opportunity,
         the proposed settlement provides a fund for Future Minor
         Claimants. A portion of the aggregate settlement fund ($35
         million) will be set aside to accommodate Minors who do not
         file their claims immediately or who do not finalize their
         claims. This means that individuals less than eighteen years
         of age on the date they first ingested Flint [W]ater (if ingested
         between April 25, 2014 and November 16, 2020), who failed to
         register or did not receive a Favorable Notice, can still
         participate in the settlement later on, before they turn
         nineteen years old, subject to available funds. (ECF No. 1319-
         1, PageID.40338[,] 40356–40357 (as amended, ECF No. 1394-
         2, PageID.54130[,] 54148–54150).)

         As Ms. Wolock explained, the Future Minor Claimant
         provisions are “akin to a safe harbor provision so that a minor
         has up to age 19 to participate in a program and I believe that
         this safe harbor provision gives adequate assurance that the
         settlement will be as much as feasibly possible widely
         available to this group.” (ECF No. 1363, PageID.42197–
         42198.) This safe-harbor provision is fair and in the best
         interests of Future Minor Claimants.

         8. Programmatic Relief

         The MSA includes a provision whereby a portion of the
         settlement would be used to enable the local school districts
         and public school academies within the Genesee Intermediate
         School District to provide special education services for
                                        55
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69592 Filed 11/10/21 Page 56 of 178




         qualifying students who resided in the City of Flint during the
         April 25, 2014 through November 16, 2020 time period. These
         provisions apply whether or not the individuals receiving such
         services are also individual claimants under the MSA. This
         global provision provides an added education-based benefit to
         Minors.

         9. Non-Participating Minors and LIIs

         Minors and LIIs can also choose not to participate in the
         settlement. If they choose not to participate, there is a clear
         procedure in the MSA for them to follow if they wish to
         proceed with their lawsuits against the Settling Defendants.
         (ECF No. 1319-1, PageID.40398 (as amended, ECF No. 1394-
         2, PageID.54190).) This procedure includes agreeing to a Case
         Management Order (“CMO”), with an accompanying Plaintiff
         Fact Sheet, (ECF No. 1319-2, PageID.40848–40876 (as
         amended, ECF No. 1394, PageID.54286–54294); ECF No.
         1319-2, PageID.40878–40897), and submitting a Notice of
         Intent Not to Participate. (ECF No. 1319-2, PageID.41246.)
         These documents are all publicly available for review. Minors
         and LIIs have the benefit of fully “weigh[ing] the cost benefit
         of . . . participating in this settlement or nonparticipation,”
         and can make an “informed decision on how to proceed.” ([ ]
         ECF No. 1363, PageID.42199.)

         10. Conclusions Regarding Minors and LIIs

         In sum, for the reasons set forth above, at this stage of the
         process, the MSA appears fair and in the best interests of
         Minors and LIIs. Ms. Wolock stated at the hearing, “My
         conclusion in the report today is that the processes and
         procedures set forth in the proposed agreement are fair to the
         [M]inors and LIIs. Because those procedures are fair, I also
         report to the Court that those fair procedures serve the best
         interest of the [M]inors and LIIs.” (ECF No. 1363,
         PageID.42190–42191.) The Court agrees for all of the reasons
         set forth above. Accordingly, preliminary approval of the MSA
         as it relates to Minors and LIIs is granted.
                                        56
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69593 Filed 11/10/21 Page 57 of 178




   Id.

           As noted above, Master GAL Wolock provided the Court with an

   oral report during the final fairness hearing in July 2021. (See ECF No.

   1904, PageID.66641–66653.) She discussed the steps that have been

   taken since the entry of the Preliminary Approval Order to protect

   Minors and LIIs who are participating in the settlement. (Id.) The Master

   GAL also filed a written report detailing, among other things, the

   processes and procedures for appointing Next Friends under the ASA and

   subsequent orders. (ECF No. 1896.)

           The Master GAL addressed, in her oral and written reports, that

   this Court, and the Genesee County Circuit Court, oversaw the

   appointment of Next Friends for the purpose of registering over 2,500

   children who are wards of the State for participation in the settlement.

   (Id.    at   PageID.66300.)   This    enormous     undertaking     required

   implementing a special outreach effort so that the necessary steps could

   be completed before the registration deadline. (Id.) This process was, as

   stated by the Master GAL, carried out in a “fair and favorable manner.”

   (Id.)




                                        57
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69594 Filed 11/10/21 Page 58 of 178




         The Master GAL’s oral and written reports also addressed the

   protections in the ASA that apply to Future Minor Claimants, how the

   ASA’s provisions protect the rights of Minors and LIIs throughout the

   Claims Process and the settlement distribution stages, and detailed the

   ASA’s mechanism for an individual Minor to recover funds, which will

   not jeopardize the recipient’s qualifications for Supplemental Social

   Security, Medicaid, and potentially other government benefits. These

   protections that maintain eligibility for these government benefits are an

   important factor in finding that the provisions of the ASA related to

   Minors and LIIs are fair and in their best interests.

         Accordingly, for the reasons set forth in the Preliminary Approval

   Order and in the Master GAL’s oral and written reports, the Court is

   satisfied that the provisions of the ASA relating to Minors and LIIs meet

   the requirements of Michigan law for protecting and safeguarding the

   rights of these vulnerable populations. Indeed, the steps Master GAL

   Wolock has taken in her role have already gone above and beyond

   Michigan law’s requirements. This, too, weighs heavily in favor of final

   approval.




                                        58
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69595 Filed 11/10/21 Page 59 of 178




         In sum, the Court is satisfied that the Individual, non-class

   components of the ASA that require Court approval are fair and in the

   best interests of Minors, LIIs and, though not required, the represented

   adults. Accordingly, final approval is granted as to the non-class

   components of the ASA.

                 B. Class Plaintiffs’ Portion of the Settlement

         As discussed above, Federal Rule of Civil Procedure 23(e)(2)

   requires that the Court evaluate certain factors before the Court can find

   that a settlement is “fair, reasonable, and adequate.” Fed. R. Civ. P.

   23(e)(2). Rule 23(e)(2)’s factors overlap with many of the Sixth Circuit’s

   International Union factors for determining whether a class settlement

   is fair, reasonable, and adequate. See Int’l Union, 497 F.3d at 631.

   Because the Sixth Circuit indicates that the likelihood of success on the

   merits is the most important factor in this analysis, see Déjà Vu

   Consulting, 925 F.3d at 894, that factor will be addressed first. For the

   reasons set forth below, the Rule 23(e)(2) and Sixth Circuit factors weigh

   in favor of granting final approval.




                                          59
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69596 Filed 11/10/21 Page 60 of 178




                 1. Likelihood of Success on the Merits

         The first factor the Court considers in evaluating whether the

   settlement is fair, reasonable, and adequate is Plaintiffs’ likelihood of

   success on the merits. See id. at 894. This factor does not require the

   Court to “decide the merits of the case or resolve unsettled legal

   questions”; however, it recognizes that the Court cannot reasonably

   “judge the fairness of a proposed compromise” without “weighing the

   plaintiff’s likelihood of success on the merits against the amount and

   form of the relief offered in the settlement.” Int’l Union, 497 F.3d at 631.

   In evaluating this factor, the Court’s

         task is not to decide whether one side is right or even whether
         one side has the better of these arguments. Otherwise, we
         would be compelled to defeat the purpose of a settlement in
         order to approve a settlement. The question rather is whether
         the parties are using settlement to resolve a legitimate legal
         and factual disagreement.

   Id. at 632.

         The parties themselves acknowledge in the ASA that the legal

   theories underlying the claims involved are numerous, including

   “negligence, unjust enrichment, breach of contract, constitutional




                                        60
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69597 Filed 11/10/21 Page 61 of 178




   violations, and inverse condemnation.” (ECF No. 1319-1, PageID.40332.)

   The parties state in the ASA:

         After careful consideration, Plaintiffs, and their respective
         counsel, have concluded that it is in Plaintiffs’ best interest to
         compromise and settle all Released Claims against the
         Released Parties for the consideration reflected in the terms
         and benefits of this Settlement Agreement. After arm’s-length
         negotiations with counsel for [Settling] Defendants, including
         the efforts of the Mediators and Special Master, Plaintiffs
         have considered, among other things: (1) the complexity,
         expense, and likely duration of the litigation; (2) the stage of
         the litigation and amount of fact gathering completed; (3) the
         potential for [Settling] Defendants to prevail on threshold
         issues and on the merits; and (4) the range of possible
         recovery, and have determined that this Settlement
         Agreement is fair, reasonable, adequate, and in the best
         interests of Plaintiffs.

   (Id. at PageID.40333.) The Court has overseen the federal claims in this

   litigation for many years and has worked cooperatively with Genesee

   County Circuit Court Judge Joseph J. Farah regarding the state-court

   claims. The claims in this litigation are, indeed, complex and many of the

   claims are novel. There are no other cases that the Court or the parties

   can look to that are on all fours with the claims in this litigation to assist

   them in predicting the outcome.




                                        61
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69598 Filed 11/10/21 Page 62 of 178




         In Olden v. Gardner, the Sixth Circuit reviewed the district court’s

   decision to grant final approval of a settlement, specifically its findings

   on the “success on the merits” factor. 294 F. App’x 210 (6th Cir. 2008).

   The Sixth Circuit found that even a close call can weigh in favor of final

   approval.

         In Olden, a group of individuals living in Alpena, Michigan, sued

   Lafarge Corporation because of pollution emitted by Lafarge’s cement

   plant located in Alpena. Id. at 211. The court found that the plaintiffs’

   likelihood of success on the merits was not “especially good,” because “[i]t

   would have been difficult to prove that any injuries suffered by the class

   members were caused by the Lafarge plant rather than one of several

   other industrial facilities in the area.” Id. at 217. Still, the court found

   that this factor weighed in favor of approving settlement, but “only

   marginally.” Id.

         Unlike the parties in Olden, who did not conduct discovery before

   reaching a settlement, the parties here have engaged in extensive

   discovery before and during their settlement negotiations and are

   therefore in a better position to evaluate the risks of continuing on to

   trial. They are aware that they would face hurdles, particularly in


                                        62
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69599 Filed 11/10/21 Page 63 of 178




   establishing causation. One need look no further than the extensive

   briefing in the first round of bellwether cases to see that litigating

   Plaintiffs’ claims to trial will necessarily involve a hard-fought battle of

   experts. (See, e.g., Case No. 17-10444, ECF Nos. 331, 334, 346.) Unlike

   Olden, Plaintiffs’ chance for success on the merits here may be more than

   “marginal,” but due to the complex and novel issues presented in this

   litigation, success is not a guarantee.

         The Court is persuaded that the over-$600 million settlement is a

   fair and sensible resolution of the claims against the Settling Defendants.

   The complexity and volume of this litigation present significant risks and

   potentially great expense to all parties if the cases were to be tried. The

   Court finds that the “success on the merits” factor weighs in favor of final

   approval, and also that “even if this merits question favored one party

   over the other, the [Plaintiffs] still would have had ample reason to

   control the resolution of this dispute through negotiation today rather

   than litigation tomorrow.” Int’l Union, 497 F.3d at 632. And any award

   of damages after trial would be vastly diminished in value by the

   duration and expense of trial. Accordingly, the settlement is a judicious

   result, and this factor weighs in favor of granting final approval.


                                        63
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69600 Filed 11/10/21 Page 64 of 178




                2. Class  Representatives             and     Class       Counsel
                   Representation

           Rule 23(e)(2)(A) requires that the Court consider whether “the class

   representatives and class counsel have adequately represented the class”

   before approving the proposed settlement. Fed. R. Civ. P. 23(e)(2)(A). The

   Class     Plaintiffs’   briefs,   and   the   Court’s   finding   of   adequate

   representation by class representatives and class counsel under Rule

   23(a)(4) and Rule 23(g) in the Preliminary Approval Order are useful in

   the context of evaluating this Rule 23(e) factor. See 4 Newberg § 13:48

   (5th ed. June 2021 update). Newberg instructs that “[t]he first of Rule

   23(e)(2)’s two procedural concerns—that ‘the class representatives and

   class counsel have adequately represented the class’—are redundant of

   the requirements of Rule 23(a)(4) and Rule 23(g), respectively. Since the

   court either has certified a class or must do so for settlement purposes, it

   is unclear that this prong adds anything to that analysis.” Id. (internal

   footnote omitted).

           For the reasons discussed in the Preliminary Approval Order, the

   Class Representatives and Lead Counsel have adequately represented

   the Settling Class during this litigation and settlement. Preliminary



                                           64
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69601 Filed 11/10/21 Page 65 of 178




   Approval Order, 499 F. Supp. 3d at 422–24. Accordingly, this factor

   weighs in favor of granting final approval.

              3. Arm’s Length Negotiations and No Evidence of
                 Collusion or Fraud

         Under Rule 23(e)(2)(B) and International Union, the Court must

   consider whether the negotiations were conducted at arm’s length with

   no evidence of collusion or fraud. See. Fed. R. Civ. P. 23(e)(2)(B); Int’l

   Union, 497 F.3d at 631. “Courts presume the absence of fraud or collusion

   unless there is evidence to the contrary.” UAW v. Gen. Motors, Corp., 05-

   CV-73991-DT, 2006 WL 891151, at *21 (E.D. Mich. Mar. 31, 2006)

   (Cleland, J.) (citing Granada Inves., Inc. v. DWG Corp., 962 F.2d. 1203,

   1205 (6th Cir. 1992)). No one has supplied the Court with any evidence,

   whatsoever, indicating the presence of collusion or fraud.

         On the contrary, as set forth above, the settlement negotiations

   were ongoing for several years, were arm’s length, were adversarial, and

   involved the assistance of third-party mediators and a Special Master.

   “[T]here appears to be no better evidence of [a truly adversarial

   bargaining process] than the presence of a neutral third party

   mediator[.]” 4 Newberg § 13:48 (5th ed. June 2021 update). The highly

   experienced mediators here, Sen. Levin and Ret. Judge Harwood,
                                        65
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69602 Filed 11/10/21 Page 66 of 178




   provided ample protections in their roles. Additionally, the Special

   Master assisted the negotiations from a neutral standpoint and provided

   a thorough report at the July 12, 2021 hearing regarding the adversarial

   process throughout the negotiations. Accordingly, this factor weighs in

   favor of final approval.

               4. Adequate Relief

         Rule 23(e)(2)(C) requires the Court to consider whether the relief is

   adequate, taking into account:

         (i) the costs, risks, and delay of trial and appeal; (ii) the
         effectiveness of any proposed method of distributing relief to
         the class, including the method of processing class-member
         claims; (iii) the terms of any proposed award of attorney’s fees,
         including timing of payment; and (iv) any agreement required
         to be identified under Rule 23(e)(3).24

   Fed. R. Civ. P. 23(e)(2)(C). These sub-factors overlap with the

   International Union factors requiring that the Court evaluate the

   “complexity, expense, and likely duration of the litigation” and the

   “likelihood of success on the merits.” Int’l Union, 497 F.3d at 631.




         24  Rule 23(e)(3) states “[t]he parties seeking approval must file a statement
   identifying any agreement made in connection with the proposal. Fed. R. Civ. P.
   23(e)(3).
                                           66
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69603 Filed 11/10/21 Page 67 of 178




         As to sub-factor one, the “cost, risks, and delay of trial and appeal,”

   this sub-factor weighs in favor of a finding that the relief is fair,

   reasonable, and adequate for the reasons set forth in the Court’s analysis

   of the likelihood of success on the merits in Section III(B)(1), above.

         As to sub-factor two, the “effectiveness of any proposed method of

   distributing relief to the class, including the method of processing class-

   member claims,” this factor also weighs in favor of finding that the relief

   is adequate. As discussed above, every Claimant who timely registers and

   qualifies for recovery under the ASA will receive an award that

   corresponds to their placement on the Compensation Grid. (See ECF No.

   1394-2 PageID.54146.) The Compensation Grid provides detailed

   guidance on the compensable conditions, eligibility requirements, and

   proof required to achieve compensation. The criteria are objective, not

   subjective, and the Claims Administrator must abide by these guidelines.

   The use of objective criteria to determine settlement distribution is a

   hallmark of fairness. The ASA contains clear processes and procedures

   for individuals to register. (See id. at PageID.54140.) The ASA creates

   seven Sub-Qualified Settlement Funds, whose purpose is to receive net

   funds from the FWC Qualified Settlement Fund for distribution to


                                        67
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69604 Filed 11/10/21 Page 68 of 178




   eligible Claimants. (See id. at PageID.54146.) And it sets forth a

   procedure for the settlement administrator, the Claims Administrator, to

   process and review registrations and claims, as well as procedures for

   reconsideration,      appeal,   and   dispute   resolution.   (See   id.   at

   PageID.54144–54146, 54168–54171.)

         Moreover, the ASA provides for efficient and timely methods for

   distributing Monetary Awards to Claimants. (See id. at PageID.54146–

   54148.) It contains additional protections, processes, and procedures for

   Minors and LIIs to receive Monetary Awards, as detailed by the Master

   GAL at the July 12, 2021 hearing and in her report. (See ECF No. 1896.)

   For all these reasons, this sub-factor weighs in favor of a finding that the

   relief is adequate.

         Rule 23(e)(2)(C)’s third sub-factor requires the Court to evaluate

   the request for attorney fees, including the timing of the request. The

   Court is separately required to evaluate the reasonableness of the

   attorney fee request under Rule 23(h). That issue will be analyzed in a

   separate opinion and order. For the purposes of this sub-factor, however,

   the focus is on whether there are signs that “counsel sold out the class’s




                                         68
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69605 Filed 11/10/21 Page 69 of 178




   claims at a low value in return for [a] high fee.” 4 Newberg § 13:54 (5th

   ed.) There are no such signs here.

           As noted above, the settlement negotiations were conducted at

   arm’s length with the added protections of neutral mediators, who are

   experienced enough to have noticed indicators if they were present.

   Additionally, there is no reason to find that the attorney fee award is too

   high.

           As to the timing of the attorney fee award request, courts are to

   consider this to prevent situations in which the request for attorney fees

   is unknown and could upset the compensation to claimants at the time of

   final approval. The timing of the fee request in this case raises no such

   red flags. Counsel moved for an award of attorney fees on March 8, 2021.

   (ECF No. 1458.) Co-Lead Class Counsel filed their motion for final

   approval of the settlement on May 27, 2021. (ECF No. 1794.) Co-Liaison

   Counsel filed a memorandum in support of final approval on the same

   day. (ECF No. 1795.) Accordingly, the fee request has been known to

   participants of the settlement since before the motion for final approval

   was filed, thus providing them notice and an opportunity to object. And,

   indeed, there was plenty of time for several objectors to object to the fee


                                        69
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69606 Filed 11/10/21 Page 70 of 178




   request between March 8, 2021 and the deadline for submitting

   objections on March 29, 2021. The Notice also addressed fees and was

   provided well in advance of the deadline. Thus, this sub-factor weighs in

   favor of finding the that the result of the settlement is adequate.

         As to the fourth sub-factor, that the parties identify any agreements

   required to be identified under Rule 23(e)(3), the parties have

   persuasively represented to the Court that there are no agreements other

   than the ASA relevant to this sub-factor. (See, e.g., ECF No. 1952,

   PageID.67995 (finding no evidence of so-called “side settlements” related

   to the ASA).) Thus, this sub-factor also weighs in favor of a finding that

   the settlement provides adequate relief. In sum, all the sub-factors set

   forth in Rule 23(e)(2)(C) weigh in favor of a finding that the relief

   provided by the ASA is adequate.

              5. Whether Class Members Are Treated Equitably
                 Relative to Each Other

         The last Rule 23(e)(2) factor requires the Court to evaluate whether

   the settlement “treats class members equitably relative to each other.”

   Fed. R. Civ. P. 23(e)(2)(D). The Advisory Committee Notes to the 2018

   amendment codifying this factor states that “[m]atters of concern [with

   respect to this factor] could include whether the apportionment of relief
                                        70
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69607 Filed 11/10/21 Page 71 of 178




   among class members takes appropriate account of differences among

   their claims, and whether the scope of the release may affect class

   members in different ways that bear on the apportionment of relief.” Fed.

   R. Civ. P. 23(e) Advisory Committee notes to 2018 amendment.

         The ASA presents no such concerns. As aptly stated by Class

   Counsel in their motion for final approval, the ASA provides for

   “‘horizontal equity’ between similarly situated class claimants created by

   the categorical award grid[.]” (ECF No. 1794, PageID.64306.) And,

   importantly, the ASA treats individuals who are represented by their

   own lawyers are treated the same under the ASA as individuals who are

   members of the Settlement Class.

         The fact that the Compensation Grid distinguishes between those

   with certain proofs does not raise concerns and does not change the

   analysis. Other class action settlements that provide for a “range of

   potential proof, tying the amount of relief to the amount and quality of

   evidence presented,” have been approved by other district courts. See In

   re Oil Spill by Oil Rig Deepwater Horizon, 295 F.R.D. 112, 157 (E.D. La

   2013) (“In re Deepwater Horizon”); see also In re Nat. Football League

   Players’ Concussion Inj. Litig., 307 F.R.D. 351, 400–401 (E.D. Pa. 2015)


                                        71
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69608 Filed 11/10/21 Page 72 of 178




   (“In re N.F.L.”). Varying levels of proofs and awards are “tied to the

   reality of litigating; the greater the proof, the more likely a plaintiff will

   recover at trial.” In re Deepwater Horizon, 295 F.R.D. at 157. Accordingly,

   this factor favors final approval.

               6. The Amount of Discovery Conducted

         International Union requires that the Court consider “the amount

   of discovery engaged in by the parties” in evaluating the fairness of the

   settlement. Int’l Union, 497 F.3d at 631. The Sixth Circuit, in Olden v.

   Gardner, instructs that class counsel negotiating a settlement without

   engaging in formal discovery, including failing to obtain expert opinions,

   can weigh against granting final approval of the settlement. 294 F. App’x

   at 218. “Obtaining expert opinions and engaging in formal discovery are

   usually essential to establishing a level playing field in the settlement

   arena because it enables the class counsel to develop the merits of their

   case.” Id. (citing In re Gen. Motors Corp. Pick-up Truck Fuel Tank Prods.

   Liab. Litig., 55 F.3d 768, 813–14 (3rd Cir. 1995).)

         The circumstances presented here are the opposite of those in

   Olden, in which little to no discovery was conducted. As set forth in the

   Preliminary Approval Order, and above, discovery in the Flint Water


                                        72
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69609 Filed 11/10/21 Page 73 of 178




   Cases has been substantial. Preliminary Approval Order, 499 F. Supp.

   3d at 412. The Court has overseen the vigorous discovery process and has

   adjudicated discovery disputes at least once each month since 2019. See

   id. Accordingly, this factor weighs in favor of granting final approval.

              7. Opinions    of  Class  Counsel   and   Class
                 Representatives and Reaction of Absent Class
                 Members

         In deciding whether the settlement is fair, reasonable, and

   adequate, the Court must look to “the opinions of class counsel and class

   representatives.” Int’l Union, 497 F.3d at 631. “The judgment of the

   parties’ counsel that the settlement is in the best interest of the settling

   parties is entitled to significant weight, and supports the fairness of the

   class settlement.” IUE-CWA v. General Motors Corp., 238 F.R.D. 583, 598

   (E.D. Mich. 2006) (internal citations omitted).

         Co-Lead Class Counsel support the settlement and urge the Court

   to grant it final approval. Co-Lead Class Counsel are experienced and

   have demonstrated their commitment to their clients over the years of

   litigating the case. They have conducted significant discovery and

   engaged in vigorous motion practice. The Subclass Settlement Counsel

   appointed to represent six separate subclasses for allocation purposes

                                        73
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69610 Filed 11/10/21 Page 74 of 178




   also endorse the ASA. (See ECF Nos. 1319-5, 1319-6, 1319-7, 1319-8,

   1319-9, and 1319-10.) The Court is satisfied that Co-Lead Class and

   Subclass Settlement Counsel’s endorsement of the settlement weighs in

   favor of granting final approval.

         Likewise, and although not necessary for purposes of Rule 23, the

   fact that Co-Liaison Counsel for the Individual Plaintiffs support the

   settlement provides additional support for granting final approval. This

   is because this settlement applies to their clients’ claims against the

   Settling Defendants. These counsel for individual clients determined that

   the settlement, including the allocation, the Compensation Grid, and the

   method of distribution is fair and acceptable to their clients. The number

   of individual Plaintiffs is in the thousands, and this lends strong support

   for the conclusion that the ASA is fair.

         Moreover, the reaction of absent class members favors approval of

   the settlement. In evaluating this factor, “courts often cite to the absence

   of opt-outs as evidence in support of settlement approval.” 4 Newberg

   §13:58 (5th ed. June 2021 update). As stated in Section I(C) above, over

   half of the City’s estimated population registered to participate in the

   settlement, and only a very small percentage of the people in that group


                                        74
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69611 Filed 11/10/21 Page 75 of 178




   objected to its terms. On October 25, 2021, Special Master Greenspan

   provided a report indicating the number of individuals opting out of the

   settlement, which is very small in proportion to the number of

   registrants:

         A total of 195 opt-out forms were submitted timely (i.e.,
         received or postmarked on or before March 29, 2021). Of these
         timely opt-out forms, 30 were submitted by Individual
         Plaintiffs who are not counted as opt-outs under Article [XIX]
         of the ASA because they are not class members, and 14 of the
         forms do not meet the requirements of a valid opt-out under
         the ASA because the individual did not check the box
         confirming the desire to opt-out and/or did not sign the opt-
         out form.3 Of the remaining 151 individuals who submitted
         opt-out forms, 39 advised Class Counsel that they intended to
         participate in the settlement and completed the opt-out form
         by mistake. Of those 39 individuals, three advised that they
         were attempting to register for themselves and their spouse
         but mistakenly used the opt-out form and not the registration
         form. Some of these individuals also submitted a registration
         form and some completed the opt-out form believing it was in
         fact a registration form. After accounting for the
         circumstances above, there are 112 individuals or entities
         that timely completed the opt-out form as required and have
         indicated that they intended to opt-out of the settlement class.

   (ECF No. 1998, PageID.68632–69633 (footnotes omitted).) This weighs

   heavily in favor granting final approval of settlement, too.




                                        75
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69612 Filed 11/10/21 Page 76 of 178




              8. Public Interest

         Another factor the Court must consider in approving the settlement

   is whether granting final approval is in the public interest. See Int’l

   Union, 497 F.3d at 631. “[T]here is a strong public interest in encouraging

   settlement of complex litigation and class action suits because they are

   ‘notoriously difficult and unpredictable’ and settlement conserves judicial

   resources.” In re Cardizem CD Antitrust Litig., 218 F.R.D. 508, 530 (E.D.

   Mich. 2003).

         Here, the public interest undoubtedly weighs in favor of granting

   final approval. To illustrate, the Carthan Plaintiffs filed this case in 2016

   and have been waiting for relief for over five years. And, as Class Counsel

   notes, “achieving certainty of settlement is . . . in the public interest,”

   given that the State Defendants and the City Defendants are public

   entities. (ECF No. 1794, PageID.64303.) Accordingly, this factor weighs

   in favor of granting the settlement final approval.

              9. Incentive Awards

         Along with the International Union factors, the Sixth Circuit

   factors requires the Court to carefully review incentive awards for the

   named plaintiffs. See Vassalle v. Midland Funding LLC, 708 F.3d. 747,


                                        76
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69613 Filed 11/10/21 Page 77 of 178




   755 (6th Cir. 2013). The Sixth Circuit indicates that this analysis involves

   looking at “whether the settlement gives preferential treatment to the

   named plaintiffs while only perfunctory relief to unnamed class

   members.” In re Dry Max Pampers Litig., 724 F.3d 713, 718 (6th Cir.

   2013) (quoting Vassalle, 708 F.3d at 755.) “Such inequities in treatment

   make a settlement unfair.” Id.

         In this case, there are no incentive awards that give preferential

   treatment to the class representatives. The ASA allows Class Counsel to

   seek an incentive award for each class representative, but they have not

   done so. As a result, the “class representatives are receiving the same

   amount [of money] as similarly situated members of the Flint

   community.” (ECF No. 1794, PageID.64298.) This factor, therefore,

   weighs in favor of granting final approval.

         For the reasons stated, and because “the federal policy favor[s]

   settlement of class actions,” Int’l Union, 497 F.3d at 632, all of the Rule

   23(e)(2) and Sixth Circuit factors weigh in favor of granting final

   approval.




                                        77
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69614 Filed 11/10/21 Page 78 of 178




                   C. Notice to the Class and Due Process

         To grant final approval, the Court must find that the Notice to the

   Class satisfies due process. Due process in this context “requires that

   notice to the class be ‘reasonably calculated, under all circumstances, to

   apprise interested parties of the pendency of the action and afford them

   an opportunity to present their objections.’” Vassalle, 708 F.3d at 759

   (quoting Int’l Union, 497 F.3d at 629).

         At the preliminary approval stage, the Court found that the

   Plaintiffs’ Notice plan satisfied due process. The Court discussed this

   finding in the Preliminary Approval Order as follows:

         The Court has carefully examined Plaintiffs’ prospective plan
         for [c]lass Notice, as well as the declaration of Cameron Azari,
         Director of Legal Notice for Hilsoft Notifications, which is the
         firm that assisted in designing this particular notice plan.25
         (ECF No. 1319-11, “Exhibit K.”) The Court finds that the
         Settlement Agreement’s plan for Class Notice is the best
         notice practicable under the circumstances and satisfies the
         requirements of due process and Rule 23(e)(1) of the Federal
         Rules of Civil Procedure. That plan is approved and adopted.
         The Court further finds that the Class Notice (attached to
         Plaintiffs’ motion as Exhibit K), and the Claim Form included


         25  Hilsoft Notifications specializes in “designing, developing, analyzing and
   implementing large-scale legal notification plans. (ECF No. 1794, PageID.64337.)
   Hilsoft is a business unit of Epiq Class Action and Claims Solutions, Inc. (ECF No.
   1794-3, PageID.64337.)
                                           78
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69615 Filed 11/10/21 Page 79 of 178




         as part of the Class Notice, comply with Rules 23(e)(1) and
         23(c)(2)(B) of the Federal Rules of Civil Procedure.

   Preliminary Approval Order, 499 F. Supp. 3d at 426.

         The Notice plan took effect on February 26, 2021. (See ECF No.

   1399, PageID.54467.) Plaintiffs indicate that following that date, (1) a

   “Long Form Notice packet [was] mailed to each Settlement Class member

   for which Interim Co-Lead Class Counsel . . . determine[d] a likely

   mailing address—a list of over 57,000 addresses—[and] over 90% of [the

   mailings] resulted in successful delivery;” (2) notices were emailed “to

   addresses that could be determined for Settlement Class members;” and

   (3) the “Notice Administrator implemented a comprehensive media

   notice campaign.” (ECF No. 1794, PageID.64307–64308.) The media

   campaign coupled with the mailing was intended to reach the relevant

   audience in several ways and at several times so that the class members

   would be fully informed about the settlement and the registration and

   objection process.

         The media campaign included publication in the local newspaper

   (The Flint Journal); local digital banners on Facebook, Instagram, and

   the Google Display Network; digital banners on these platforms for

   broader geographic areas to account for Settlement Class members who
                                        79
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69616 Filed 11/10/21 Page 80 of 178




   no longer in Michigan; television spots aired on six local stations and

   radio spots aired on ten local stations every day for two weeks in March

   2021; banner notices and radio ads placed on Pandora and SoundCloud;

   and video ads placed on YouTube. (Id. at PageID.64308.) Additionally, as

   Plaintiffs point out, this settlement has received widespread media

   attention from major news outlets nationwide. (Id. at PageID.64309.)

         Plaintiffs submitted an affidavit signed by Azari that details the

   implementation of the Notice plan. (ECF No. 1794-3, PageID.64337–

   64352.) The affidavit is bolstered by several documents attached to it,

   such as the declaration of Epiq Class Action and Claims Solutions, Inc.’s

   legal Notice Manager, Stephanie J. Fiereck. (Id.) Plaintiffs additionally

   provided the Court with copies and screen shots of the Notices

   themselves. (Id. at PageID.64353–64360.) Azari declared that Epiq

   “delivered individual notice to approximately 91.5% of the identified

   Settlement Class” and that the media notice brought the overall notice

   effort to “in excess of 95%.” (Id. at PageID.64351.) The Court finds that

   the notice plan was implemented in an appropriate manner.

         As set forth above, the Court previously approved the content of the

   Notice because it “fairly apprise[d] the prospective members of the class


                                        80
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69617 Filed 11/10/21 Page 81 of 178




   of the terms of the proposed settlement so that class members [could]

   come to their own conclusions about whether the settlement serves their

   interests.” Vassalle, 708 F.3d 759; see also Preliminary Approval Order,

   499 F. Supp. 3d at 426. Nothing has changed with the content of the

   Notice since the Preliminary Approval Order was entered to alter that

   decision. In conclusion, the Court finds that the Notice Plan as

   implemented, and its content, satisfies due process.

                 D. Certification of the Settlement Class

         Class Plaintiffs seek certification of the Settlement Class, which is

   defined in Section 1.72 of the ASA as follows:

         [A]ll persons or entities who are or could be claiming personal
         injury, property damage, business economic loss, unjust
         enrichment, breach of contract, or seeking any other type of
         damage or relief because at any time during the Exposure
         Period [of April 25, 2014 [through] November 16, 2020] they:
         (1) were an Adult who owned or lived in a residence that
         received water from the Flint Water Treatment Plant or were
         legally liable for the payment of such water; (2) owned or
         operated a business including income earning real property
         and any other businesses that received water from the Flint
         Water Treatment Plant or were legally liable for the payment
         for such water; or (3) were an Adult during the Exposure
         Period and who ingested or came into contact with water
         received from the Flint Water Treatment Plant. [fn 12]



                                        81
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69618 Filed 11/10/21 Page 82 of 178




              [fn 12] Excluded from the Settlement Class are: (1)
              Defendants; (2) the judicial officers to whom this case is
              assigned in federal court, Genesee County Circuit Court,
              and the Michigan Court of Claims, as well as these officers’
              staff and immediate family members; (3) all Individual
              Plaintiffs; and (4) all persons who timely and validly elect
              to opt out of the Settlement Class.
   (ECF No. 1394-2, PageID.54135.) For the Court to certify a class for

   settlement purposes, the parties must show that the requirements of

   Federal Rule of Civil Procedure 23(a) and that one of the requirements of

   Rule 23(b). See Fed. R. Civ. P. 23(a)-(b); see also Amchem Prods. v.

   Windsor, 521 U.S. 591, 614 (1997) (“In addition to satisfying Rule 23(a)’s

   prerequisites, parties seeking class certification must show that the

   action is maintainable under Rule 23(b)(1), (2), or (3).”).

         In the Preliminary Approval Order, the Court preliminarily

   approved certification of the Settlement Class because it found that the

   prerequisites of Rule 23(a), as well as the requirements of Rule 23(b)(3)

   were met. The relevant portion of the Order states:

         For the reasons set forth below, the Court finds that Plaintiffs
         have preliminarily met the Rule 23(a) numerosity,
         commonality, typicality, and adequacy requirements.
         a.     Numerosity
         To satisfy the numerosity requirement, Plaintiffs must
         demonstrate that the settlement class is “so numerous that
                                         82
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69619 Filed 11/10/21 Page 83 of 178




         joinder of all members is impracticable.” Fed. R. Civ. P.
         23(a)(1). There are “no strict numerical test[s] for determining
         impracticability of joinder.” In re Am[.] Medical Sys., Inc., 75
         F.3d 1069, 1079 (6th Cir. 1996). Rather, numerosity “requires
         examination of the specific facts of each case and imposes no
         absolute limitations . . . . When class size reaches substantial
         proportions, however, the impracticability requirement is
         usually satisfied by the numbers alone.” Id. (quoting Gen[.]
         Tel. Co. v. EEOC, 446 U.S. 318, 330 (1980)).
         Here, the proposed class comprises a substantial portion of
         the population of Flint, Michigan. See Garner Prop. & Mgmt.,
         LLC, 333 F.R.D. at 622 (“[A] class of 40 or more members is
         sufficient to satisfy the numerosity requirement.”); Davidson
         v. Henkel, 302 F.R.D. 427, 436 (E.D. Mich. 2014) (numerosity
         is satisfied with a putative class of at least “between 21 and
         40” members). Plaintiffs point to the 2010 census finding that
         the population of Flint, Michigan at that time exceeded
         100,000 people, and the Court infers the Flint population from
         2014 through 2020 would be reasonably close to this number.
         (ECF No. 1318, PageID.40300 (citing QuickFacts, United
         States       Census        Bureau      (Apr.      1,     2010),
         http://www.census.gov/quickfacts/fact/table/flintcitymichigan
         /PST040219.).) Additionally, Plaintiffs point to an expert
         report prepared by regional planner Dr. Robert A. Simons
         concluding that approximately 700 business enterprises in
         Flint may have been detrimentally impacted by the Flint
         Water Crisis. (ECF No. 1208-95, PageID.36139–36140.) The
         evidence does not suggest that the several hundred to several
         thousand individual lawsuits meaningfully detracts from
         either of these numbers.
         Accordingly, between the 100,000+ individuals who could
         comprise the personal exposure and property damage

                                        83
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69620 Filed 11/10/21 Page 84 of 178




         subclasses, and the 700+ business[es] which could comprise
         the business economic loss subclass, Plaintiffs have met the
         numerosity requirement. Fed. R. Civ. P. 23(a)(1).
         b.   Commonality
         To satisfy the commonality requirement, Plaintiffs must
         demonstrate that there are “questions of law or fact common
         to the class.” Fed. R. Civ. P. 23(a)(2). Though the rule “speaks
         of ‘questions’ in the plural, [the Sixth Circuit has] said that
         there need only be one question common to the class.” See
         Sprague v. Gen. Motors Corp., 133 F.3d 388, 397 (6th Cir.
         1998) (emphasis added). However, this one question must
         represent “a common issue the resolution of which will
         advance the litigation.” Id.
         Plaintiffs have asserted that there are at least four common
         questions that satisfy the commonality requirement:
              1)   Whether the State and City Defendants had
              the opportunity to reflect and deliberate before
              they acted or failed to act;
              2)   Whether the conduct of the State and City
              Defendants directly and proximately caused the
              Flint water system to be contaminated with
              corrosive water, lead, and dangerous bacteria,
              and/or increased the risk of harm to the Class
              and/or Subclasses;
              3)    Whether the implementation or execution of
              a policy statement, ordinance, regulation, or
              decision officially adopted and promulgated by the
              City of Flint violated Plaintiffs’ fundamental
              liberty interest in bodily integrity; and



                                        84
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69621 Filed 11/10/21 Page 85 of 178




               4)   Whether the actions of the Rowe and
               McLaren Defendants—who are not named in the
               Class Complaint but who are participating in the
               global settlement—violated Plaintiffs’ rights.
         (ECF No. 1318, PageID.40302.) After years of litigation, the
         Court is intimately familiar with the factual and legal issues
         in this case. For purposes of preliminary approval and
         conditional certification, the Court need go no further than
         the first issue raised: whether the State and City Defendants
         had the opportunity to reflect and deliberate before they acted
         or failed to act. The premise of this litigation as it pertains to
         the governmental defendants is that action or inaction of
         certain State and City officials resulted in (1) the decision to
         switch the source of Flint’s water; and (2) a failure to address
         the consequent contamination of the water, which in turn lead
         to exposure and damage. The factual underpinnings that
         must be resolved in order to determine liability and damages
         to the governmental defendants are common to the class.
         There would not and could not be different factual findings in
         separate cases.
         Thus, the first question constitutes “a common issue the
         resolution of which will advance the litigation.” See Sprague,
         133 F.3d at 397. Accordingly, Plaintiffs have met the
         commonality requirement. Fed. R. Civ. P. 23(a)(2).
         c.    Typicality
         To satisfy the typicality requirement, Plaintiffs must
         demonstrate that “the claims or defenses of the representative
         parties are typical of the claims or defenses of the class.” Fed.
         R. Civ. P. 23(a)(3). A claim is “typical” if “it arises from the
         same event or practice or course of conduct that gives rise to
         the claims of other class members, and if his or her claims are
         based on the same legal theory.” Beattie v. CenturyTel, Inc.,
                                        85
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69622 Filed 11/10/21 Page 86 of 178




         511 F.3d 554, 561 (6th Cir. 2007); see also Sprague, 133 F.3d
         at 399 (“The premise of the typicality requirement is simply
         stated: as goes the claim of the named plaintiff, so go the
         claims of the class.”).
         In this case, the representatives of each class—the Adult
         Exposure Subclass, the Property Damage Subclass, and the
         Business Economic Loss Subclass—satisfy the typicality
         requirement, because the representatives’ claims (1) “arise[]
         from the same event or practice or course of conduct that gives
         rise to the claims of other class members”; and (2) are “based
         on the same legal theor[ies]” as other class members’ claims.”
         See Powers v. Hamilton Cnty. Pub. Def. Comm’n, 501 F.3d
         592, 618 (6th Cir. 2007).
         Specifically, the Adult Exposure Subclass Representatives—
         Rhonda Kelso, Barbara and Darrell Davis, Tiantha Williams,
         and Michael Snyder—are individuals or representatives of
         individuals who allege that they resided in Flint, Michigan;
         ingested or came into contact with Flint tap water during the
         relevant time period; and suffered medical, financial, and/or
         emotional damages as a result of [the] Settling Defendants’
         actions. (See ECF No. 1318, PageID.40304–40305.) These
         claims align with absent Adult Exposure Subclass members
         who “ingested or came into contact with water received from
         the Flint Water Treatment Plant at any time during the
         Exposure Period and who are claiming or could claim a
         resulting personal injury.” (ECF No. 1319-1, PageID.40335–
         40336 (as amended, ECF No. 1394-2, PageID.54127–54128).)
         The Property Damages Subclass Representatives—Elnora
         Carthan and David Munoz—are individuals who allege that
         they owned homes in Flint during the relevant time period,
         who received water from the Flint Treatment Water Plant,
         and who suffered diminished property and appliance values
                                        86
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69623 Filed 11/10/21 Page 87 of 178




         as a result of [the] Settling Defendants’ actions. (See ECF No.
         1318, PageID.40305–40306.) These claims align with absent
         Property Damages Subclass members who “owned or were the
         lessee of a residential real property that received water from
         the Flint Water Treatment Plant, or were legally liable for the
         payment for such water, at any time during the Exposure
         Period.” (ECF No. 1319-1, PageID.40341 (as amended, ECF
         No. 1394-2, PageID.54133).)
         Finally,   the     Business     Economic      Loss    Subclass
         Representatives—635 South Saginaw LLC (a/k/a “Cork on
         Saginaw”), Frances Gilcreast, and Neil Helmkay—are all
         individuals or entities who allege that they owned at least one
         commercial property in Flint during the relevant period, and
         who suffered diminished profits due to commercial reticence
         to patronize Flint businesses as a result of Settling
         Defendants’ actions. (ECF No. 1318, PageID.40306.) These
         claims align with absent Business Economic Loss Subclass
         members who “owned or operated a business, including
         income earning real property and any other businesses, that
         received water from the Flint Water Treatment Plant at any
         time during the Exposure Period and who are claiming or
         could claim a resulting business economic loss.” (ECF No.
         1319-1, PageID.40336 (as amended, ECF No. 1394-2,
         PageID.54128).)
         Because the named Plaintiffs’ claims arise from the same
         course of [the] Settl[ing] Defendants’ conduct as those of
         putative class members, the Court finds that Plaintiffs have
         met the typicality requirement for purposes of preliminary
         settlement certification. [fn 13]
              [fn 13] Plaintiffs also argue that the named minor
              plaintiffs, whose representatives participated in
              settlement negotiations, typify the claims of
                                        87
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69624 Filed 11/10/21 Page 88 of 178




              minors in this lawsuit. (ECF No. 1318,
              PageID.40306–40307.) However, because the
              portion of the settlement relating to minors is not
              a class settlement, the Court need not address
              these claims here.
         Fed. R. Civ. P. 23(a)(3).
         d.   Adequacy of Representation
         To satisfy the adequacy requirement, Plaintiffs must
         demonstrate that the class representatives “will fairly and
         adequately protect the interests of the class.” Fed. R. Civ. P.
         23(a)(4). “There are two criteria for determining whether the
         representation of the class will be adequate: 1) the
         representative must have common interests with unnamed
         members of the class, and 2) it must appear that the
         representatives will vigorously prosecute the interests of the
         class through qualified counsel.” Senter v. Gen. Motors Corp.,
         532 F.2d 511, 524–25 (6th Cir. 1976). “Thus, the linchpin of
         the adequacy requirement is the alignment of interests and
         incentives between the representative plaintiffs and the rest
         of the class.” Garner Prop. & Mgmt, LLC, 333 F.R.D. at 624
         (quoting In re Dry Max Pampers Litig., 724 F.3d 713, 721 (6th
         Cir. 2013)).
         The first adequacy requirement is easily met here: the named
         Plaintiffs in this case all seek to “hold [the] [Settling]
         Defendants liable for [damages arising out of] the same
         misconduct.” (ECF No. 1318, PageID.40308.) The named
         Plaintiffs’ interests are identical to those of the unnamed
         members of the class, and the “common interests”
         requirement is accordingly met. See Senter, 532 F.2d at 524–
         25.



                                        88
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69625 Filed 11/10/21 Page 89 of 178




         As to the second adequacy requirement, the Court concludes
         that the named Plaintiffs will, through qualified counsel,
         “vigorously prosecute the interests of the class.” Id. The Court
         has become very familiar with the parties, class
         representatives, and Co-Lead Class Counsel and Subclass
         Settlement Counsel in this case through the previous four
         years of litigation described above. Additionally, when the
         Court appointed the Subclass Settlement Counsel in August
         2019, the Court found that counsel had “the qualifications and
         experience to adequately and fairly represent clients in this
         case” and that they were “active litigators [] in mass tort and
         other class actions [who] have all declared that they will
         devote the time and resources necessary to represent clients
         and work on apportionment issues in settlement discussions.”
         (ECF No. 929, PageID.24354.) The Court concludes that Co-
         Lead Class Counsel, as well as Subclass Settlement
         Counsel—who have provided declarations supporting the
         allocation and attesting to its fairness—have lived up to their
         appointments in vigorously representing Plaintiffs through
         the litigation and settlement processes. The Court is confident
         that they will continue to vigorously prosecute the interests of
         the class.
         Accordingly, Plaintiffs have met the adequacy requirement
         for purposes of preliminary settlement certification. Fed. R.
         Civ. P. 23(a)(4).
         3.   Plaintiffs Have Preliminarily Satisfied the Rule
         23(b) Prerequisites
         For the reasons below, the Court finds that Plaintiffs have
         preliminarily met the Rule 23(b) predominance, superiority,
         and ascertainability requirements. Fed. R. Civ. P. 23(b).
         a.   Predominance

                                        89
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69626 Filed 11/10/21 Page 90 of 178




         To satisfy the predominance requirement, Plaintiffs must
         demonstrate that “questions of law or fact common to class
         members predominate over any questions affecting only
         individual members.” Fed. R. Civ. P. 23(b)(3). “To meet the
         predominance requirement, a plaintiff must establish that
         issues subject to generalized proof and applicable to the class
         as a whole predominate over those issues that are subject to
         only individualized proof.” Randleman v. Fidelity Nat’l Title
         Ins. Co., 646 F.3d 347, 352–53 (6th Cir. 2011).
         At this stage, the analysis of the predominance requirement
         must account for the fact that this class is proposed for
         settlement purposes only and that the alleged wrongdoing
         arises out of a common set of facts. Courts have found that
         settlements “obviate[] the difficulties inherent in proving the
         elements of varied claims at trial,” and consequently, “courts
         are more inclined to find the predominance test met in the
         settlement context.” Good v. W. Va. Am[.] Water Co., No. 14-
         1374, 2017 WL 2884535, at *12 (S.D.W.V. Jul[y] 6, 2017)
         (quoting Sullivan v. DB Invs., Inc., 667 F.3d 273, 304 & n.29
         (3d Cir. 2011)).
         In certain “mass tort accidents,” plaintiffs may meet the
         predominance requirement even if “questions peculiar to each
         individual member of the class remain after the common
         questions of the defendant’s liability have been resolved . . .
         [such a finding] does not dictate the conclusion that a class
         action is impermissible.” Sterling v. Velsicol Chem[.] Corp.,
         855 F.2d 1188, 1197 (6th Cir. 1988). This is because “[n]o
         matter how individualized the issue of damages may be . . .
         the factual and legal issues of a defendant’s liability do not
         differ dramatically from one plaintiff to the next,” id., and
         “[individualized] issues may be reserved for individual
         treatment with the question of liability tried as a class action.”

                                        90
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69627 Filed 11/10/21 Page 91 of 178




         In re Whirlpool Corp., 722 F.3d at 854 (internal quotations
         omitted) (citing id.) (“When adjudication of questions of
         liability common to the class will achieve economies of time
         and expense, the predominance standard is generally
         satisfied even if damages are not provable in the aggregate.”);
         see also Good, 2017 WL 2884535, at *12 (collecting cases in
         which courts found “predominance in the mass tort arena
         when a single common event or common cause gave rise to the
         claims of each class member”).
         This is one such mass tort accident. The common liability
         questions noted above satisfy the predominance requirement
         for settlement purposes. See In re [NFL], 821 F.3d 410, 434
         (3d Cir. 2016) (finding that [a] mass tort action “presented
         predominate factual questions regarding the NFL’s
         knowledge and conduct as well as common scientific questions
         regarding causation”); see also In re Whirlpool, 722 F.3d at
         854; Amchem Products, Inc. v. Windsor, 521 U.S. 591, 625
         (1997) (“[M]ass tort cases arising from a common cause or
         disaster may, depending on the circumstances, satisfy the
         predominance requirement.”).
         Accordingly, Plaintiffs have met the predominance
         requirement for purposes of preliminary settlement
         certification. Fed. R. Civ. P. 23(b).
         b.   Superiority
         To satisfy the superiority requirement, Plaintiffs must
         demonstrate that “a class action is superior to other available
         methods for fairly and efficiently adjudicating the
         controversy.” Fed. R. Civ. P. 23(b)(3). Relevant factors in this
         inquiry include: (1) the interests of the class members in
         individually controlling separate actions; (2) the extent and
         nature of the litigation already begun by members of the class;

                                        91
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69628 Filed 11/10/21 Page 92 of 178




         and (3) the desirability of concentrating the litigation in a
         particular forum. [fn 14]
              [fn 14] Plaintiffs also argue that the named minor
              plaintiffs, whose representatives participated in
              settlement negotiations, typify the claims of
              minors in this lawsuit. (ECF No. 1318,
              PageID.40306–40307.) However, because the
              portion of the settlement relating to minors is not
              a class settlement, the Court need not address
              these claims here.
         For purposes of settlement, the Court finds that the three
         relevant 23(b)(3) factors weigh in favor of the superiority of
         class certification. First, the class members’ interest in
         individually controlling the litigation weighs in favor of
         conditional class certification, because individuals seeking
         individualized relief either already chose to file their own
         complaints or hire individual counsel to address their
         claims—as evidenced by the Individual Cases—or may
         eventually seek exclusion from the settlement class. Nor, after
         four years of very expensive class discovery, would
         individualized litigation be economically preferable for those
         plaintiffs who have not already elected to file suit as
         individuals. See In re Whirlpool, 722 F.3d at 861 (“Use of the
         class method is warranted particularly [when] the cost of
         litigation would dwarf any potential recovery.”).
         Second, the extent and nature of class members’ litigation in
         this case weighs in favor of certification. Class representatives
         and class counsel have been litigating this case for nearly five
         years in a suit that has involved “extensive motion practice,
         numerous appeals, and petitions for certiorari filed with the
         United States Supreme Court. The docket on this
         consolidated case shows over 1,100 filings and is rising daily.
                                        92
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69629 Filed 11/10/21 Page 93 of 178




         [fn 15] This case has been zealously litigated already, by a
         team of national and local firms on all sides.” (ECF No. 1207,
         PageID.34519–34520.) Such an extensive history supports
         the superiority of class certification for the defined adult class
         for the purpose of this settlement.
               [fn 15] With the entry of this Opinion and Order,
               that number has reached 1399 filings. (No. 16-
               10444.)
         Finally, all federal litigation concerning the Flint Water
         Cases has been centralized in the Eastern District of
         Michigan, rendering this forum ideal for resolving the
         dispute.
         Accordingly, Plaintiffs have met the superiority requirement
         for purposes of preliminary settlement certification. Fed. R.
         Civ. P. 23(b).
         c.    Ascertainability
         In addition to the predominance and superiority
         requirements, “Rule 23(b)(3) classes must also meet an
         implied ascertainability requirement.” Sandusky Wellness
         Ctr., LLC v. ASD Specialty Healthcare, Inc., 863 F.3d 460, 466
         (6th Cir. 2017). Under this requirement, Plaintiffs must show
         “that the members of the class [are] capable of specific
         enumeration.” Cole v. City of Memphis, 839 F.3d 530, 542 (6th
         Cir. 2016) (emphasis in original) (internal citations omitted).
         Such a showing is required for (b)(3) class certification
         because, “unlike (b)(1) and (b)(2) classes, (b)(3) class members
         are entitled to notice and are able to opt-out of the class.” Cole,
         839 F.3d. at 541. The ascertainability requirement is satisfied
         with “a class description [that is] sufficiently definite so that
         it is administratively feasible for the court to determine
         whether a particular individual is a member.” Id.

                                         93
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69630 Filed 11/10/21 Page 94 of 178




         Though Plaintiffs did not discuss the implied ascertainability
         requirement, the Court nevertheless concludes that the
         proposed class is sufficiently ascertainable to justify
         certification. Plaintiffs have argued in other motions that
         “[m]embership in the Class and Subclasses is ascertainable
         through property or rental records, or through certification by
         Flint residents or guardians that they and/or their children
         lived in Flint and were exposed to the water during the Class
         Period.” (ECF No. 1207, PageID.34471.) The class definitions
         in this case are geographically circumscribed to one city in one
         state and are based on objective criteria, such as where an
         individual resided at a particular time or whether they owned
         or rented property.
         Accordingly, Plaintiffs have met the ascertainability
         requirement for purposes of preliminary settlement
         certification. Sandusky Wellness Ctr., LLC, 863 F.3d at 466.

   Preliminary Approval Order, 499 F. Supp. 3d at 420–26. The analysis in

   the Preliminary Approval Order applied the same Rule 23(a) and (b)

   standards that govern the analysis at the final approval stage

   Accordingly, the Court finds that Plaintiffs have met the requirements of

   Rule 23(a) and (b) for certifying a class for settlement purposes. The

   Settlement Class is certified.




                                        94
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69631 Filed 11/10/21 Page 95 of 178




                   E. Appointment of Co-Lead Class Counsel and the
                      Executive Committee as Class Counsel for
                      Settlement Purposes

         Under Federal Rule of Civil Procedure 23(g)(1), when the Court

   certifies a class, including for settlement, it “must appoint class counsel.”

   Fed. R. Civ. P. 23(g)(1). Co-Lead Class Counsel requested appointment of

   themselves and the Executive Committee as Settlement Class Counsel in

   their motion for final approval. (ECF No. 1794, PageID.64259.)

         Over the last four years, the Court has had the opportunity to

   evaluate and re-evaluate Co-Lead Class Counsel’s qualifications and

   performance and has found both satisfactory. (See, e.g., ECF Nos. 173,

   696, 1021.) The Court reviewed Co-Lead Class Counsel’s qualifications in

   the Preliminary Approval Order. Preliminary Approval Order, 499 F.

   Supp. 3d at 423. Based on that analysis, the Court appoints Interim Co-

   Lead Class Counsel and the Executive Committee as Settlement Counsel

   under Rule 23(g).26




         26 The Court recently issued an Opinion and Order in this case certifying two
   classes for litigation purposes. In that Order, the Court formally appointed Co-Lead
   Class Counsel and the Executive Committee as Class Counsel under Rule 23(g). The
   Court’s analysis in that Order of the same Counsel’s performance is relevant to the
   decision made here. See In re Flint Water Cases, No. 16-10444, 2021 WL 3887687
                                           95
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69632 Filed 11/10/21 Page 96 of 178




                   F. Report and Recommendation on Late Registrants

         On November 9, 2021, the Special Master filed a Report and

   Recommendation (“R&R”) Regarding Late Registrants. (ECF No. 2006.)

   In it, she reported that 1,219 individuals submitted registrations after

   the March 29, 2021 deadline and she recommended that the Court permit

   “any registrant who registered on or before September 28, 2021 to

   participate in the settlement and that any such registration be

   considered timely.” (Id. at PageID.68734.) The Special Master provided

   the R&R to the Settling Parties, and none objected to her

   recommendation. The Court has carefully reviewed the R&R and concurs

   in its reasoning and result. The R&R is adopted. Accordingly, any

   registration received on or before September 28, 2021 is considered

   timely.

  IV.    OBJECTIONS

         As set forth above, the Court has received objections to the

   Settlement. Cuker filed twelve Chapman/Lowery objections on behalf of

   eighteen Chapman/Lowery Objectors. Additionally, there are 106



   (E.D. Mich. Aug. 31, 2021), appeal docketed, No. 21-103 (6th Cir. Sept. 7, 2021). (ECF
   No. 1957.)

                                            96
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69633 Filed 11/10/21 Page 97 of 178




   objections submitted by Unrepresented Objectors.27 The Court will

   address these based on their subject matter, which include the following

   topics:

       Objections regarding the Compensation Grid, specifically related
        to:
              o bone lead level testing;
              o blood lead level testing;
              o cognitive impairment testing;
              o miscarriage fetal tissue testing;
              o proof of galvanized steel service lines;
              o the Compensation Grid’s failure to include additional
                categories, such as a category addressing payment of water
                bills, costs of bottled water, medical costs, and loss of trust;
              o the overall allocation of funds for children versus adults and
                others;
              o the “cap” of $1,000 for property owners’ and renters’ recovery;


         27  All but two of the Unrepresented Objectors’ objections were filed using a form
   that allowed the objector to check boxes next to pre-written objections. An
   Unrepresented Objector explained at the July 13, 2021 hearing that this form was
   created by a member of the Flint community. (See ECF No. 1905, PageID.66782.) The
   two Unrepresented Objectors who did not use the form are Dr. Reynolds (ECF No.
   1436) and Diane Fletcher (ECF No. 1684). One Unrepresented Objector, Regina
   Nelms, did not sign her objections, which means that they failed to follow the required
   format set forth in the ASA. (See ECF No. 1707, PageID.61655 (unsigned form); see
   also ECF No. 1394-2, PageID.54184–54185 (ASA sections setting forth requirements
   for a valid objection).) However, since Nelms used the form objection described in this
   footnote, her objections have been lodged by other objectors so her objections will be
   considered and decided.
                                             97
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69634 Filed 11/10/21 Page 98 of 178




       Objections regarding the ASA’s Registration and Objections
        Requirements, specifically that:
              o the registration deadline was too short;
              o individuals should not have to submit personally identifiable
                information (“PII”) to participate in the settlement;
              o at the time of registering, participants have no way of
                knowing their final Monetary Award;
              o counsel who signed the ASA were, under the ASA’s terms,
                prohibited from representing objectors;
              o some objectors were unable to use Zoom
       Objections related to the COVID-19 pandemic;
       Objections to the Notice of settlement’s content;
       Objections related to Class Representatives’ payments; and
       Objections to Plaintiffs’ attorney fee request (which will be
        addressed in a separate opinion and order).

         A. Objections Based On Compensation Grid

                    1. Objections Related to Bone Lead Level Testing

         The most common objection to the ASA relates to the inclusion of

   bone lead level testing28 in the Compensation Grid. Both the

   Chapman/Lowery Objectors and Unrepresented Objectors set forth



         28  This is sometimes referred to on the record as “bone scanning” or “in vivo
   measurement of heavy metal exposure” or “XRF scanning.” For consistency and
   clarity, the Court will refer to all such testing as “bone lead level testing” unless the
   Court is quoting from another source using a different name.

                                              98
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69635 Filed 11/10/21 Page 99 of 178




   several arguments seeking to have the entire settlement rejected as

   unfair, unreasonable, and inadequate because of the use of bone lead

   level testing as a method for documenting lead exposure and determining

   what categories in the Compensation Grid an individual qualifies for.

           As noted, the Compensation Grid includes thirty Settlement

   Categories, each of which provides for a different level of compensation

   depending on the amount of proof a Claimant submits. (ECF No. 1319-2,

   PageID.40789–40831.) Those Claimants with proofs that qualify them for

   a particular Settlement Category are treated identically to other

   Claimants in that same Category, creating horizontal equity among

   qualifying participants. Claimants with specific types of proofs can obtain

   a larger Monetary Award compared to those with little or no proof. As

   discussed above in Section I(B), similar compensation matrices in class

   action settlements have been approved by other courts nationwide, and

   this Court has carefully analyzed and approved of this structure in this

   case.

           Co-Liaison Counsel Hunter Shkolnik and Paul Napoli, of the Napoli

   Shkolnik PLLC law firm, established a bone lead level testing program

   for their clients “under the leadership of Harvard University’s Aaron


                                        99
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69636 Filed 11/10/21 Page 100 of 178




   Specht [Ph.D.] and overseen by New York University’s Medical Director

   Dr. Michael Weitzman.” (the “Napoli Program”). (ECF No. 1789,

   PageID.64052.) The Napoli Program was established at Napoli

   Shkolnik’s offices in Flint, Michigan. There, bone lead level testing is

   conducted using a piece of equipment known as a hand-held XRF device.

         Most of the objections related to the safety and legality of bone lead

   level testing through the hand-held XRF device were first brought by Dr.

   Reynolds on February 26, 2021, through his then-counsel Valdemar

   Washington, who represents the Anderson Plaintiffs, who are a group of

   individual plaintiffs who did not object to the settlement. (ECF No. 1436.)

   Just days after Dr. Reynolds filed his objection, on March 1, 2021, Co-

   Lead Counsel filed a motion for the Immediate Suspension of the Use of

   Portable XRF Bone Scanning Tests (ECF No. 1443; ECF No. 1446

   (corrected motion)), which they later withdrew. (ECF No. 1499.) This

   motion and Co-Lead Counsel’s decision to withdraw it have been the

   subject of many motions and hearings, and the issues have been

   abundantly addressed and will not be addressed further here, other than

   to note that there are no issues presented in the now-withdrawn motion

   that have not been raised by other objectors to the ASA.


                                        100
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69637 Filed 11/10/21 Page 101 of 178




                           a. Objections to the Use of the Thermo Fisher
                              Manufactured Hand-Held XRF Device on
                              Humans

   The Sources of the Safety-Related Objections

         Dr. Reynolds and other objectors to bone lead level testing at the

   Napoli Program contend that the hand-held XRF device is “an

   unapproved industrial device” and “is not designed to be used on human

   beings– at all.” (ECF No. 1436, PageID.55026.) Dr. Reynolds notes that

   the manufacturer of the hand-held XRF device, Thermo Fisher

   (sometimes referred to as Thermo Scientific), indicates in its purchase

   materials that the device, as taken out of the box, should be pointed at a

   sample but “never at a person or a body part.” (Id. at PageID.55027.) Dr.

   Reynolds argues that Dr. Specht’s use of the Thermo Fisher hand-held

   XRF device on humans is therefore improper. But, as discussed below,

   Dr. Specht has modified the device so that it can be used safely on

   humans.

         Following Dr. Reynolds’ objection, many other objectors made

   similar objections, arguing that the hand-held XRF device used in the

   Napoli Program is unsafe. Some, but not all, of the fifty-four

   Unrepresented Objectors who objected to bone lead level testing because

                                        101
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69638 Filed 11/10/21 Page 102 of 178




   they had not had an opportunity to obtain one (an objection which is

   addressed separately below) checked a box indicating that they objected

   to the Settlement because: “the bone lead test has not been approved by

   the FDA [Food and Drug Administration] for use in humans.” (See, e.g.,

   ECF No. 1689, PageID.61583.) There has been no showing by the

   objectors that FDA approval is required for the test, and this is an

   otherwise undeveloped argument by Unrepresented Objectors. Indeed,

   the only evidence in the record on this issue is the affidavit of Michael

   Drues, Ph.D. (ECF No. 1795-3.) Dr. Drues has worked as a regulatory

   consultant in the medical device industry for over twenty-five years and

   is an internationally recognized expert on medical technologies and

   regulatory affairs. (Id. at PageID.64508.) Dr. Drues avers that “the XRF

   system does not need FDA clearance or approval when used to detect

   environmental lead exposure.” (Id. at PageID.64509.) No evidence has

   been submitted to support the contrary. Accordingly, arguments related

   to the FDA are rejected. In considering Unrepresented Objectors’

   objections, the Court will set aside references to the FDA and will

   construe the objections as challenging the safety of the hand-held XRF

   device.


                                        102
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69639 Filed 11/10/21 Page 103 of 178




         Additional arguments related to the safety and propriety of the

   hand-held XRF device were lodged by the Chapman/Lowery Objectors in

   their June 10, 2021 reply in support of the motion to extend the deadline

   for bone lead level testing (ECF No. 1820), which the Court denied on

   other grounds (ECF No. 1845). On June 24, 2021, The Chapman/Lowery

   Objectors filed a brief that included arguments related to bone lead level

   testing and safety. (ECF No. 1839.) The same day, Anderson Plaintiffs

   filed a brief in opposition to Co-Liaison Counsel’s brief that reiterated

   many of the points made by Dr. Reynolds in his objection.29 (ECF No.

   1840.) Co-Liaison Counsel responded to the arguments related to the

   safety of bone lead level testing on several occasions. (See ECF Nos. 1455,

   1789, 1795, 1895, 1897, 1923.) As noted above, the Court heard argument

   from Dr. Reynolds, counsel for the Chapman/Lowery Objectors, counsel



         29 Attorney Washington entitled this filing as the Anderson Plaintiffs’
   opposition to the motion for final approval. However, none of the Anderson Plaintiffs
   objected to the settlement. The only client Washington represented who filed
   objections to the ASA was Dr. Reynolds, whom he no longer represents.
          The Anderson Plaintiffs arguably do not have standing to oppose the motion
   for final approval because they are non-objectors. Accordingly, the Court is not
   obligated to address the arguments made in the Anderson Plaintiffs’ filing at all.
   However, given the seriousness of the allegations, the Court is addressing them in
   this Opinion and Order.


                                           103
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69640 Filed 11/10/21 Page 104 of 178




   for the Anderson Plaintiffs, and Co-Liaison Plaintiffs at the hearing held

   on both July 12, and July 15, 2021. Dr. Reynolds filed additional safety-

   related objections on July 20 and 21, 2021. (ECF Nos. 1901, 1909, 1910.)

         After careful consideration of the objections, responses, and the

   evidence in the record related to bone lead level testing safety, the Court

   denies these objections for the reasons below.

   Objectors’ Position

         In his objection, Dr. Reynolds references a Thermo Scientific

   publication that is part of the purchase materials for a hand-held XRF

   device. The publication is entitled XRF Technology in the Field: XRF

   Technology for Non-Scientists that states that the hand-held XRF device,

   as sold out of the box, emits radiation “similar to the exposure received

   in a normal medical or dental X-ray.” (ECF No. 1436-6, at PageID.55242)

   It also states, “care must be taken to always point a handheld XRF

   analyzer directly at the sample and never at a person or a body part.” (Id.

   emphasis added).)

         However, the Napoli Program used the hand-held XRF device in a

   manner that is not at odds with the language that appears above. The

   device operated by the Napoli Program is not used as sold out of the box;


                                        104
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69641 Filed 11/10/21 Page 105 of 178




   rather, the device is modified for safety purposes, as described in greater

   detail below.

         Months after the March 29, 2021 deadline for filing objections had

   elapsed, on June 24, 2021, the Anderson Plaintiffs submitted a letter to

   the Court from Thermo Scientific addressed to Barbara Krohmer of

   Napoli Shkolnik. (ECF No. 1840-2, PageID.65635.) The letter, dated May

   12, 2021, states as follows:

         Dear Ms. Krohmer:
         I write concerning a Niton™ XL3t 950 GOLDD+XRF analyzer
         (the “XL3t”), which the law firm of Napoli Shkolnik &
         Associates, PLLC (“Napoli”) has rented from Thermo
         Scientific Portable Analytical Instruments Inc. (“Thermo
         Fisher”). We have recently learned that Napoli, working in
         conjunction with Dr. Aaron Specht, may have been using its
         XL3t in a manner inconsistent with the use for which Thermo
         Fisher markets the XL3t. Specifically, based on the limited
         information available to us concerning the ongoing Flint
         Michigan lead litigation (in which we understand Napoli to be
         acting as plaintiffs’ counsel,) we believe that Napoli and/or Dr.
         Specht may have used the XL3t on human subjects, and in an
         effort to analyze said subjects’ levels of lead exposure.
         As such, we write to advise you that Thermo Fisher has never
         marketed the XL3t for any in vivo diagnostic use (including,
         without limitation, any such use to measure bone lead levels
         in living persons,) nor have we sought or obtained FDA
         approval for such use. While we are aware of a limited number
         of occasions on which we have supported academic research

                                        105
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69642 Filed 11/10/21 Page 106 of 178




         into the use of Thermo Fisher handheld XRF devices to
         measure bone lead, such research was, to our knowledge,
         approved by a university IRB [Institutional Review Board] in
         each instance. Your use of the XL3t does not appear to arise
         in the context of academic research, and we are not aware of
         any IRB approval for your activities.
         As you are aware, in your rental agreement with Thermo
         Fisher, Napoli agreed to be “solely responsible for the safe and
         prudent operation of” the XL3t. The safety instructions
         contained in the XL3t User’s Guide explicitly instruct all
         users to “[n]ever point your analyzer at yourself or anyone else
         when the shutter is open.” All users are expected to abide by
         these safety instructions, except under specific circumstances
         (not present here) that create adequate assurances regarding
         safety. We further advise you that Thermo Fisher has not
         validated the safety of the XL3t when used in a manner
         inconsistent with its safety instructions.
         We must respectfully request that you only use the XL3t
         instrument in a manner consistent with its product
         documentation. Should you have any questions regarding the
         proper and intended uses of the XL3t, please do not hesitate
         to reach out, and we will be happy to discuss them further.
         Very truly yours,
         Chloe Hansen-Toone
         Vice President and General Manager
   (ECF No. 1840-2, PageID.65635.)

         The Anderson Plaintiffs argue that this letter demonstrates that

   the hand-held XRF device is unsafe, yet they have taken the letter’s

   contents out of context and ignored facts related to the safety of the device

                                        106
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69643 Filed 11/10/21 Page 107 of 178




   as modified. For example, Dr. Reynolds’ former counsel argues on behalf

   of the Anderson Plaintiffs that this letter “validated” Dr. Reynolds’

   concerns. (ECF No. 1840, PageID.65619.) The Chapman/Lowery

   Objectors argue that this letter “warns against using the devices on living

   humans under the circumstances presented here and [the manufacturer]

   refuses to sell or lease the machines to anyone it suspects would use it on

   living humans when not done subject to approval by a university

   Institutional Review Board (‘IRB’).” (ECF No. 1901, PageID.66497.) In

   another related but tangential filing, the Chapman/Lowery Objectors

   argued that the letter: “admonished Napoli Shkolnik, stating that [the

   device] was not ‘safe and prudent’ for use on humans and that ‘adequate

   assurances regarding safety’ were ‘not present here’ because the

   scanning is not supervised by an IRB of an academic institution.” (ECF

   No. 1820, PageID.64807.) These interpretations of the letter are all

   inaccurate. The letter is nothing more, or less, than what is stated above.

   The Court views the main purpose of this letter as an attempt by Thermo

   Fisher to shield itself from litigation that may arise, ironically, because

   of the safety-related accusations made by the objectors in this litigation.




                                        107
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69644 Filed 11/10/21 Page 108 of 178




   The letter does not “validate” Dr. Reynolds, “admonish” the Napoli

   Program, or do anything of the sort.

         Thermo Fisher’s letter makes clear that it has never marketed the

   hand-held XRF device at issue for any in vivo diagnostic use such as bone

   lead level testing. “Market” is the key word. Indeed, Thermo Fisher is

   very aware of and has supported research using its hand-held device,

   when modified for use on humans, for many years. Thermo Fisher has

   worked with Dr. Specht in the past, is aware of his modifications to the

   hand-held XRF device for bone lead level testing in humans, including

   children, and has endorsed this work.

         At the hearing on July 12, 2021, Co-Liaison Counsel presented the

   Court with sales orders between Thermo Scientific and Purdue

   University, demonstrating Thermo Fisher’s awareness and involvement

   in providing hand-held XRF devices to Dr. Specht for human research

   purposes, that date back to 2012. (See, e.g., ECF No. 1897-2,

   PageID.66388.) Counsel also presented to the Court with 2019 emails

   from Bob Gillette, a representative of Thermo Scientific, that expressly

   discuss the fact that Thermo Scientific hand-held XRF devices have been

   customized and sold to both Purdue University and Harvard University


                                        108
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69645 Filed 11/10/21 Page 109 of 178




   for   “measurements     of   Pb   [lead]   in   bone.”   (ECF   No.   1897-2,

   PageID.66389.) Gillette specifically states which model of the hand-held

   XRF devices, when customized, would be able to “safely make these

   measurements.” (Id.) At no point do these communications show Thermo

   Fisher raising a red flag regarding the propriety of using the hand-held

   XRF device on humans. Instead, these communications show that

   Thermo Fisher knew that the devices would be modified for safety by Dr.

   Specht and others before they would ever be used on humans. And surely,

   Thermo Fisher must have been aware that these scientists published

   their research and specifically state that the research was conducted

   using hand-held XRF devices on humans to measure metal levels in

   bones. (See, e.g., id. at PageID.66411–66422.)

          The May 12, 2021 Thermo Fisher letter to Napoli Shkolnik

   discusses an IRB (Institutional Review Board). As background, an IRB is

   “a committee of scientists/doctors and non-scientists whose charge is to

   oversee the safety and protection of human subjects in research studies.

   Governmental regulations and institutional policies exist to protect the

   rights and welfare, including privacy/confidentially rights, of all human

   research subjects.” Institutional Review Board, Boston University


                                        109
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69646 Filed 11/10/21 Page 110 of 178




   Wheelock        College      of     Education        and       Development,

   https://www.bu.edu/wheelock/information-for-research/research-

   handbook/pre-award-processes/institutional-review-board/

   [https://perma.cc/54RP-8SYS]. Several studies involving the use of hand-

   held XRF devices to measure heavy metal exposure on humans conducted

   by Boston University were IRB-approved in 2017, 2018, and 2019. (See

   ECF No. 1923-2, PageID.67258–67272.) IRB approval would not have

   been given if the clinical research were not “conducted according to

   corresponding federal regulations, state law, and IRB policies.” BU

   Research Support, Institutional Review Board (IRB) Charles River IRB

   Office. https://www.bu.edu/researchsupport/profile/institutional-review-

   board-irb/ [https://perma.cc/KP2J-K24E]. Additionally, IRB approval has

   been given to studies conducted at Purdue University and Harvard

   University that used hand-held XRF devices to measure lead in human

   bones. (See, e.g., ECF No. 1897-2, PageID.66423–66434.)

         To be clear, the Napoli Program is not a research project like the

   studies done at Purdue, Harvard, and Boston University (and objections

   arguing that research is being conducted will be addressed below). The

   Napoli Program was established for settlement and litigation purposes


                                        110
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69647 Filed 11/10/21 Page 111 of 178




   only. An IRB is not required for the Napoli Program to conduct bone lead

   level testing as part of the settlement in this litigation.30 Co-Liaison

   Counsel have submitted enough evidence to support their position that

   the Napoli Program conducts tests in the same manner and to the same

   standards that the IRB-approved studies were conducted. Also, there is

   no evidence in the record, whatsoever, that the Napoli Program was

   operated in a manner that counters any of the IRB-approved bone lead

   level testing programs using a hand-held XRF device at Purdue

   University, Harvard University or Boston University. (See, e.g., ECF No.

   1455, PageID.57128.) Nor is there any evidence in the record that

   Thermo Fisher only sold devices upon proof of an IRB in the past; that is,

   until it learned of the objectors’ position in this litigation and perhaps

   became concerned about being brought into a lawsuit related to the use

   of the device in this case.




         30 The Chapman/Lowery Objectors argue in their opposition to the motion for
   final approval that the process should be IRB approved. (ECF No. 1839,
   PageID.65413.) But beyond making this general assertion, they provide no support
   for their argument and it is rejected because the device was not used as part of a
   research study. Rather, it was used to quantify lead exposure for purposes of
   qualifying for Monetary Relief in the settlement.
                                         111
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69648 Filed 11/10/21 Page 112 of 178




   Radiation Levels Emitted by the Modified Hand-Held XRF Device

          Dr. Reynolds asserts that the modified hand-held XRF device

   exposes individuals to excessive radiation and is therefore unsafe. He

   argues that any level of radiation is a danger to human safety,

   particularly when not conducted for the purpose of a medical diagnosis

   or treatment. (See ECF No. 1904, PageID.66751–66752.) Dr. Reynolds

   indicated at the hearing on July 12, 2021 that the only circumstance in

   which he would find a bone lead level test to be acceptable is if the

   individual is “an adult who has had an occupational exposure to a toxic

   level and . . . ha[s] clinical symptoms.” (Id. at PageID.66751.) However,

   even in this circumstance, Dr. Reynolds would not approve of the test

   being conducted with a hand-held XRF device.31 (Id. at PageID.66752.)

         As a preliminary matter, no one is required to get a bone lead level

   test – it is entirely voluntary. As further noted below, there is not a single

   recovery Settlement Category in the Compensation Grid that relies



         31 Dr. Reynolds’ objection differentiates between the hand-held XRF device
   used by the Napoli Program and what he characterizes as “a medical grade XRF
   testing device” used at Mt. Sinai Hospital in New York City. (ECF No. 1436,
   PageID.55030 n.16 (emphasis in original).) This is not a distinction that is defined by
   Dr. Reynolds. Regardless, Dr. Specht has modified the hand-held XRF device for safe
   use on humans, and use of the device for this purpose has been IRB-approved many
   times.
                                            112
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69649 Filed 11/10/21 Page 113 of 178




   exclusively on bone lead level testing to qualify for a Monetary Award in

   that Category. For those who do undertake a bone lead level test,

   however, the evidence in the record indicates that the level of radiation

   exposure is not an unreasonable or unsafe dose for humans.

         Co-Liaison Counsel for Individual Plaintiffs submitted the affidavit

   of William G. Bithoney, M.D., FAAP. (ECF No. 1789-2.) Dr. Bithoney’s

   background is in researching lead poisoning and its effects on children’s

   health. (Id. at PageID.64042.) He has served as Chief Medical Officer

   (“CMO”) for several health systems such as Mercy Hospital in

   Philadelphia, Pennsylvania and Conshohocken, Pennsylvania, and

   Sisters of Providence Health Systems of Massachusetts and Connecticut.

   (Id.) Although he is not a radiology specialist, he states that he is familiar

   with the portable hand-held XRF device and that in his work as the CMO

   of various health systems, he was “in charge, along with colleagues in

   radiology, of the safety of patients exposed to radiation in [the] radiology

   and radiation oncology divisions.” (Id.) Further, Dr. Bithoney indicates

   that he has “studied the implementation of the [Napoli Program] and

   [has] read the research pertaining to this method of[] XRF scanning for

   bone testing for lead in children.” (Id.)


                                        113
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69650 Filed 11/10/21 Page 114 of 178




         Dr. Bithoney reviewed the objections to bone lead level testing due

   to safety concerns. He states that:

         [c]ompared to exposure from x-ray machines, CT scans, and
         MRI scans, the exposure to radiation from the XRF device is
         negligible and poses negligible risk to humans. To be exact,
         exposure to radiation from an XRF scan for bone testing of
         lead is measured at a dose of ~3.4 micro sieverts. In
         comparison, exposure to radiation from a standard chest x-ray
         is 100 micro sievert[s].

   (Id. at PageID.64064.) In his opinion, “there is negligible risk of long-term

   or short-term effects from exposure to the [~3.4 micro sieverts] of

   radiation, which is negligible, in either adults or children.” (Id.)

         Dr. Bithoney explains that there are naturally occurring

   radioactive materials present around us, every day:

         Due to these varying sources of radiation all humans are
         exposed to approximately 2400 micro-sievert[]s (2.4 miliSvs)
         of radiation per annum. We receive approximately 6.5 micro-
         sievert[]s per day of radiation from ambient conditions (living
         and breathing). As noted, children of Flint undergoing XRF
         evaluation for lead level determination are exposed to
         approximately 3.4 microsievert[]s of additional radiation from
         the XRF scan for bone lead. Thus, the additional radiation
         exposure caused by the XRF bone lead test used to evaluate
         lead levels in these children is the equivalent of children
         simply living and breathing for 12 hours. The radiation dose
         these children receive is less than what they would receive
         simply by taking a typical airplane ride, which exposes us to

                                         114
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69651 Filed 11/10/21 Page 115 of 178




         approximately 0.003 millisieverts per hour, or about 3.0
         micro-sievert[]s per hour, approximately the same amount of
         exposure to radiation a child receives during the XRF bone
         lead test. The potential damage of this radiation dosage is in
         my opinion negligible[.]

   (Id. at PageID.64064–60465.) Dr. Bithoney also testifies that “the XRF

   test poses negligible risk to a fetus” of a pregnant woman, if she were to

   have the test performed during pregnancy. (Id. at PageID.60466.) He

   indicates that the radiation exposure is “much less than that of exposure

   from CT scans, ultrasounds, or MRIs, which is said to be safe for pregnant

   women to undergo by the ACOG [American College of Obstetrics and

   Gynecology].” (Id.) No evidence has been submitted by any objector that

   challenges Dr. Bithoney’s testimony.

         Co-Liaison Counsel also submitted the affidavit of Walter Cofer,

   who is a radiation technology and safety specialist. (ECF No. 1789-3.)

   Cofer declares that he “disagrees with the [objectors’] assertions” that

   bone lead level testing occurring in the Napoli Program is “dangerous and

   a risk to the community,” and he believes these claims are “false.” (Id. at

   PageID.64097.) Cofer is a certified radiation specialist who has trained

   and worked in the field for over thirty years. (Id. at PageID.64098.)

   Specifically, he has worked as a consultant in developing radiation safety

                                        115
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69652 Filed 11/10/21 Page 116 of 178




   programs, as well as auditing and revising existing programs, including

   programs that use hand-held XRF devices. Cofer states that the:

         radiation safety program implemented in Flint conforms to
         the applicable requirements of the Michigan radiation control
         regulations. The x-ray safety program is comprehensive and
         applies best safety practices. The program’s custom training
         addresses all required topics in an appropriate manner. The
         testing component of the training provides a legitimate means
         of demonstrating the operators’ understanding of the
         radiation hazard, the safety measures in place, and their
         competence to use the equipment properly.
   (Id. at PageID.64100.) Cofer concludes that:

         a. Dr. Specht’s use of XRF technology for lead-in-bone testing
         has been approved for use by the Michigan radiation control
         program;32

         b. As the program’s radiation safety officer, Dr. Specht has
         established appropriate work practices to ensure compliance
         pertaining to radiation dose limits and other regulatory
         requirements;

         c. The XRF testing in Flint to measure lead content in bones
         exposes the test-recipient to a negligible dose of radiation. The
         radiation exposure is so minimal that the risk involved is too
         low to be quantifiable; and




         32 As the Court understands it, the Michigan Radiation Safety Office (“RSO”)
   does not use the term “approve.” However, no evidence has been presented that would
   indicate that the RSO found that there are safety issues with the device as it has been
   used.
                                            116
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69653 Filed 11/10/21 Page 117 of 178




         d. Based on my review of the XRF-based lead testing program
         in Flint, I am confident that the radiation safety program
         established by Dr. Specht provides a safe and compliant
         means of measuring long-term lead exposure, and I have no
         reservations regarding continued use of the test methodology.

   (Id. at PageID.64101.) The objectors submitted no evidence to challenge

   Cofer’s declaration.33

         On March 5, 2021, Co-Liaison Counsel submitted a letter to the

   Court addressing public allegations in the media that the hand-held XRF

   device is unsafe. (ECF No. 1455.) The letter details the protocols used by

   the Napoli Program to ensure that the test is conducted safely. (See id.

   PageID.57129.)

         In sum, the objections related to the safety of bone lead level testing

   at the Napoli Program are rejected. To the extent the objections challenge

   the safety of bone lead level testing at one of the other available sites for

   obtaining such a test, the objections are rejected as well.




         33  To clarify, the Court is not suggesting that the objectors or anyone else
   should have filed something along the lines of a reply brief to rebut the non-objectors’
   position. Rather, under Section 20.1 of the ASA, the objectors have the burden of
   persuasion in the first instance that the ASA should not be approved as fair,
   reasonable, and adequate. (See ECF No. 1394-2, PageID.54184.)
                                            117
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69654 Filed 11/10/21 Page 118 of 178




   Evidentiary Hearing Request

         In his objection, Dr. Reynolds seeks to have the Court “(1) appoint

   a neutral expert pursuant to Federal Rule of Evidence 706, and/or (2)

   hold an evidentiary hearing specifically on the efficacy and safety of the

   XRF device at issue in the [A]SA.” (ECF No. 1901, PageID.66497.) The

   Court denies this request because it is unnecessary. Dr. Reynolds did not

   seek this relief until July 20, 2021, which was after the three-day fairness

   hearing had taken place. But even if he had made a timely request, an

   evidentiary hearing is not needed. The objections related to the safety of

   bone lead level testing and the use of the hand-held XRF device are

   entirely unsupported. On the contrary, there is an abundance of evidence

   that the tests were being carried out safely.

         In the Sixth Circuit, district courts are not required to “conduct a

   full evidentiary hearing with live testimony and cross-examination

   before approving a settlement.” Int’l Union, 497 F.3d at 636. Rather, the

   Court can use its “traditionally broad discretion over the evidence” in

   determining fairness. Id. A request for an evidentiary hearing may be

   granted if the objectors “can make a colorable claim that the settlement

   should not be approved,” but that is not the case here. Id. at 635 (citing


                                        118
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69655 Filed 11/10/21 Page 119 of 178




   Geier v. Alexander, 801 F.2d 799, 809 (6th Cir. 1986) (“To allow the

   objectors to disrupt the settlement on the basis of nothing more than their

   unsupported suppositions would completely thwart the settlement

   process . . . [U]nless the objectors have made a clear and specific showing

   that vital material was ignored by the District Court[,] [t]here is no need

   for the District Court to hold an additional evidentiary hearing on the

   propriety of the settlement.”) (internal quotation marks omitted)).

   Accordingly, Dr. Reynolds’ request for an evidentiary hearing is denied.

                             b. Objections Regarding   The    Napoli
                                Program’s Regulatory Compliance and
                                Legality

         The Chapman/Lowery Objectors and Anderson Plaintiffs argue

   that aspects of the Napoli Program violate the law. For the reasons below,

   the allegations regarding the Napoli Program’s lack of regulatory

   compliance and legality are rejected.34 When viewing the evidence in the

   record, these allegations are unfounded and, unfortunately, have likely

   had far-reaching consequences for participants in the settlement who



         34  Moreover, these objections are not sufficiently detailed and were not filed
   before the March 29, 2021 deadline for filing objections. Therefore, the objections and
   arguments are waived and the Court need not consider them. Due to the seriousness
   of the allegations, however, the Court will address aspects of them.
                                            119
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69656 Filed 11/10/21 Page 120 of 178




   might have wished to obtain a bone lead level test, but were deterred by

   counsel’s unfounded claims that the Napoli Program was being conducted

   in violation of the law.

         Counsel for the Chapman/Lowery Objectors as well as counsel for

   the Anderson Plaintiffs asserted at the hearing on July 12 and 15, 2021

   that Napoli and/or the Napoli Program had committed a misdemeanor.

   The statements made by counsel for the Chapman/Lowery Objectors to

   the Court are as follows:

         MR. CUKER: [T]here’s a legality issue. I found out to my
         astonishment that the clients I sent to be bone scanned on
         February 22 I believe were scanned by a device that was
         illegal because it wasn’t registered in the State of Michigan.

         THE COURT: And tell me what authority do you have . . . that
         makes the process illegal? What do you mean – by illegal do
         you mean it’s a crime?

         MR. CUKER: Yeah, it’s a misdemeanor.

         THE COURT: Okay.

         MR. CUKER: It’s a misdemeanor to use an unregistered
         radiation emitting device in the State of Michigan. I believe
         we cited the statute in our paper.

   (ECF No. 1904, PageID.66708–66709.) The authority relied upon in the

   briefing, however, does not support the claim that the sponsors of the


                                        120
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69657 Filed 11/10/21 Page 121 of 178




   Napoli Program committed a crime. The statute Cuker cited states

   something else entirely.

         In their Brief in Opposition to Co-Liaison Counsel’s Brief In

   Support    of   Final   Approval    of   the   Proposed    Settlement,   the

   Chapman/Lowery Objectors cite to Mich. Comp. Laws § 333.2262 for the

   proposition that “[u]sing an unregistered radiation machine is a

   misdemeanor.” (ECF No. 1838, PageID.65937–65938 (sealed)). However,

   § 333.2262 says nothing of the sort. Section 333.2262 authorizes the

   promulgation of “rules to adopt a schedule of monetary civil penalties . .

   .” as they relate to the administration of the State of Michigan

   Department of Public Health. The Chapman/Lowery Objectors’ also cite

   to Mich. Comp. Laws § 333.5031. (ECF No. 1838, PageID.65397 (sealed).)

   This is a typographical error; §333.5031 does not exist.

         In their opposition to the motion for final approval, the Anderson

   Plaintiffs argue that the Napoli Program violated the Michigan

   Administrative Code Rule 333.5037, violated 21 U.S.C. §§321(h) and




                                        121
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69658 Filed 11/10/21 Page 122 of 178




   331,35 and is involved in a “MIOSHA36 Radiation Safety investigation.”

   (ECF        No.   1840,   PageID.65629–65630.)         This    last   claim    is    a

   mischaracterization,        at   best.     MIOSHA        never     conducted        an

   “investigation;” rather, it conducted an inspection to “ensure that the use

   of the XRF Scanner was done in accordance with MIOSHA’s rules and

   regulations.”37 Department of Labor and Economic Opportunity,

   Information               on             Flint           XRF              Scanners,

   https://www.michigan.gov/leo/0,5863,7-336-94422_11407_35791-

   567364--,00.html          [https://perma.cc/2UYC-26RV].           Following         the

   inspection, MIOHSA stated in a press release that media coverage of the

   MIOSHA inspection, “unfortunately may have left some readers with the

   misunderstanding that use of the XRF scanner exposed individuals to




          35 21 U.S.C. § 321(h) contains the definition of the term “device” under the
   federal Food, Drug, and Cosmetic Act. It is unclear how the definitions section of the
   statute is (or could be) violated by the Napoli Program. 21 U.S.C. § 331 is a multi-
   part statutory section containing dozens of acts that are prohibited under the same
   statute. The Anderson Plaintiffs’ arguments regarding this statute are cursory at best
   and contain no supporting authority. They are rejected.
          36 The Michigan Occupational Safety and Health Administration (“MIOSHA”)
   is a division of the Michigan Department of Labor and Economic Opportunity.
          37 Washington’s argument on July 15, 2021 indicates that MIOSHA’s
   inspection may have been initiated by a complaint from Dr. Reynolds. (See ECF No.
   1906, PageID.67091.)
                                            122
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69659 Filed 11/10/21 Page 123 of 178




   radiation at dangerous or unsafe levels, which is not accurate.”38 Id. It

   stated that “there was no indication from MIOSHA’s inspections that an

   individual operating these machines or having the machine used on them

   was exposed to radiation at dangerous or unsafe levels.” (Id.)

          As to the Anderson Plaintiffs’ argument that the Napoli Program

   is violating Michigan Administrative Code Rule 333.5037 and is

   therefore operating an unsafe or illegal program is similarly misguided.

   Rule 333.5037 focuses on registration of a device with the State of

   Michigan.     Registration—       the    Anderson      Plaintiffs’   arguments

   notwithstanding— is an administrative matter, and not a matter of

   safety. Registration of a device with the state is in no way related to

   whether it is safe or authorized for a particular use.

         On September 17, 2021, the Court ordered the Special Master “to

   obtain and file as part of the record for purposes of the Court’s review of

   the settlement the complete file of the MIOSHA inspection of the

   pertinent facility (i.e. a full copy of the records that are referenced in Dr.



         38 The Court is aware of counter-accusations in the media by some objectors’
   counsel that, somehow, the State Defendants have influenced MIOSHA’s conclusions
   in this regard. These accusations are not well taken. They are not founded in any
   facts, whatsoever. The Court assumes these baseless accusations were intended to
   create the spread of further misinformation and mistrust.
                                           123
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69660 Filed 11/10/21 Page 124 of 178




   Reynolds’ motion [to file a sur-reply in support of his original objection])

   as well as any statements made by the [MIOSHA] as soon as they are

   available.” (ECF No. 1963, PageID.68431–68432.) Due to delays beyond

   the control of the Special Master or this Court, the requested documents

   have only recently been made available to the Special Master. The Court

   may supplement this portion of the Opinion and Order after it receives

   and reviews the information obtained by the Special Master, if necessary.

                             c. Objections to XRF Bone Lead Level Testing
                                Because It Has No Medical Purpose

         Dr. Reynolds argues in his objection that bone lead level testing

   (and, in particular, use of the hand-held XRF device utilized by the Napoli

   Program), “presents the risks of exposure to radiation without the benefit

   of any information that would change the mitigation interventions for a

   lead poisoned adult or child.” (ECF No. 1436, PageID.55026–55027

   (emphasis added).)

         The inclusion of bone lead level testing in this case is for settlement

   purposes only and is not intended to provide a medical diagnosis.39 Nor


         39  The parties have explained to the Court that the main methods of measuring
   lead levels in humans are through blood lead level tests, which must be conducted
   close in time to exposure, and bone lead levels, which need not be conducted in such
   close proximity. The Compensation Grid reflects this difference in time-period, where
                                           124
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69661 Filed 11/10/21 Page 125 of 178




   is the bone lead level testing being performed for the purpose of

   “chang[ing] the mitigation interventions for a lead poisoned adult or

   child.” (Id.) Instead, it is one method of determining an individual’s

   potential recovery on the Compensation Grid, and nothing more. And, as

   stated above, no one is required to obtain a bone lead level test to qualify

   for recovery, and no one is disqualified for failing to obtain one. If an

   individual Claimant does not wish to obtain a bone lead level test for any

   reason, including because they believe it should also have a diagnostic

   benefit, then they need not obtain a bone lead level test. Accordingly, the

   objection that bone lead level testing should not be included in the ASA

   because it does not provide a medical benefit, and conversely, the position

   that a bone lead level test ought to provide a medical benefit for it to be

   included in the ASA, is rejected.

         Tort cases commonly require proof of damages to qualify for various

   levels of compensation. Take, for example, the compensation grid in In re

   N.F.L. There, the settling parties agreed to a monetary award fund that




   it provides that a blood lead level test must be conducted between May 16, 2014 and
   August 31, 2016, whereas a bone lead level test may occur between May 16, 2014 and
   “90 days after the date of the Preliminary Approval Order.” (ECF No. 1319-2,
   PageID.40790–40791.)
                                          125
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69662 Filed 11/10/21 Page 126 of 178




   provided cash awards for retired football players who had a “qualifying

   diagnosis.” 307 F.R.D. at 366. The qualifying diagnoses entitled a retired

   player to substantial maximum awards depending on their diagnosis as

   defined in the settlement agreement. Id. at 366–67. Each settlement

   category had its own set of requirements that the claimants had to satisfy

   to qualify for compensation. The district court found “[t]he different

   maximum awards that Class Members receive for different Qualifying

   Diagnoses reflect the severity of the injury and symptoms suffered by

   each Retired Player.” Id. at 378.

         Similarly, in In re Deepwater Horizon, a different district court

   approved a settlement that was structured to include “standards of proof,

   levels of compensation, and conditions to be included in the

   [compensation grid] Matrix.” 295 F.R.D. at 119. There, objectors objected

   to the various levels of recovery. The court rejected this objection because

   linking a class member’s level of proof to their award is “entirely

   appropriate” and is “tied to the reality of litigating; the greater the proof,

   the more likely a plaintiff will recover at trial.” Id. at 157–58.

         Accordingly, there is nothing novel or fundamentally unfair about

   the ASA Compensation Grid’s categorization of compensation for


                                        126
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69663 Filed 11/10/21 Page 127 of 178




   Claimants based on their level of lead exposure. This objection is

   overruled.

                           d. Objections Arguing that            the Napoli
                              Program Constitutes an             Undisclosed
                              Research Project

         Dr. Reynolds also objects to the inclusion of bone lead level testing

   in the ASA because, he argues, it is “at best, unauthorized research.”

   (ECF No. 1436, PageID.55026.) He argues that the attorneys in the case

   are “promoting” this “undisclosed research project” (id.), and he states: “I

   repeat in the strongest possible terms, my objection that the use of the

   portable XRF in any way to promote the settlement of this litigation, is

   an unauthorized/unsupervised research project, masquerading as an

   accepted medical procedure, as a condition for compensation to

   claimants.” (Id. at PageID.55029.) This objection has absolutely no basis

   in fact.

         Again, bone lead level testing is included in the ASA as one of many

   methods for determining an individual’s potential recovery on the

   Compensation Grid. Co-Liaison Counsel’s opposition to Dr. Reynolds’

   objection is supported by an affidavit signed by Jon Merz, who is an

   Associate Professor in the Department of Medical Ethics and Health

                                        127
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69664 Filed 11/10/21 Page 128 of 178




   Policy at the University of Pennsylvania’s Perelman School of Medicine.

   (ECF No. 1789-9.) Merz is also “a lawyer and social scientist with broad

   research interests in the ethics and conduct of science, including

   especially human subjects research and informed consent.” (Id. at

   PageID.64185.) Merz, after reviewing documents relevant to the Napoli

   Program and reviewing Dr. Reynolds’ objection, concludes: “It is clear

   from the Test Protocol that the bone lead level assessment is not being

   used for any purpose other than determining . . . exposures for litigation

   settlement purposes.” (Id. at PageID.64186.) He states that the bone lead

   level testing protocol in this case “includes none of the attributes of

   research” and “in no way is designed to be research.” (Id. at

   PageID.64188.)

         Additionally, Dr. Specht, under whose leadership the Napoli

   Program was established, submitted an affidavit as to the research

   project arguments, which states:

         I understand there is an assertion being made that the
         current bone lead testing program that had already
         commenced should be considered a “research project.” I
         disagree. The work in Flint does not currently meet the
         criteria for a research project. There is no generalizable
         knowledge being sought out and the measurements are
         currently only being used as a method in determining level of

                                        128
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69665 Filed 11/10/21 Page 129 of 178




         lead exposure for litigation purposes and in accordance with
         an agreed settlement program. In order to be considered a
         research project, the project must have a definable research
         question. Currently, there is no question being answered by
         collecting measurements on the individuals for distribution of
         damages in this lawsuit.

   (ECF No. 1795-2, PageID.64494.)

         Dr. Reynolds submitted several supplemental filings, none of which

   contain any rebuttal evidence that the Napoli Program is conducting an

   undisclosed research project. (See ECF Nos. 1901, 1909, 1911, 1923,

   1959.) Dr. Reynolds also spoke at the fairness hearing on July 12, 2021

   but did not provide any evidence for his objection.40 (ECF No. 1940.) Dr.

   Reynolds’ assertion that the Napoli Program constitutes unauthorized

   and unsupervised research is not supported by any facts or evidence in

   the record. The record evidence indicates the opposite: that the program

   was not a research project. Accordingly, Dr. Reynolds’ objection is denied.

   And further, the arguments set forth by Dr. Reynolds regarding Research

   Testing and Clinical Laboratory Improvement Amendments of 1988,

   which stem from the supposition that the Napoli Program is conducting



         40 When Dr. Reynolds presented his objection to the Court at the hearing on
   July 12, 2021, he did so as an individual community member and not as a medical
   expert sworn to give expert testimony. (See ECF No. 1904, PageID.66743.)
                                         129
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69666 Filed 11/10/21 Page 130 of 178




   research, are also rejected. (ECF No. 1436, PageID.55029–55030.) As

   stated by Dr. Specht, “approval under the Clinical Laboratory

   Improvement Amendments of 1988 (CILA) is not necessary because the

   test is not used as a ‘diagnosis, prevention, or treatment of any disease.’

   The sole purpose of the test is to quantify lead exposure.” (ECF No. 1795-

   2, PageID.64494.)

                              e. Objections Claiming that Bone Lead Level
                                 Testing is the “Main Method” of Recovery
                                 Under the ASA

         The Chapman/Lowery Objectors argue that the Napoli Program

   did not make enough bone lead level testing appointments available to

   them, and therefore, the entire settlement is unfair.41 These objections

   rely on the false premise that bone lead level testing is the “main” or

   “only” method to obtain recovery under the ASA. However, there is not a

   single Settlement Category on the Compensation Grid that requires bone

   lead level testing as its only qualification. Nor is there a requirement




         41 The Chapman/Lowery Objectors are individually represented Claimants
   and are not class members. Their standing to object is unclear, as it is not afforded to
   them under Rule 23(e)(5), which provides the procedure for class members to object
   to a class settlement proposal. The ASA, in Section 20.1, acknowledges non-class
   objections and therefore, they are addressed.
                                            130
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69667 Filed 11/10/21 Page 131 of 178




   anywhere in the ASA that individuals must obtain a bone lead level test

   to qualify for recovery.

         For example, Settlement Category 1 of the Compensation Grid,

   which contains the highest Monetary Award in the ASA, states the

   following requirements for qualification: (1) that the individual’s age

   must have been six or younger at the time of their first exposure; (2) that

   the individual must have been exposed for at least twenty-one days

   during any thirty-day period between April 25, 2015 and July 31, 2016;

   (3) that the individual must have resided, dwelled, or attended school or

   day care in Flint, or have otherwise been exposed to Flint Water; and (4)

   that the individual obtained a blood lead level test during a certain time

   frame or a bone lead level test during a broader time frame, that

   demonstrates a certain level of lead. (See, e.g., ECF No. 1319-2 at

   PageID.40790–40791.) Thus, an individual may qualify for Settlement

   Category 1 without having a bone lead level test, and conversely, an

   individual who undertook a bone lead level test might not qualify for

   Settlement Category 1 if they do not meet its other requirements listed

   in that Category.




                                        131
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69668 Filed 11/10/21 Page 132 of 178




         Moreover, fully half of the categories on the Compensation Grid do

   not include bone lead level testing as a qualification at all. (See, e.g.,

   Categories    5–7,   12–14,    19–21,   24,   26–30,   ECF     No.   1319-2,

   PageID.40789–40831.) These categories on the Grid provides other

   qualifications for a Monetary Award, including results of blood lead level

   tests, cognitive tests, certain medical records, results of residential water

   lead level tests, copies of a lease or property ownership demonstrating

   residence, and more. (Id.) The Compensation Grid’s inclusion of multiple

   options– including bone lead level testing– to qualify for various levels of

   recovery is a reasonable and responsible way of determining the

   appropriate relief for an individual.

         Even if an individual were to obtain a bone lead level test, there is

   no guarantee that their results would place them into a higher

   Settlement Category on the Compensation Grid. Just as there were

   disparities in the level of exposure to Flint Water during the relevant

   time, there will be disparities in bone lead level test results. Accordingly,

   obtaining a bone lead level test is not a guarantee of higher recovery. This

   objection is overruled.




                                        132
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69669 Filed 11/10/21 Page 133 of 178




                           f. Objections Asserting That Bone Lead Level
                              Testing At Mt. Sinai and Purdue University
                              Were Unavailable to Objectors

         The Chapman/Lowery Objectors object to the settlement on the

   basis that two of the three sites for obtaining a bone lead level test in the

   United States– Mt. Sinai Hospital in New York City and Purdue

   University in West Lafayette, Indiana– were inaccessible to them. (See

   ECF No. 1463, PageID.57608.) The Court rejects these objections for the

   reasons below.

         With regard to Mt. Sinai Hospital, the Chapman/Lowery Objectors

   argue that the settlement should be rejected because they find the

   prospect of travelling to New York City “daunting.” (Id.) The Court

   disagrees. The notion that Flint residents would be “daunted” by

   travelling out of state to obtain a test that could potentially affect their

   recovery level is rejected.

         The Court recognizes the possibility that out-of-state travel may

   impose some degree of hardship due to employment obligations, health

   issues, or any number of other valid reasons. However, the

   Chapman/Lowery Objectors do not make any such specific arguments.

   They only argue that travel is daunting, in general, for the people of Flint.

                                        133
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69670 Filed 11/10/21 Page 134 of 178




         The Chapman/Lowery Objectors also argue that the pandemic

   played a role in further limiting the availability of bone lead level testing

   where they state that travel to New York City, “would be daunting

   enough for Flint residents without a pandemic.” (Id.) This fails, too.

         The Chapman/Lowery Objectors have not provided any support for,

   nor have they fully developed, this objection. The Chapman/Lowery

   Objectors’ counsel, Cuker, was aware of the use of bone lead level testing

   in lead exposure cases long before the pandemic struck. He had a duty to

   develop his clients’ cases with diligence, regardless of what terms would

   ultimately be included in a potential settlement, even if doing so required

   some financial outlay or risk on his part. Having the test conducted too

   soon would not have been an issue; bone lead level testing conducted as

   early as May 16, 2014 qualifies for purposes of the ASA. (See ECF No.

   1319-2, PageID.40790–40791.) And indeed, COVID-19 was not declared

   to be a national emergency until March 13, 2020. See Proclamation on

   Declaring a National Emergency Concerning the Novel Coronavirus

   Disease     (COVID-19)      Outbreak,      issued    March      13,    2020.

   https://trumpwhitehouse.archives.gov/presidential-

   actions/proclamation-declaring-national-emergency-concerning-novel-


                                        134
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69671 Filed 11/10/21 Page 135 of 178




   coronavirus-disease-covid-19-outbreak/      [ https://perma.cc/59VX-4EG9].

   Accordingly, the Court rejects the argument that the COVID-19

   pandemic is a reason to deny final approval.

         With regard to Purdue University, the Chapman/Lowery Objectors

   argue that Dr. Linda Nie, who leads the Purdue bone lead level testing

   lab, is “not available” to perform tests on Flint residents. (ECF No. 1463,

   PageID.57608.) This argument is supported by an email exchange

   between Cuker and Dr. Nie. Cuker’s communication, dated November 20,

   2020, states:

         I am a lawyer representing about 1,300 residents of Flint. I
         know you have been approached by other attorneys for Flint
         residents about the fact that the lawsuit settlement being
         proposed provides for enhanced payments to Flint residents
         with bone lead test results. I would like to arrange for such
         testing for my clients. Is there any possibility we could make
         arrangements to do so with your lab, or anyone affiliated with
         your lab?
         If not, is there anyone you can recommend? Thanks for your
         time responding to this.

   (ECF No. 1341-2, PageID.41895–41896.) Dr. Nie responded on November

   23, 2020, stating:

         I am sorry to tell you that it cannot be done with my lab or
         anyone affiliated with my lab, because it is difficult to do it if
         it is not research related. As far as I know, there are only 3
                                        135
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69672 Filed 11/10/21 Page 136 of 178




         labs in the US which have the capability to make bone lead
         testing, one is my lab (with both a stationary KXRF system
         and a portable XRF), one is my colleague’s lab at Harvard (Dr.
         Aaron Specht, with a portable XRF), and one is at Mount
         Sinai (Dr. Andy Todd, with a stationary KXRF system).
         I am sorry that I cannot be more helpful.

   (Id. at PageID.41895.) The Chapman/Lowery Objectors argue that,

   based on this single email, bone lead level testing through Dr. Nie and

   Purdue University was foreclosed. The Court disagrees.

         The Chapman/Lowery Objectors’ counsel evidently failed to contact

   Dr. Nie earlier in the litigation. Perhaps if he had done so, there would

   have been a different outcome, or, at the very least, more time to explore

   other alternatives.42 Cuker emailed Dr. Nie on November 20, 2020.

   However, he first appeared in the Flint Water litigation on August 28,


         42 Granted, Dr. Nie does not specifically state that she could or would have
   accommodated Chapman/Lowery Objectors’ counsel’s request if it had been made
   earlier. But common sense dictates that a professor and researcher at a major
   university such as Purdue University could not reasonably be expected to perform
   approximately 1,300 bone lead tests when the request was made just days before the
   end     of    classes    in     the    fall   2020      academic      calendar.    See
   https://www.purdue.edu/registrar/documents/calendars/academicCalendars/academi
   cCal_20-21.pdf      [https://perma.cc/T25Y-4T82].       And,     presumably,       the
   Chapman/Lowery Objectors’ counsel wanted all 1,300 clients’ tests completed before
   the ASA’s deadline for doing so, which was April 27, 2021. Further, the email suggests
   that Dr. Nie would want University approval to use the University’s equipment and
   that process understandably would take some time. Another option that apparently
   was not explored was to bring another KXRF machine to Flint.

                                           136
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69673 Filed 11/10/21 Page 137 of 178




   2017 in the Carthan case. (ECF No. 195.) He appeared in the Flint Water

   Case Gulla v. Wells on the same day. (Case No. 5:17-cv-10709, ECF No.

   86, PageID.2422.) He filed a complaint on behalf of his individual clients

   in the case Chapman v. Snyder on February 27, 2018. (Case No. 5:18-cv-

   10679, ECF No. 1.) Therefore, Cuker was not new to the Flint Water

   Cases when he emailed Dr. Nie in late November 2020.

         Nor was Cuker new to bone lead level testing in lead exposure

   cases. He told the Court at a hearing on October 30, 2020: “I am not a

   stranger to XRF testing. I did a Daubert hearing on XRF testing years

   ago.” (ECF No. 1312, PageID.39915.) Court records from the Middle

   District of Pennsylvania in 1998 confirm that Cuker defended against a

   Daubert motion relating to bone lead level testing. See Dombrowski v.

   Gould Elec. Inc., No. 3:98-cv-93-0120 (M.D. Pa.). (See ECF No. 1897-2,

   PageID.66399.) Thus, Cuker has known about the use of bone lead level

   testing in lead exposure litigation since at least 1998. It is inexplicable

   that, armed with knowledge of bone lead level testing’s potential

   usefulness in lead exposure cases, he waited until the end of 2020 to

   contact Dr. Nie about setting up bone lead level testing appointments for

   his clients.


                                        137
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69674 Filed 11/10/21 Page 138 of 178




         Cuker stated to the Court on October 30, 2020, that he contacted

   Dr. Todd at Mt. Sinai Hospital in 2016. (ECF No. 1312, PageID.39915 (“I

   got in touch with Mt. Sinai in early 2016 to explore whether it’s feasible

   to use it in Flint.”).) But he never explained the outcome of that

   communication. When he argues that Dr. Nie was not available, it is

   curious why he did not explore these (or other) bone lead level testing

   options at the same time that he contacted Mt. Sinai Hospital. The

   Chapman/Lowery Objectors’ counsel’s failure to contact other experts

   and set up a bone lead level testing program for his clients does not

   render the settlement unfair, unjust, or unreasonable.

         Accordingly, the Court rejects the Chapman/Lowery Objectors’

   objections that bone lead level testing was not available at Mt. Sinai

   Hospital or Purdue University.

                           g. Objections Related to the Unavailability
                              for Non-Client Bone Lead Level Test
                              Appointments with the Napoli Program

         There is another option for obtaining a bone lead level test in the

   United States, which is through Dr. Specht’s bone lead level testing

   program, either at Harvard University or through the Napoli Program.

   The Chapman/Lowery Objectors argue that Dr. Specht made himself

                                        138
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69675 Filed 11/10/21 Page 139 of 178




   unavailable to them. They state that “Dr[.] Aaron Specht of Harvard has

   a portable XRF machine; he has been engaged by Liaison Counsel as an

   expert on their individual cases . . . . He has refused to respond to

   inquiries from other law firms. . . . .” (ECF No. 1463, PageID.57608.)

   These objectors ask the Court to reject the settlement because Co-Liaison

   Counsel, through the Napoli Program, “has a monopoly on bone lead

   testing in Flint” and made slots available to non-clients beginning on

   February 21, 2021 “only” on Sundays between 1:00 p.m. and 3:45 p.m.

   (Id. at PageID.57609; see also ECF No. 1897-1, PageID.66349.) Objectors

   argue that “[a]vailable slots quickly filled up, and many people who

   wanted scans could not get them.” (Id.) These objections are rejected. Dr.

   Specht’s methodology is set forth in his publications, which any other

   qualified expert could use. There is no monopoly here.

         Co-Liaison Counsel was not obligated under the ASA or otherwise

   to offer bone lead level testing to non-Napoli clients through the Napoli

   Program.43 Despite this, the Napoli Program did offer testing for non-




         43 Nor was Co-Liaison Counsel obligated to do so merely because of its
   appointment as Co-Liaison Counsel in this litigation. The Chapman/Lowery
   Objectors’ counsel incorrectly conflated the role of appointed co-liaison counsel in
   complex litigation with the notion that they are somehow obligated to disclose to all
                                           139
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69676 Filed 11/10/21 Page 140 of 178




   clients and many obtained tests. Between February 21, 2021 and April

   25, 2021, the Napoli Program offered three hundred eighty-four time

   slots to non-clients. (ECF No. 1895-2, PageID.66293.) Of the three

   hundred eighty-four, only three hundred six appointments were made.

   And of the three hundred six, one hundred ninety-seven scans were

   completed, fourteen individuals declined, and ninety-five individuals did

   not show up for their scheduled time slot. (Id. at PageID.66294.) In fact,


   other plaintiffs’ counsel how they choose to develop their own cases, where he stated
   at the July 12, 2021 hearing:

         I just want to say one thing about the obligation of liaison counsel. No,
         they don’t have to prepare my cases for me. They’re supposed to tell me
         what’s going on. They’re supposed to keep us advised of the material
         developments in the litigation for the very reason Your Honor said. You
         can’t have every lawyer at the seat of every table at every meeting. So
         they’re supposed to keep us informed. All right. And the fact of the
         matter is, they were working on bone lead testing and scanning
         thousands of their clients beginning August 2019. We did not [kn]ow the
         significance of bone lead testing in the settlement until November 2020.
         That’s all I have to say.

   (ECF No. 1904, PageID.66739–66740.) And again, on July 15, he argued:

         So what did [Co-Liaison Counsel] do to protect the interest of my clients?
         What did my lawyers do for me in this case? Well, they knew with
         certainty, with a hundred per certainty in February of 2020 that bone
         scans would be a big issue on distributing money. They were scanning
         thousands of their clients. Hundreds of their clients every week. And
         didn’t say a word about it to me.

   (ECF No. 1906, PageID.67072.) These arguments are rejected. Every counsel has an
   independent obligation to diligently develop their own clients’ cases, regardless of
   what others are doing.
                                           140
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69677 Filed 11/10/21 Page 141 of 178




   thirty-eight of Cuker’s clients obtained tests through the Napoli

   Program, two declined, and thirteen failed to show up for their time slots.

   Of all of the time slots that were reserved for counselled non-clients of

   Co-Liaison Counsel, Cuker’s clients had the highest number of

   appointments, at fifty-three.

         Non-clients of Co-Liaison Counsel who utilized the Napoli Program

   were represented by the following attorneys: Ben Crump (three

   scheduled tests), Cohen Milstein Sellers & Toll PLLC (twenty-eight

   scheduled tests), Cohen Milstein/Pitt McGee (seven scheduled tests), the

   Hamilton Lincoln Law Institute (five scheduled tests), Hertz Schram PC

   (two scheduled tests), Neal J. Wilensky PC (nine scheduled tests), Pitt,

   McGehee, Palmer, Bonanni & Rivers, P.C. (fifty-one scheduled tests),

   Trachelle C. Young & Associates (five scheduled tests), and Valdemar

   Washington (one scheduled test). (Id.) Forty-two unrepresented

   individuals scheduled tests with the Napoli Program. (Id.)

         Two of the attorneys whose clients obtained tests through the

   Napoli Program, Ben Crump and Ari Kresh, attested that they were

   provided access to bone lead level tests through the Napoli Program and




                                        141
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69678 Filed 11/10/21 Page 142 of 178




   that the tests were conducted in a professional manner. (ECF Nos. 1786-

   4, 1786-5.)

         Indeed, the Napoli Program offered bone lead level testing slots to

   non-clients that went unused. Scarcity was not a problem in light of these

   numbers. This abundance of unfilled appointments defeats the

   Unrepresented Objectors’ arguments that they were “not given an

   opportunity to have a bone lead scan test[.]” (See, e.g., ECF No. 1660,

   PageID.61439.) These objections are denied.

         More importantly, fifty-three of Cuker’s clients scheduled tests,

   which undermines the Chapman/Lowery Objectors’ arguments that

   testing through the Napoli Program was inaccessible. Further, as noted,

   there is nothing that prohibited others from seeking out other

   mechanisms      to   obtain    bone    lead   testing.   Accordingly,    the

   Chapman/Lowery Objectors’ objections that the Napoli Program was

   their only option for obtaining a bone lead level test, but that slots were

   limited and unavailable, is denied.




                                         142
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69679 Filed 11/10/21 Page 143 of 178




                           h. Objections    Related    to the  Napoli
                              Program’s Requirement that Participants
                              Sign a Liability Release

         The Chapman/Lowery Objectors who signed up to receive bone lead

   level testing at the Napoli Program argue that they should not have been

   required to sign a release of liability before the test was performed. (See,

   e.g., ECF No. 1463, PageID.57609.) Specifically, they argue that “[t]he

   disclosure which people were asked to sign was confusing and

   misleading.”    (Id.   at   PageID.57610.)     When      counsel   for   the

   Chapman/Lowery Objectors complained to Napoli himself about the

   release, Napoli cancelled some of Cuker’s clients’ appointments. (Id.)

         The Court will not deny final approval because non-clients of Napoli

   Shkolnik were asked to sign a release form before participating in the

   Napoli Program. A release is a standard practice and a reasonable

   condition to receiving a test on a site maintained by the Napoli Shkolnik

   or any other firm. No one was required to obtain a level lead test from

   the Napoli Program in the first place. The Napoli Program was not

   obligated to offer appointments to non-clients. Individuals who did not

   agree with the Napoli Program’s liability release form had the option to




                                        143
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69680 Filed 11/10/21 Page 144 of 178




   leave and refuse the test. The Napoli Program was not obligated to make

   tests available to individuals who refused to sign a release form.

         It appears from the e-mails the Chapman/Lowery Objectors

   attached to his clients’ objections that there were efforts made on both

   sides to modify the release to satisfy these objectors’ concerns, which

   ended in an impasse. (Id. at PageID.57616–57630.) This dispute between

   the Chapman/Lowery Objectors’ counsel and Napoli Shkolnik has little

   to do with whether final approval of the settlement should be granted or

   denied, and the Court will not reject the settlement on the basis that the

   Chapman/Lowery Objectors’ counsel and Napoli Shkolnik could not

   agree on the content of the Napoli Program’s release form, particularly

   when the Chapman/Lowery Objectors’ counsel was threatening

   litigation over both the safety and availability of bone lead level testing.

   As this drama was unfolding, the Court’s head was spinning. Moreover,

   thirty-eight of Cuker’s clients evidently signed the release and obtained

   the test, so this objection lacks merit and this objection is rejected.




                                        144
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69681 Filed 11/10/21 Page 145 of 178




                           i. Objections Related to the $500 Cost of a
                              Bone Lead Level Test with the Napoli
                              Program

         The Chapman/Lowery Objectors who signed up for bone lead level

   testing with the Napoli Program indicate that their appointments were

   cancelled and that they “have since been informed that Mr. Napoli

   personally ordered my appointment cancelled, because I am a client of

   Mark Cuker, and that Mr. Cuker would not agree to pay $500—no

   questions asked—for the cost of the test.” (Id. at PageID.57603.) These

   objectors argue that there is “no transparency” as to

         where the money to pay for [the tests] will go. Napoli told my
         lawyer he wanted $500. He told another lawyer he wanted
         $350. Either number seems excessive; [e]ach test takes only 3
         minutes to run; Dr. Specht charges $200 per hour and can
         review multiple tests in an hour. If Napoli is making a profit
         on what he is charging other lawyers for these tests, he is also
         violating Ethics Rule 1.8.

   (Id. at PageID.57610.) Their argument is that the settlement should be

   rejected because of the $500 cost of a bone lead level test.

         Five hundred dollars is not an unreasonable amount of money for

   individuals represented by counsel other than Co-Liaison Counsel to pay

   for obtaining a bone lead level test through the Napoli Program. Napoli

   Shkolnik undertook the start-up work, including paying the initial costs
                                        145
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69682 Filed 11/10/21 Page 146 of 178




   for the program and obtaining the necessary equipment. The firm

   employed staff including skilled nursing staff and an office manager. It

   rented office space in Flint, paid for cleaning services, and, significantly,

   it paid the fees and costs for Dr. Specht to obtain the bone lead level

   testing device(s) used at the facility, train individuals in how to conduct

   the tests, and interpret the test results. (See ECF No. 1789-9,

   PageID.64192, 64194, 64195.) Accordingly, as stated at the July 12, 2021

   hearing, from the Court’s perspective, $500 per test is not prohibitive and

   is not a reason to reject the settlement. (See ECF No. 1904,

   PageID.66603.) That some of the Chapman/Lowery Objectors refused to

   pay the $500 fee is also not a reason to reject the entire settlement. And,

   once again, thirty-eight of the Chapman/Lowery Objectors’ counsel’s

   clients evidently paid the $500 because they had tests performed through

   the Napoli Program. Accordingly, this objection is rejected.

                           j. Arguments Related to Bone Lead Level
                              Testing Submitted After the March 29, 2021
                              Deadline for Filing Objections

         As set forth above, the deadline for objecting to the ASA was March

   29, 2021. But on June 24, 2021, some counsel filed briefs opposing the

   motion for final approval that include objections to the settlement. (See,

                                        146
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69683 Filed 11/10/21 Page 147 of 178




   e.g. ECF No. 1839.) To the extent that these briefs raise arguments that

   were not previously made by the objectors before the March 29, 2021

   deadline, or that the Court has decided in its discretion to address herein,

   they are rejected.

         For example, on June 24, 2021, the Chapman/Lowery Objectors’

   counsel filed an opposition brief that adopts and attaches as an exhibit

   non-settling Defendants Veolia North America, Inc., Veolia North

   America, LLC, and Veolia Water North America Operating Services,

   LLC’s (together, “Veolia”) Daubert motion to exclude the testimony of Dr.

   Specht. Veolia filed that motion on the docket in the bellwether cases on

   May 11, 2021. (ECF No. 1839-2, PageID.65444 (attaching Case No. 17-

   10164, ECF No. 343).) Veolia’s motion was filed well after the March 29,

   2021 deadline, and they were not mentioned in Chapman/Lowery

   Objectors’ objections. The Chapman/Lowery Objectors’ counsel’s alliance

   with Veolia—whom his clients have ongoing litigation against—is

   troubling. Thirty-eight of Chapman/Lowery Objectors’ counsel’s clients

   obtained bone lead level tests that he now argues are both unsafe and

   unreliable. Those clients are in an unenviable position now that their




                                        147
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69684 Filed 11/10/21 Page 148 of 178




   lawyer is siding with a non-settling Defendant. The arguments in the

   Chapman/Lowery Objectors’ post-deadline brief are therefore rejected.

                  2. Objection Related to Blood Lead Level Test
                     Results

         Dr. Reynolds objects to the ASA’s inclusion of blood lead level test

   results. (ECF No. 1436, PageID.55031–55037.) Dr. Reynolds states that

   these tests are not routinely ordered, “[u]nless there is an older toddler

   or child in the home with an elevated blood lead level or it is known that

   the water is contaminated with lead.” (Id. at PageID.55032 (emphasis in

   original).) He acknowledges that Medicaid and the State of Michigan

   Department of Health and Human Services’ Women, Infants and

   Children program (“WIC”) recipients “must be screened for lead” through

   a blood lead level test but states that “[t]he notion that every child should

   be or should have been tested is incorrect . . . .” (Id. at PageID.55032–

   55033.) He indicates that when individuals in Flint did receive a blood

   lead level test, “their test results [we]re extremely low.” (Id. at

   PageID.55034–55035.) Dr. Reynolds argues that there was no universal

   testing of all Flint residents and that the results of testing did not show

   higher blood lead levels because both the State and City Defendants

   “engaged in a cover up.” (Id. at PageID.55035.)
                                        148
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69685 Filed 11/10/21 Page 149 of 178




         These arguments are rejected. Blood lead level tests may not be

   universally administered to everyone, but that does not render the entire

   settlement unfair or unreasonable. Moreover, the fact that Medicaid and

   WIC require blood lead level testing means that individuals enrolled in

   those programs are more likely to have a blood lead level test that may

   be helpful to their recovery. This does not render the settlement unfair

   because there are other methods for showing lead poisoning.

         As with bone lead level testing, there is no requirement that an

   individual have a blood lead level test to participate in the settlement;

   the failure to have obtained one during the relevant time frame does not

   shut anyone out of the settlement if they otherwise qualify for

   participation. Accordingly, this objection is rejected.

                  3. Objections   to   Cognitive  Deficit              Testing
                     Settlement Category Requirements

         Dr. Reynolds, the Chapman/Lowery Objectors and Several

   Unrepresented Objectors object to the inclusion of a “Cognitive Deficit”

   Settlement Category that appears in Categories 2 (applicable to Minors,

   ages 6 and younger), 3 (applicable to Minors, ages 6 and younger), 10

   (applicable to Minors, ages 7–11), and 17 (applicable to Minors, ages 12–



                                        149
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69686 Filed 11/10/21 Page 150 of 178




   17) on the Compensation Grid. The Cognitive Deficit category’s

   requirements are in relevant part as follows:

         (1) For at least 21 days during any 30-day period between
         April 25, 2014 and July 31, 2016;

         (2) Resided, dwelled, or attended school or day care in Flint,
         or were otherwise exposed to Flint water; and

         (3) Have a report documenting a full and individual
         evaluation dated after May 16, 2014, from a multidisciplinary
         evaluation team which shall include a board-certified
         pediatrician and neuropsychologist, and which report is based
         upon a neurocognitive or neuropsychological assessment
         battery of clinical, scientifically validated tests, including the
         Cambridge Neuropsychological Test Automated Battery
         (CANTAB), determining that the individual has a lead related
         cognitive impairment, caused after May 16, 2014, defined as:
         Cognitive impairment manifested during the individual’s
         developmental period at ages 6 or younger,44 and who was
         exposed to Flint water during that period, as determined
         through testing and the demonstration of all of the following
         behavioral characteristics: [Either] (i) development at a rate
         of 2.0 standard deviations or more below the mean as
         determined through an assessment of intellectual functioning
         domain; [or] (ii) scores approximately within the lowest six
         percentiles on a standardized test in reading and arithmetic


         44 For Settlement Category 10, the age range in the corresponding section is 7–
   11, and on Settlement Category 17, the age range in the corresponding section is 12–
   17. (ECF No. 1319-2, PageID.40806, 40814.) For Categories 10 and 17, the finding
   under (i) is stated as 1 standard deviation or more below the mean rather than 2
   standard deviations below the mean. (Id. at PageID.40796–40797, PageID.40805–
   40807 and PageID.40813–40815.)
                                           150
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69687 Filed 11/10/21 Page 151 of 178




         (this requirement will not apply if the individual is not of an
         age, grade, or mental age appropriate for formal or
         standardized      achievement      tests).   [Alternatively,    a
         demonstration of any two of the following behavioral
         characteristics:] (iii) lack of normally accepted development
         primarily in the cognitive domain; (iv) impairment of adaptive
         behavior; and (v) impairment which adversely affects an
         individual’s educational performance. [fn 2] The report
         determining that the individual has a cognitive impairment
         must be signed and verified as reliable and accurate by a
         Ph[.]D[.] and/or M.D. qualified to do so in the appropriate field
         of study. The above referenced CANTAB shall include
         cognitive end points from: the Reaction Time Test (RTI); the
         Spatial Memory Span Test (SSP); the Stockings of Cambridge
         Test of problem solving (SOC); and the Dimensional Shift Test
         (IED) of attentional control.

            [fn 2] Based upon, but adjusted, Michigan
            Administrative Rules for Special Education (MARSE) R
            340.1705, Cognitive impairment; determination. Rule 5.

   (ECF No. 1319-2, PageID.40792–40793 (emphasis in original); as

   amended by ECF No. 1941 (amended language of point (3) in brackets).)

         Dr. Reynolds objects to the third requirement’s specification that

   the evaluation team include both a board-certified pediatrician and a

   neuropsychologist. Dr. Reynolds argues that, when a child is evaluated

   for an Individualized Education Plan (“IEP”) at school, the school district

   typically performs the testing required for the IEP. He argues that the

   ASA’s requirements are too stringent in that they differ from those for an
                                     151
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69688 Filed 11/10/21 Page 152 of 178




   IEP. (ECF No. 1436, PageID.55041–55042.) He additionally argues that

   the resources in Flint for obtaining the testing described in the ASA are

   limited. (Id. at PageID.55042–55044.)

         The Chapman/Lowery Objectors similarly object, arguing that

   “[t]his testing requires 6 hours to complete and is only available in Flint

   at the Neurodevelopmental Center for Excellence, which has few, if any,

   appointments available.” (ECF No. 1463, PageID.57065–57066.)

         In addition, eighteen Unrepresented Objectors checked a checkbox

   on their objection form next to the following objections: “My child has not

   been given the opportunity to have a neuropsychological test to know if

   he/she has suffered a personal injury.” (ECF Nos. 1621, 1631, 1632, 1636,

   1641, 1642, 1652, 1653, 1655, 1660, 1668, 1670, 1678, 1681, 1682, 1689,

   1692, 1694.)

         In response to these objections, Class Plaintiffs argue that Minors

   are not part of the Settlement Class, so “the Court need not consider

   whether provisions specific to Minors satisfy Rule 23(e).” (ECF No. 1794,

   PageID.64302.) Class Plaintiffs are correct. The portions of the ASA

   applicable to Minors only– such as the Cognitive Deficit category in the




                                        152
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69689 Filed 11/10/21 Page 153 of 178




   Compensation Grid– are not subject to Rule 23 approval. But even if they

   were, they are fair and reasonable.

         There is no reason why the terms of the ASA should exactly mirror

   the terms of IEP qualifications under state and federal law, as Dr.

   Reynolds contends. Indeed, the requirements for qualifying in this

   Compensation Grid Category of the ASA may not be as high as an IEP

   under Michigan law. Moreover, there is nothing in the ASA that would

   prohibit a Claimant from submitting their IEP documentation, provided

   it contains the results required under the Compensation Grid. A

   settlement is a contract between the parties that can include terms that

   the parties negotiate and agree to, so long as it is fair.

         Since the objections were filed, the Settling Parties stipulated to a

   revised definition of Cognitive Deficit that “clarif[ied]” some of the

   “confusion” over the requirements. (ECF No. 1941, PageID.67908.) The

   amendment revises the required behavioral characteristics for qualifying

   for compensation. The new definition lists the various types of tests that

   can be used and no longer requires that the submission show results on

   all five tests. (ECF No. 1941, PageID.67911–67912.) Among other things,

   the amendment gives the Claims Administrator, subject to the


                                        153
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69690 Filed 11/10/21 Page 154 of 178




   supervision of the Special Master, the “discretion to obtain information”

   about tests that are not specifically identified in the ASA and to evaluate

   these tests for their compliance with the Compensation Grid. (Id. at

   PageID.67913.) The cognitive deficit testing objections are overruled.

                  4. Objection Related to the Miscarriages and Fetal
                     Blood Lead Level Test Results Settlement
                     Category

         Dr. Reynolds objects to Settlement Category 26 of the ASA, which

   is entitled “Women Miscarriages”. (ECF No. 1319-2, PageID.40824.) This

   category provides for additional funds for women who suffered a

   miscarriage during the relevant time and can demonstrate through a

   blood lead test that the “mother’s or fetus’ cord BLL [Blood Lead Level]

   of 5 mcg/dL or higher.” (ECF No. 1319-2, PageID.40825.) Dr. Reynolds

   argues that doctors and other medical professionals do not typically

   perform blood lead level testing when a miscarriage occurs. (See ECF No.

   1436, PageID.55037–55038.) He also notes that “[m]ore frequently than

   not, a woman suffers a miscarriage outside of a medical facility . . . . [and]

   they do not bring in the miscarried fetal material for testing.” (Id. at

   PageID.55038.) Dr. Reynolds’ objection is denied.




                                        154
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69691 Filed 11/10/21 Page 155 of 178




         It is undisputed that most miscarriages occur outside medical

   facilities. Undoubtedly, the Settling Parties knew when they negotiated

   this term that some women who had a miscarriage during the relevant

   time did not obtain a blood lead level test on themselves, or on the fetal

   cord, after their miscarriage. But that does not render the settlement

   unfair and unreasonable. Those women who did not obtain such tests will

   be excluded from this specific Settlement Category, but they will not be

   excluded from the settlement entirely.

         Moreover, it is possible that some women did obtain blood lead level

   testing related to a miscarriage, and those women may potentially

   receive a higher Monetary Award. It is fair and reasonable for the ASA

   to include this Settlement Category on the Compensation Grid.

   Accordingly, this objection is rejected.

                  5. Objections    to the Compensation  Grid’s
                     Requirements of Proof of Galvanized Steel
                     Service Lines

         Dr. Reynolds objects to the compensation categories that relate to

   individuals who lived at a residence with a lead or galvanized steel

   service line. (Id. at PageID.55035.) The Settlement Categories on the

   Compensation Grid, Categories 5, 12, and 19, require the following proof:

                                        155
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69692 Filed 11/10/21 Page 156 of 178




         Residence with water lead level of 15 ppb or higher:
         Water lead level test from: a laboratory certified by the State
         of Michigan; the list on the State of Michigan Flint Water Test
         Results website; the United States Environmental Protection
         Agency; or Virginia Polytechnic Institute and State
         University; with a result of 15 ppb or higher dated between
         May 16, 2015 and August 31, 2016.

   (ECF No. 1319-2, PageID.40800 (underline in original).) Alternatively,

   the following proof can also be used to qualify for Settlement Categories

   5, 12, and 19: “Residence with lead or galvanized steel service lines

   (‘LSL’): City of Flint Report evidencing that Claimant’s residence had a

   LSL at the time of exposure to Flint water between April 25, 2014 and

   July 31, 2016.” (Id. at PageID.40800 (underline in original).)

         Dr. Reynolds argues that final approval of the settlement should be

   denied because these proofs are “unfair.” (ECF No. 1436, PageID.55035.)

   He states that Flint residents were told to “flush” their water systems.

   And further, he argues that if a person contacts the City to find out if

   they had a lead or galvanized steel service line, “they are given a form

   that allows city employees to come look at their property. Records were

   lost, inaccurate, or illegible.” (Id. at PageID.55037.)

         This objection reflects a misunderstanding of the terms of the

   settlement. Settlement Categories 5, 12, and 19 provide alternatives. An
                                        156
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69693 Filed 11/10/21 Page 157 of 178




   individual who lived at a residence where there were lead service lines,

   but where they did not obtain a certified test result, or where the water

   may have been flushed resulting in an inaccurate result, can still qualify

   under these Settlement Categories. The ASA refers to a “City of Flint

   Report” that would evidence lead service lines. This is a report on the

   service line replacements that includes the address, date that the repair

   crews checked the lines, the composition of the lines, the action taken,

   and when the replacement was complete. The report is generally

   available and has been provided to the Claims Administrator. The Court

   is unaware of any facts supporting Dr. Reynolds’ suggestion that

   settlement participants would need to have their property separately

   looked at by a City employee to qualify for these Settlement Categories.

   Accordingly, this objection is denied.

         The Chapman/Lowery Objectors also object to an aspect of the ASA

   related to water service lines. They argue that the “first four [Settlement

   C]ategories ignore another metric for lead exposure—a finding that the

   home was connected to a lead service line or had test results showing lead

   in the water at or above 15 ppb, which first appears in Category 5.” (ECF

   No. 1463, PageID.57606.) The first four Settlement Categories apply to


                                        157
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69694 Filed 11/10/21 Page 158 of 178




   Minor Children, ages 6 and younger, and contain different criteria for

   qualification, including bone lead level testing, blood lead level testing,

   and cognitive deficit testing. The Chapman/Lowery Objectors rely on

   this argument in support of their position that obtaining bone lead level

   testing is the “only” way for children to receive higher funds in

   Settlement Categories 1–4. The Court has already rejected this

   argument. They are, in essence, asking the Court to re-write the criteria

   to include the Settlement Category 5 requirements in other Settlement

   Categories, which the Court declines to do.

         As set forth above, the ASA and the Compensation Grid were

   negotiated at arm’s length in an adversarial process, with the guidance

   of the Special Master. This Court cannot take a red pen to the ASA, nor

   will it, given that the ASA provides for a fair, reasonable, and adequate

   result.

                  6. Objections Related to the Compensation Grid’s
                     Failure to Include Additional or Different
                     Categories

         Eighty Unrepresented Objectors objected to the settlement because

   Compensation Grid does not include a category for water bill

   reimbursement. On the form objection that many used, the objection

                                        158
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69695 Filed 11/10/21 Page 159 of 178




   states: “The proposed Settlement does not expressly include payment of

   water bills by the residents of the [C]ity of Flint during the period of April

   25, 2014 to November 16, 2020.” (ECF Nos.1563–1565, 1568, 1570, 1573,

   1603–1607, 1609–1614, 1618–1623, 1625, 1627, 1631–1633, 1636, 1641,

   1643–1645, 1647, 1649–1653, 1655, 1657, 1660, 1662, 1665, 1666, 1668,

   1670–1671, 1674, 1676, 1678–1679, 1681–1682, 1685–1686, 1689–1690,

   1692–1694, 1697–1703, 1707, 1741–1743, 1746, 1749, 1760, 1766, 1812–

   1813.) Similarly, some Unrepresented Objectors argued that the

   settlement does not consider additional categories such as the cost and

   time spent obtaining bottled water, the loss of trust in their elected

   representatives, and the replacement costs of water-related fixtures in

   their homes (for instance, hot water heaters and other appliances). These

   objections are denied.

         The    Settlement    Categories      and   proofs   included   in   the

   Compensation Grid are reasonable as they are written. They include

   residential property damage and business property damage and losses.

   As set forth in In re N.F.L., “[a] settlement need not compensate every

   injury to be fair, especially where class members ‘not satisfied with the

   benefits provided in the Settlement may opt out of the Settlement.’” 307


                                        159
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69696 Filed 11/10/21 Page 160 of 178




   F.R.D. at 405 (citing In re Deepwater Horizon, 295 F.R.D. at 158 (“It is

   well established that parties can settle claims without providing

   compensation for every alleged injury . . . . Class Members not satisfied

   with the benefits provided in the Settlement may opt out of the

   Settlement.”)). Accordingly, these objections are denied.

                  7. Objections Related to the Overall Allocation of
                     Funds for Minors Versus Adults

         Fifty-five Unrepresented Objectors objected to the settlement

   because they disagree with the Minors’ allocation on the Compensation

   Grid. On the form objection that many used, the objection states: “The

   break-down to children is not adequate or fair, and the percentages for

   the age classifications appear to be arbitrary and capricious.” (ECF Nos.

   1563–1565, 1568–1580, 1604, 1611–1612, 1618–1619, 1621–1622, 1631–

   1632, 1636, 1641, 1646–1647, 1649, 1651–1653, 1655–1656, 1660, 1666,

   1668, 1670–1671, 1678–1679, 1681–1682, 1685–1686, 1689, 1692–1695,

   1697–1701,     1705,    1741–1743,     1746–1747,     1755,    1812.)    The

   Unrepresented Objectors do not elaborate on this objection with

   sufficient detail for the Court to address it. It is not clear whether they

   think children in certain age groups and Settlement Categories should


                                        160
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69697 Filed 11/10/21 Page 161 of 178




   be allocated more or less, or whether the reference is to Minors’ allocation

   overall. It is not up to the Court to guess.

          Regardless, however, the Court has analyzed the allocation for

   Minors, which represents 79.5% of the net settlement funds (not

   including Programmatic Relief and the Future Minor Claimant Fund).

   This   distribution   recognizes   that    those   who   were   exposed to

   contaminated Flint Water at a younger age will experience the more

   harm than older people. The World Health Organization states: “Young

   children are particularly vulnerable to lead poisoning because they

   absorb 4–5 times as much ingested lead as adults from a given source.”

   Lead Poisoning and Health, (Aug. 23, 2019) https://www.who.int/news-

   room/fact-sheets/detail/lead-poisoning-and-health

   [https://perma.cc/2X4P-MCMS]. It is fair, reasonable, and adequate to

   award a greater proportion of settlement funds to those who are most

   vulnerable to the effects of lead and other contaminants. Accordingly,

   this objection is denied.




                                        161
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69698 Filed 11/10/21 Page 162 of 178




                  8. Objections Related to the $1,000 “Cap” in the
                     Compensation Grid for Property Owners and
                     Renters

         Ninety Unrepresented Objectors objected to the settlement because

   they believe the Compensation Grid’s Residential Property Damage

   Category has a maximum recovery that is not enough. On the form

   objection that many used, the objection states: “The $1,000.00 cap to

   residents who own or rent residential property is too low, and does not

   take into consideration the payments of water bills, replacement of hot

   water heaters, installation of whole house filters and/or replacement of

   appliances due to corroded water.” (ECF Nos. 1563–1565, 1568–1571,

   1603–1604, 1606–1607, 1611–1614, 1618–1623, 1625, 1627–1628, 1631–

   1634, 1636, 1638, 1641–1647, 1649–1653, 1655–1656, 1660, 1662–1663,

   1665–1666, 1668, 1670–1671, 1674–1676, 1678, 1681–1682, 1684, 1686–

   1687, 1689–1690, 1692–1694, 1696–1701, 1703, 1705, 1707, 1741–1743,

   1746–1747, 1749, 1755, 1760–1761, 1765–1766, 1812–1813.) These

   objections are denied.

         The underlying basis of these objections– that one aspect of the

   allocation is unfair– is rejected for similar reasons that the Court has

   stated. The settlement was negotiated at arm’s length. Subclass Counsel

                                        162
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69699 Filed 11/10/21 Page 163 of 178




   for property owners participated in the negotiations of the settlement and

   allocation of funds. (See ECF No. 1319-8 (affidavit of Sarah R. London,

   Interim Subclass Settlement Counsel for a Property Damage Subclass in

   which she attests to the “months of vigorous negotiation” between the

   parties, guided by mediators, to achieve the settlement).) Additionally,

   Co-Liaison Counsels’ clients’ participation in the settlement indicates

   that they found the allocation fair for their clients. No one is required to

   participate in this settlement if they are not in favor of its terms. If an

   individual believes they can successfully recover a higher amount from a

   jury, they could opt-out of the settlement and take their case to trial.

   Accordingly, this objection is denied.

                  9. Objections Arguing that the Overall Settlement is
                     Unfair, Unreasonable, and Inadequate to
                     Homeowners

         Eighty-five Unrepresented Objectors objected to the settlement

   because they claim that the overall settlement is unfair to homeowners.

   On the form objection that many used, the objection states: “In light of

   the harm suffered by homeowners and the extent of Defendants’

   wrongdoing, the proposed settlement is not fair, reasonable, and/or

   adequate.” (ECF Nos. 1563–1565, 1568, 1570–1574, 1603–1604, 1606–

                                        163
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69700 Filed 11/10/21 Page 164 of 178




   1607, 1609, 1611–1612, 1614, 1618–1621, 1625, 1627–1628, 1631–1632,

   1634, 1636, 1638, 1641–1642, 1645–1647, 1649, 1651–1653, 1655–1656,

   1660, 1662–1663, 1665, 1666, 1668, 1670–1671, 1676–1678, 1681–1682,

   1686–1687, 1689–1690, 1692–1694, 1696–1697, 1698–1703, 1705, 1707,

   1741–1743, 1746–1747, 1749, 1755, 1761, 1766, 1812–1813.) This

   objection lacks specificity. It is a general statement that the Court

   interprets to mean that the total FWC Qualified Settlement Fund

   amount is too low. As stated by the mediators Sen. Levin and Ret. Judge

   Harwood, “the plaintiffs obtained the maximum amount of compensation

   that the settling defendants were able and willing to offer,” and

   “represents a fair and practical resolution given the risks of prolonged

   litigation for so many.” (ECF No. 1885, PageID.66212.) The objection is

   overruled.

         As set forth above many times over, the record demonstrates that

   the negotiations took place at arm’s length. It also demonstrates that two

   experienced mediators and the Special Master provided guidance to the

   parties during the negotiation process. If a homeowner believes that

   going to trial is a better option for a higher recovery, then they were free

   to opt-out of the settlement. However, for the reasons analyzed herein,


                                        164
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69701 Filed 11/10/21 Page 165 of 178




   there are significant risks involved in going to trial for both sides and no

   guarantees of a greater recovery. Accordingly, this objection is denied.

         B. Objections Related to the ASA’s Requirements for
            Registration and Objections

                  1. Arguments that Registration Deadline Was Too
                     Short

         Seventy-five Unrepresented Objectors objected to the settlement on

   the basis that the registration deadline was too short. On the form

   objection that many used, the objection states:

         The deadline registration period is too short and will exclude
         many Class members to be arbitrarily excluded due to their
         inability to submit the necessary paperwork to either opt-in
         or opt-out. The U.S. Mail has been slow due to COVID-19, and
         not all residents received the necessary paperwork within the
         30-60 day period.

   (ECF No. 1564–1565, 1568, 1570, 1573, 1603–1604, 1607, 1609, 1611,

   1618–1623, 1627–1628, 1631–1633, 1636, 1638, 1641–1642, 1644–1647,

   1649–1653, 1655, 1657, 1660, 1662, 1666, 1668, 1670, 1676–1679, 1681–

   1682, 1686, 1689–1690, 1692–1694, 1696–1703, 1705, 1707, 1741–1742,

   1746–1747, 1749, 1755, 1761, 1766, 1812.) All the Unrepresented

   Objectors who lodged this objection, however, registered themselves for

   participation in the settlement on time. These objections are therefore


                                        165
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69702 Filed 11/10/21 Page 166 of 178




   self-defeating. If the Court were to grant this objection, it would result in

   denying all of these timely registrants their recovery under the ASA.

         But setting this aside, the Court denies the objection as moot. As

   set forth above, the Court adopted the R&R and has permitted late

   registrations.

                    2. Objection to Providing the Claims Administrator
                       With PII for Registration Purposes

         One Unrepresented Objector strenuously objected to providing

   personally identifiable information (“PII”) to the Claims Administrator

   during the registration process. The objector stated:

         There was absolutely no need what so ever [sic] for the court,
         the attorneys nor anyone else or the institution to ask the
         individual class members for and/or to make a copy of their
         Social Security number, or their driver’s license number. This
         discourages people and businesses to opt in. No taxes are
         being withheld. Has the Court or the attorneys heard of
         identity theft?

   (ECF No. 1627, PageID.61264.) This objection is denied. The registration

   process does not overburden individuals, and it is reasonable. Requiring

   registrants to prove their identity protects the substantial amount of

   money in the FWC Qualified Settlement Fund from fraudulent claims.

   PII is also information that is necessary “to determine that the registrant


                                        166
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69703 Filed 11/10/21 Page 167 of 178




   is a Class Member.” In re N.F.L., 307 F.R.D. at 415. The only entity that

   maintains the PII for registrants is the Claims Administrator, not the

   Court. Such information is not published publicly. A Social Security

   number for each participant is necessary for the lien procedures. The

   federal government requires that this information be provided to assure

   that all government liens due (if any) are paid. Accordingly, the Court

   denies this objection.

                  3. Objection Arguing that, at the Time of
                     Registration, Participants Did Not Know the
                     Final Amount of their Monetary Award

         Seventy-eight Unrepresented Objectors objected to the settlement

   because their final Monetary Award was unknown at the time of

   registration. On the form objection that many used, the objection states:

   “I have no idea of an estimated amount of my recovery which prevents

   me from knowing whether or not this is a matter which I want to pursue.

   Further, I have not been explained how it was determined how much I

   am entitled to, and the basis for this determination.” (ECF Nos. 1563–

   1565, 1568–1571, 1573, 1603–1604, 1606–1607, 1609, 1611, 1618–1619,

   1621–1622, 1627–1628, 1631–1632, 1634, 1636, 1638, 1641–1642, 1644,–

   1647, 1649–1653, 1655–1656, 1660, 1662–1663, 1665–1666, 1668, 1670,

                                        167
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69704 Filed 11/10/21 Page 168 of 178




   1675–1676, 1678–1679, 1681–1682, 1686, 1689–1690, 1692–1694, 1696–

   1703, 1705, 1707, 1741–1743, 1746–1747, 1749, 1755, 1761, 1766, 1813.)

   This objection is denied.

         It is often the case in capped-fund settlements such as this one that

   the total amount of recovery will vary depending on how many people

   participate. There is simply no way to know the amount of any one

   individual’s recovery in the Compensation Grid categories (except for

   Settlement Category 27B, which sets forth an exact amount of recovery

   for Legionnaires’ death claims) until the total number of participants is

   known, the expenses have been paid for the administration of the

   settlement, and claims have been submitted and processed.

         The presence of subclasses in the class portion of the ASA, however,

   provides for structural protection that ensured that the different groups

   of individuals were adequately represented in negotiations. The resulting

   settlement is one that does not have the typical “problems of ‘splitting

   the settlement’” or potential conflicts of interest in the settlement

   negotiations that might have been present were subclass counsel not

   involved. In re Warfin Sodium Antitrust Litig., 391 F.3d 516, 532–33 (3rd

   Cir. 2004) (citing Davis v. Weir, 497 F.2d 139, 147 (5th Cir. 1974)) (noting


                                        168
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69705 Filed 11/10/21 Page 169 of 178




   that subclasses are generally utilized to eliminate antagonistic interests

   within a class). As set forth above, Subclass Counsel vigorously

   negotiated the interests of each subclass and the result is fair, reasonable

   and adequate. Accordingly, the Court rejects this objection.

                  4. Objections that Individual and Class Counsel Who
                     Are Listed in Exhibit 17 of the ASA Did Not
                     Represent Individual Objectors At the Fairness
                     Hearing

         Fifty Unrepresented Objectors objected to the settlement because:

   “The lawyers for the Class and Plaintiffs will not represent me in my

   Objection rights and Fairness Hearing to be held on July 12, 2021.” (ECF

   No. 1563–1565, 1568, 1570, 1573, 1603, 1609, 1612, 1618, 1621–1622,

   1628, 1631–1632, 1636, 1641, 1644–1646, 1649–1653, 1655–1657, 1660,

   1662, 1670, 1674, 1678, 1681–1682, 1686, 1689, 1692–1694, 1696, 1698–

   1699, 1702–1703, 1705, 1742, 1746, 1755.) The objections are overruled.

         The    objections   lack   specificity   and   are   open   to   several

   interpretations. One interpretation, which the Court will presume is

   what the objectors intended, is that a lawyer bound by Article XXII of the

   ASA may have declined to represent an Unrepresented Objector because

   doing so would create a potential conflict of interest.


                                        169
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69706 Filed 11/10/21 Page 170 of 178




         Article XXII of the ASA, which provides that the lawyers listed in

   Exhibit 17 to the ASA (many of whom are signatories to the ASA) who

   represent any Plaintiffs are to “[r]ecommend to all of their clients that

   they register for and participate as a Claimant in the Settlement

   Program” and that the lawyers must “[p]ublicly support the approval of

   and implementation of the Settlement Program.” (ECF No. 1394-2,

   PageID.54192.) A potential conflict arises when a lawyer represents both

   objectors and non-objectors because each seeks a different outcome. The

   objectors seek to have the entire settlement rejected whereas non-

   objectors want the settlement approved as written. A lawyer

   representing individuals who hold different positions could potentially be

   advancing opposing interests in a single piece of litigation. This is a

   conflict that is prohibited by the Michigan Rules of Professional

   Responsibility for attorneys.

         Article XXII will not be disturbed because it is in line with the

   principles of basic contract law that signatories to a contract cannot act

   in ways that could potentially breach or contradict their agreement. It is

   also consistent with the Michigan Rules of Professional Conduct.

   Accordingly, the objections stating that lawyers for the Class and


                                        170
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69707 Filed 11/10/21 Page 171 of 178




   Plaintiffs would not represent Unrepresented Objectors in their

   objections or at the fairness hearing are denied.

                  5. Objections related    to   Using              Zoom      to
                     Communicate With their Attorneys

         Forty-two Unrepresented Objectors checked a box on the objection

   form that states: “As an elderly person with insufficient skills to do zoom,

   I was not able to participate in the zoom meetings concerning the

   registration process, and allowing communications with attorneys.” (ECF

   Nos. 1563–1564, 1568, 1570–1571, 1573, 1609, 1618, 1621–1622, 1627,

   1631–1632, 1636, 1641–1642, 1644–1646, 1650–1651, 1655, 1660, 1662,

   1666, 1668, 1670, 1674, 1677, 1679, 1686–1687, 1689, 1693, 1694, 1698,

   1705, 1741, 1746–1747, 1761.) This objection is overruled because it does

   not raise a substantive issue concerning the ASA itself.

         As discussed below with respect to the objections related to COVID-

   19, the fact that some individuals have difficulty using video

   teleconferencing does not render the entire settlement unfair. Zoom is

   not part of the settlement at all. The Court understands that some

   attorneys turned to video teleconferencing to communicate with their

   clients during the pandemic, but Zoom is not the only way in which an



                                        171
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69708 Filed 11/10/21 Page 172 of 178




   individual may speak with their attorney and ask questions. Accordingly,

   the objection is overruled.

         C. Objections Related to COVID-19

         Forty-five Unrepresented Objectors objected to the settlement

   because COVID-19 affected their ability to meet with their lawyers. On

   the form objection that many used, the objection states: “The COVID-19

   pandemic shut down of business hindered me being able to meet with

   attorneys representing the Class. As a result of the office hours being

   almost none, I have had minimum contact with attorneys representing

   the Class or Plaintiffs.” (ECF Nos. 1563–1565, 1568, 1570, 1611–1612,

   1618, 1621–1623, 1631–1632, 1636, 1638, 1641–1642, 1645– 1647, 1649,

   1652–1653, 1655, 1660, 1668, 1670, 1674, 1677–1679, 1681–1682, 1686–

   1687, 1689, 1692–1694, 1698, 1705, 1746–1747, 1755, 1766.) Objections

   related to COVID-19 concerns are denied.

         The objections related to COVID-19 concerns are not objections to

   the ASA or its terms. Rather, these objections relates to Unrepresented

   Objectors’ relationship to Class Counsel and certain measures taken

   during the COVID-19 pandemic, neither of which is within the power of

   the Court to control. Nor do either of these issues relate to the fairness of

                                        172
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69709 Filed 11/10/21 Page 173 of 178




   the settlement itself. There is nothing about the attorney-client

   relationship that could not have been fulfilled in a COVID-safe manner.

   Accordingly, this objection is overruled.

         D. Objections to the Notice’s Content

         Seventy-six Unrepresented Objectors objected to the settlement

   because they argue that the Notice is vague. On the form objection that

   many used, the objection states: “The Notice of Settlement is vague and

   the details have not been easily available for me to have an

   understanding of what I am being asked to agree to.” (ECF No. 1563–

   1565, 1568, 1570, 1573, 1603–1604, 1606–1607, 1609, 1611–1612, 1618–

   1619, 1621–1623, 1627–1628, 1631–1633, 1636, 1638, 1641–1642, 1644–

   1647, 1649–1653, 1655–1656, 1660, 1662, 1666, 1668, 1670–1671, 1674,

   1676–1679, 1689–1690, 1692–1694, 1696, 1698–1699, 1701–1703, 1705,

   1741–1743, 1746–1747, 1749, 1761, 1766, 1812–1813.) This objection is

   denied.

         The notice “clearly and concisely” states in “plain, easily understood

   language” the nature of the action; the class definition; the class claims,

   issues, or defenses; the class member’s right to enter an appearance

   through an attorney; the right to be excluded from the class and the


                                        173
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69710 Filed 11/10/21 Page 174 of 178




   timing related thereto; and the binding effect of a judgment. Fed. R. Civ.

   P. 23(c)(2)(B).

         Unrepresented Objectors do not specify what aspects of the Notice

   are vague. The Notice explains the key elements of the ASA and class

   members’ rights and options. (See ECF No. 1319-11, PageID.41353–

   41371.) The Notice provides a telephone number to call and website to

   visit if a recipient has questions about the Notice and the settlement. (Id.)

   Accordingly, the objections related to the content of the Notice are denied.

         E. Objections to Class Representative Payment

         Seventy-one Unrepresented Objectors objected to the settlement

   because they believe that the Class Representatives are being paid too

   much. On the form objection that many used, the objection states: “Class

   representative (the lead plaintiff) is being paid too much and the

   community residents who suffered harm in not being able to utilize the

   water are being unreasonably compensated.” (ECF Nos. 1563–1565,

   1568, 1570–1571, 1573, 1603–1604, 1607, 1609, 1611–1612, 1618, 1619,

   1621–1622, 1625, 1628, 1631–1633, 1636, 1638, 1641, 1644–1647, 1649–

   1651, 1653, 1655, 1657, 1660, 1662, 1666, 1668, 1670–1671, 1674, 1676,

   1679, 1686–1687, 1689–1690, 1692–1694, 1696–1697, 1699–1703, 1705,


                                        174
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69711 Filed 11/10/21 Page 175 of 178




   1741–1743, 1746–1747, 1749, 1755, 1766, 1812.) These objections are

   denied because, as discussed, Co-Lead Class Counsel did not seek an

   incentive award for the named Plaintiffs. (See ECF No. 1794,

   PageID.64298.)

    V.   CONCLUSION

         In conclusion, the Court orders that:

         1. The ASA (ECF No. 1394-2), including the Compensation Grid, is

   finally approved under Federal Rule of Civil Procedure 23(e) as fair,

   reasonable, and adequate.

         2. The following Settlement Class and Subclasses are certified

   under Federal Rule of Civil Procedure 23(a) and (b)(3):

         Settlement Class: all persons or entities who are or could be
         claiming personal injury, property damage, business
         economic loss, unjust enrichment, breach of contract, or
         seeking any other type of damage or relief because at any time
         during the Exposure Period they: (1) were an Adult who
         owned or lived in a residence that received water from the
         Flint Water Treatment Plant or were legally liable for the
         payment of such water; (2) owned or operated a business
         including income earning real property and any other
         businesses, that received water from the Flint Water
         Treatment Plant or were legally liable for the payment for
         such water; or (3) were an Adult during the Exposure Period
         and who ingested or came into contact with water received
         from the Flint Water Treatment Plant.
                                      175
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69712 Filed 11/10/21 Page 176 of 178




         Excluded from the Settlement Class are: (1) Defendants; (2)
         the judicial officers to whom this case is assigned in the
         Federal Court, Genesee County Circuit Court, and Court of
         Claims, their staff, and the members of their immediate
         families; (3) all Individual Plaintiffs; and (4) all persons who
         timely and validly elect to opt-out of the Settlement Class.
         Adult Exposure Subclass: all persons who were Adults
         during the Exposure Period and who ingested or came into
         contact with water received from the Flint Water Treatment
         Plant at any time during the Exposure Period and who are
         claiming or could claim a resulting personal injury. All Adults
         listed on Exhibit 1 to the Settlement Agreement are excluded
         from this Subclass.
         Business Economic Loss Subclass: all individuals or
         entities who owned or operated a business, including income
         earning real property and any other businesses, that received
         water from the Flint Water Treatment Plant at any time
         during the Exposure Period and who are claiming or could
         claim a resulting business economic loss. Excluded from the
         Business Economic Loss Subclass are all local, state, or
         federal government offices or entities and any individual or
         entity listed on Exhibit 1 to the Settlement Agreement.
         Property Damage Subclass: all Adults or entities who
         owned or were the lessee of residential real property that
         received water from the Flint Water Treatment Plant, or were
         legally liable for the payment for such water, at any time
         during the Exposure Period. Excluded from the Property
         Damage Subclass are all local, state, or federal government
         entities which own real property and any individual or entity
         listed on Exhibit 1 to the Settlement Agreement.



                                        176
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69713 Filed 11/10/21 Page 177 of 178




         3. The following individuals are appointed as Class Representatives

   for purposes of Settlement:

         a.    Rhonda Kelso, Barbara and Darrell Davis, Tiantha
         Williams, and Michael Snyder, as personal representative of
         the Estate of John Snyder, as representatives of the Adult
         Exposure Subclass;
         b.   Elnora Carthan and David Munoz as representatives of
         the Property Damage Subclass; and
         c.   635 South Saginaw LLC, Frances Gilcreast, and Neil
         Helmkay as representatives of the Business Economic Loss
         Subclass.
         4. The firms previously appointed as Interim Co-Lead Counsel,

   Cohen Milstein Sellers & Toll PLLC, and Pitt, McGehee, Palmer,

   Bonanni & Rivers, P.C., and the Executive Committee, are appointed as

   Settlement Class Counsel under Federal Rule of Civil Procedure 23(g) to

   represent the Settlement Class and Subclasses.

         5. Nothing in this Order should be construed as an abrogation of

   any immunity available to the State of Michigan or its officers,

   employees, or departments.

         6. The non-class components of the ASA are approved.

         7. All objections are denied.




                                         177
Case 5:16-cv-10444-JEL-EAS ECF No. 2008, PageID.69714 Filed 11/10/21 Page 178 of 178




         8. This Opinion and Order prompts Individual Plaintiffs and Class

   Members to file motion(s) related to final orders and judgments, as well

   as issues unique to each group to implement the ASA as contemplated by

   Article VIII.

         IT IS SO ORDERED.

   Dated: November 10, 2021              s/Judith E. Levy
   Ann Arbor, Michigan                   JUDITH E. LEVY
                                         United States District Judge




                            CERTIFICATE OF SERVICE
         The undersigned certifies that the foregoing document was served upon
   counsel of record and any unrepresented parties via the Court’s ECF System to their
   respective email or First-Class U.S. mail addresses disclosed on the Notice of
   Electronic Filing on November 10, 2021.
                                                s/William Barkholz
                                                WILLIAM BARKHOLZ
                                                Case Manager




                                          178
